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            ANDERSON EXHIBIT 6
                                TO

               OPPOSITION TO EXCLUDE TESTIMONY
                OF EXPERT MARK G. DUGGAN PH.D.
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  1               UNITED STATES DISTRICT COURT

  2                DISTRICT OF MASSACHUSETTS
  3

  4   IN RE:   PHARMACEUTICAL        )
  5   INDUSTRY AVERAGE WHOLESALE     ) MDL No. 1456
  6   PRICE LITIGATION               )

  7   _____________________________) Master File
  8                                  ) No. 01-CV-12257-PBS

  9   THIS DOCUMENT RELATES TO:      )

 10   _____________________________) Subcategory
 11                                  ) No. 06-CV-11337-PBS

 12   United States of America,      )

 13   ex rel. Ven-A-Care of the      )

 14   Florida Keys, Inc., v.         )
 15   Abbott Laboratories, Inc.,     )

 16   CIVIL ACTION NO. 06-11337-PBS)      VOLUME II

 17

 18              Videotaped Deposition of JAMES W.
 19   HUGHES, Ph.D., at 77 West Wacker Drive, 35th

 20   Floor, Chicago, Illinois, commencing at the hour

 21   of 9:09 a.m. on Wednesday, May 6, 2009.
 22




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  2
  3   ON BEHALF OF THE UNITED STATES OF AMERICA:

  4        R. ALEXANDER ACOSTA

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                     Depo-Hughes-James-05-06-09
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  2

  3   VIDEOGRAPHER:
  4        STEPHAN HOOG, Videographer

  5        Legal Visual Services

  6
  7   REPORTED BY:
  8        DONNA M. KAZAITIS, CSR, RPR, CLR, CRR

  9        Illinois CSR No. 084-003145

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                                                                 302


  1                     P R O C E E D I N G S

  2
  3              THE VIDEOGRAPHER:    Today's date is May
  4   6, 2009.   We are on the record at 9:09 a.m.

  5

  6                     JAMES W. HUGHES,
  7   having been previously duly sworn, was examined
  8   and testified further as follows:

  9

 10                     EXAMINATION (Continuing)
 11   BY MR. LAVINE:

 12        Q.    Welcome back, Dr. Hughes.

 13        A.    Thank you.

 14        Q.    I just wanted to ask some follow-up

 15   questions about some of your points that you made
 16   regarding Dr. Duggan's analysis of the Medicare

 17   arrays.

 18        A.    Yes.
 19        Q.    And let me just go through the points.
 20   I think I might be able to ask one question about

 21   all of them.   If we need to separate them out,

 22   just let me know.



                                                                 303



  1              You said that he hasn't shown the
  2   correct Abbott NDCs were in each array.        He hasn't
  3   shown that Abbott's price moved the median.
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  4               He hasn't shown all the arrays to be,

  5   well, I have the word "identical," but similar
  6   enough within the sample or the extrapolation.
  7               There's no evidence that Abbott was the

  8   only manufacturer whose AWP was higher than the
  9   actual average selling price.       And that he hasn't
 10   shown that a hundred percent of the sales of the

 11   products under that J-Code were of Abbott

 12   products.
 13               And the question about all of those is
 14   what is the underlying scientific methodology that

 15   you say Dr. Duggan failed to follow with respect

 16   to each of those issues?
 17        A.     Why don't you give them to me one at a

 18   time, and then we'll run through them because I

 19   understand it forms a single question but it

 20   doesn't really form a single answer.

 21        Q.     Okay.   Fair enough.
 22               So first, that he hasn't shown the




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  1   correct Abbott NDCs were in every array.

  2        A.     Okay.   So that is the point that he
  3   looked to find a price that matched an Abbott
  4   price but doesn't offer, doesn't know with any

  5   degree of certainty that it is in fact the Abbott
  6   price, that there was not some other drug, some

  7   other NDC, that was either in the array
  8   legitimately or in the array by mistake that could
  9   have that price.
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 10             He said that he had, in his rebuttal he

 11   says that he had checked, but, again, it's not
 12   clear to me exactly what he had checked.
 13             So as to the exact, I'm sorry,

 14   scientific methodology?
 15        Q.   Yes.
 16        A.   Okay.    So I mean he's forming, in effect

 17   he's forming a hypothesis, and the hypothesis is

 18   that $10.16 whenever I see that, that's always an
 19   Abbott price.
 20             Again, the idea is that it's an

 21   assumption on his part.    There's no scientific

 22   basis on his part for assuming that every time you




                                                             305


  1   look at a Medicare array and see $10.16, there's

  2   no scientific principle, no scientific

  3   methodology, that says oh, well, that must be an
  4   Abbott price.

  5             So, again, when one is making an

  6   assumption, and as I said before, I'm not against
  7   assumptions, I'm not against all assumptions, but

  8   you need to provide, you need to provide a basis
  9   in the evidentiary record or some sort of basis,
 10   economic theory if you like, that if there's some

 11   economic law that says $10.16 is a price that is
 12   reserved for Abbott NDCs -- I'm being facetious

 13   but you understand what I'm saying -- that he
 14   provides no such basis to support that assumption
 15   that he's making.
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                      Depo-Hughes-James-05-06-09
 16              Again, the evidence that he does have

 17   given that there's no set methodology for forming
 18   arrays, there's no set methodology for deciding
 19   whose products are in the arrays, which products

 20   are in the arrays, products get into arrays by
 21   mistake, products of the wrong dosage, products of
 22   the wrong type, get into the arrays.




                                                            306



  1              And without some assurance that there's
  2   been a fairly rigorous checking, it's still at the

  3   end of the day the only information he has is

  4   $10.16 and it remains an assumption on his part,

  5   which, again, lacks scientific basis.   It remains
  6   an assumption on his part that that is indeed an

  7   Abbott price.

  8         Q.   Would you be able to go and point to a

  9   book or some type of peer-reviewed literature, a
 10   learned treatise, and point to some particular

 11   methodology or technique that would address that

 12   issue?
 13         A.   Well, Dr. Duggan doesn't point to any

 14   technique.
 15         Q.   But my question is what would you point
 16   to?

 17         A.   I will answer your question, I'd be
 18   happy to answer your question.

 19              He doesn't point to any particular
 20   technique that says $10.16 is always an Abbott
 21   price.
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                      Depo-Hughes-James-05-06-09
 22             Again, it's another one of his unstated




                                                             307



  1   assumptions, that when, you know, I mean he makes
  2   the statement when I see an Abbott price, but he
  3   offers no evidence that these are indeed Abbott

  4   prices except for the fact that Abbott has an AWP
  5   of $10.16 and he sees $10.16 in another array.

  6             So I think that the, can I name a book

  7   that I can go to now, no.   But I think if one were
  8   to submit this work to a peer-reviewed economic

  9   journal, that criticism that I'm making would come

 10   back is then how do you know, what is your basis

 11   for assuming that every time you see $10.16 that
 12   this is indeed an Abbott price.

 13             Again, the best practices, as I

 14   understand them in economics, is that everybody

 15   has to make assumptions at times but you need to
 16   have a basis in your area of research, you need to

 17   have a basis from the data, you need to have a

 18   basis from somewhere.
 19             Or you need to be able to say I searched

 20   the electronic Red Book at this time for the
 21   number $10.16, and the Abbott one was the only one
 22   that came up.




                                                             308



  1             That would be a way for Dr. Duggan to

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  2   have done this that would satisfy this criticism.
  3        Q.    But you can't identify some generally-
  4   accepted scientific technique by name that he's

  5   violating when he fails to show the correct Abbott
  6   NDCs were in every array?

  7        A.    In applied micro-economics you don't
  8   make unfounded assumptions.
  9              So I'm relying not on a textbook, but I

 10   am relying on my expertise and experience as an
 11   applied micro-economist.    I'm applying my

 12   expertise and experience as having been a, like

 13   Dr. Duggan, having been a referee for peer-
 14   reviewed journals in economics, I am relying on my

 15   expertise as an economist as someone who has

 16   conducted empirical research and had to deal with

 17   the consequences of assumptions that one feels one
 18   needs to make in order to move the analysis

 19   forward.

 20              And based on that, again, it's my

 21   opinion that best practices in economics is that
 22   assumptions are just that, they are rebuttable



                                                             309



  1   presumptions.
  2              And that you strengthen your analysis,
  3   any time you're making an assumption, you
  4   strengthen your analysis by offering evidence that

  5   that assumption is indeed reasonable under the
  6   circumstances.   And my criticism is that he has

  7   not done that.

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  8        Q.    So are you saying that there's an
  9   economic methodology that requires that one of the
 10   best practices that needs to be applied is to

 11   never make unfounded assumptions?
 12              Is that the methodology that you're

 13   applying here?
 14              MR. BERLIN:    Objection, form.
 15              THE WITNESS:    You're taking it again to

 16   an extreme.
 17              One of the best practices is when you're

 18   making assumptions is to always state them, which

 19   Dr. Duggan never does in his original report.
 20              I let you finish your question.    Let me

 21   finish my question.

 22              So that when one makes assumptions, you




                                                             310


  1   put them out there.   And then it's up to the

  2   reader to decide, and this is true in the economic

  3   literature as I understand it, you put your
  4   assumptions forward because sometimes you have to
  5   make them in order to move the analysis forward,

  6   and then it's up to the reader, it's up to the

  7   journal editor, it's up to referees, if the paper
  8   is published it's up to the people who read it to
  9   decide whether they think that assumption is well
 10   founded.

 11              There's plenty of examples of say
 12   journal articles where a researcher will find a

 13   certain result, you know, particularly in economic

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 14   theory.    But the result may depend on an
 15   assumption that nobody really believes in.
 16               So that piece of work may go forward,

 17   may even be published, but it doesn't have much
 18   impact because the consensus of the readers is

 19   that that assumption just doesn't make any sense
 20   under the circumstances.
 21   BY MR. LAVINE:

 22        Q.     So when Dr. Duggan in his analysis fails



                                                             311



  1   to show the correct Abbott NDCs were in the
  2   arrays, that fails to meet a standard in economics

  3   of not being allowed to make unfounded

  4   assumptions?

  5        A.     State your assumptions and state your

  6   foundation for the assumptions, neither of which
  7   Dr. Duggan does, that's my criticism, all right.

  8               Then it's up to readers to decide

  9   whether or not that's a reasonable assumption
 10   under the circumstances.
 11        Q.     I just want to make sure I'm

 12   understanding.

 13               One of the critiques is that Dr. Duggan
 14   hasn't shown the correct NDCs were in the array,
 15   and the standard that he's failing to meet is the
 16   requirement that in economic analysis your

 17   assumptions need to be stated, and he's failed to
 18   do that.

 19        A.     The assumptions need to be stated, and

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 20   they need to be supported. You need to say here's
 21   why I'm making this assumption.
 22              I mean if somebody does an economic




                                                             312


  1   analysis that as one of the assumptions that their

  2   analysis is based on is that demand curves don't

  3   really slope downward but demand curves slope
  4   upward, first of all, that assumption needs to be
  5   stated.

  6              Second of all, the researcher needs to

  7   put a reason why contrary to everything else
  8   everybody knows, everybody believes about demand

  9   curves, this person is saying that they slope

 10   upwards.   And then you put the work out there and

 11   people, readers, will choose to believe or not

 12   believe your work based on whether they believe or
 13   don't believe that assumption.

 14        Q.    All right.    So when Dr. Duggan fails to

 15   show the correct Abbott NDCs were in the array,
 16   he's failed to state his assumption and he's
 17   failed to support his assumption?

 18              MR. BERLIN:    Objection, form.

 19              THE WITNESS:    Well, yes, he's failed to
 20   state his assumption, he's failed to support his
 21   assumption.
 22              But, remember, he's assuming that these




                                                             313


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  1   are Abbott NDCs.    He's using that to calculate his

  2   damage calculation, he's using it to calculate his
  3   damages for that carrier for that period.     He's
  4   then attributing a hundred percent of that damage

  5   to Abbott.
  6             It certainly seems well within the
  7   expectations of best practices in economics that

  8   you provide some basis for the belief that just

  9   because I see $10.16 that that is representative
 10   of an Abbott NDC and not representative of
 11   something that's in there either intentionally or

 12   by mistake.   And he fails to do that.

 13   BY MR. LAVINE:
 14        Q.   Where would I go to see an objective

 15   description of those requirements you just

 16   described?

 17             MR. BERLIN:    Objection, form.

 18             THE WITNESS:    Could you read back my
 19   response, please, my last response.

 20                    (The record was read back as

 21   requested.)
 22             THE WITNESS:    As I was saying yesterday,




                                                             314


  1   when one's performing, when one uses

  2   extrapolation, one's by definition introducing
  3   error into the analysis because you are not using

  4   actual data, you're extrapolating from one
  5   situation into another.
  6             So statistically speaking, you're going
                              Page 14
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  7   to be introducing error because you're creating

  8   data, you're not using actual data.
  9             That error from extrapolation is going
 10   to be compounded if where you're extrapolating to,

 11   the data that you're extrapolating to, in this
 12   case -- excuse me.    Let me try that again.
 13             The data that you're using for the

 14   extrapolation, in this case the purported Abbott

 15   NDC that he says that he sees in arrays, if that's
 16   not accurate he's introduced yet another degree of
 17   error into his extrapolations.

 18             MR. LAVINE:    I object, move to strike as

 19   nonresponsive.
 20   BY MR. LAVINE:

 21        Q.   My question was is there an objective

 22   source, a peer-reviewed material, a learned




                                                             315


  1   treatise, anything of the sort, that would

  2   articulate the standards that you're describing so

  3   that we could look it up and determine whether or
  4   not Professor Duggan was meeting those standards?

  5        A.   Well, one could look to an econometrics
  6   book at the problems that are introduced into
  7   estimation when you have problems, so-called

  8   errors in variable.
  9        Q.   What would the rule say?

 10        A.   The rule would say is that when your
 11   independent variables are mismeasured, your
 12   estimates lose precision.
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 13        Q.   So is that the standard that we should

 14   use to judge whether or not Dr. Duggan handled
 15   things appropriately with respect to showing the
 16   Abbott NDCs were in the array?

 17             MR. BERLIN:    Objection, form.
 18             THE WITNESS:    My objection to Dr.
 19   Duggan's analysis is we have to rely on his word

 20   for how accurate these extrapolations are.

 21             He's not performing anywhere in his
 22   report, he performs no statistical test of



                                                             316



  1   accuracy, he offers no confidence intervals, he

  2   offers no test of statistical significance.
  3             He offers nothing of the sort, nothing

  4   of the type of thing that it would be standard

  5   practice, and I'm sure is contained in every bit

  6   of Dr. Duggan's published econometric work, the
  7   measures of accuracy and the measures of goodness

  8   of fit and all of these other measures that

  9   economists and statisticians typically use to
 10   measure the accuracy of somebody's estimation.

 11             We have extrapolations with reasons to
 12   believe that there's been error introduced to
 13   these extrapolations.

 14             First of all, from the very act of
 15   extrapolation.    And, secondly, because of the lack

 16   of certainty or the lack of evidence offered that
 17   he actually has the correct NDCs in the array.
 18             There are lots of things in statistics
                              Page 16
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 19   books and lots of things in econometrics books

 20   that talk to how regression analysis, which is not
 21   what Dr. Duggan has done here, but how economic
 22   analysis generally is affected when you think you




                                                             317



  1   have one variable and you actually have something
  2   else.

  3               And there are ways for approaching those

  4   problems, there are ways for handling those
  5   problems.

  6               When one is faced with such a problem in

  7   an econometric analysis, one acknowledges the fact

  8   and then either takes corrective action or adjusts
  9   their standard, does adjustments to standard

 10   errors and does adjustments to their confidence

 11   intervals to take those things into account.

 12               None of that's done here.   We have no
 13   reason to accept the accuracy of Dr. Duggan's

 14   extrapolations but Dr. Duggan's word that these

 15   are all Abbott NDCs.
 16               And given, you know, he's a well-

 17   published empirical economist, just giving in the
 18   academic world, in academic research, just giving
 19   the editor, or giving reviewers your word that

 20   these are really good estimates would not fly.
 21               That's my objection, is that this is not

 22   meeting any sort of standard of accuracy that's




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  1   generally accepted in the economics profession.

  2   BY MR. LAVINE:
  3        Q.   We were talking about the particular

  4   point made by you that Dr. Duggan hasn't shown the
  5   correct Abbott NDCs were used in the arrays.
  6             What is the standard of accuracy in

  7   economics that that fails to meet?
  8        A.   Well, as I said, if you look at Dr.

  9   Duggan's empirical published work, you're going to

 10   see hypothesis tests, you're going to see tests of
 11   significance, you're going to see goodness of fit

 12   statistics, you're going to see all sorts of

 13   statistical tests that are generally employed by

 14   economists because that's how we decide whether
 15   statistical, that's how we decide whether data

 16   analysis is sufficiently accurate or not.

 17        Q.   But there's nowhere in your report where

 18   you say Dr. Duggan has failed to meet the
 19   appropriate standard when he didn't demonstrate

 20   the correct NDCs were in the array because he

 21   failed to perform a goodness of fit test?
 22        A.   Well, you asked me a question and I'm




                                                             319


  1   answering it now.

  2             I mean I said he doesn't, I said in my
  3   report that he doesn't provide any evidence that

  4   he's got the correct Abbott NDCs.

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  5             You asked me well, what standard does
  6   that violate, and I just told you the standard.
  7             I mean I'm answering your question.     I'm

  8   not sure what your objection is.
  9        Q.   But today for the first time you're

 10   reaching the opinion that Dr. Duggan should have
 11   done a goodness of fit test?    Is that what you are
 12   saying?

 13             MR. BERLIN:    Objection, form.
 14             THE WITNESS:    You were asking me by what

 15   standards do economists judge accuracy of data

 16   analysis, and I've answered that question, that
 17   the standard is generally in academic research

 18   that one performs statistical tests.

 19             This is a damage analysis.    This is

 20   supposed to be a damage analysis.    This isn't
 21   supposed to be a journal article.    But the same

 22   objections that hold.




                                                              320


  1             So, for example, if one is reviewing an
  2   academic article and somebody submits a paper

  3   where there is an error that their variable, say

  4   an independent variable, is measured with error
  5   and the author totally ignores that fact, then
  6   that's going to be an issue with the readers and
  7   the editors and the reviewers of the journal.

  8             What I'm saying here is I'm applying the
  9   same principle that when something is measured

 10   with error, one needs to acknowledge it, one needs

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 11   to perhaps run some analyses to what we call
 12   sensitivity analysis, what if this is wrong.
 13               There's all sorts of things that can be

 14   done to acknowledge that there's some error here,
 15   and that can be affecting the precision of Dr.

 16   Duggan's estimates.
 17               My point is, like I would if I were
 18   reading an academic paper, is he's got a problem

 19   here in that he has no basis for concluding that
 20   each and every time he sees $10.16 that that's

 21   indeed an Abbott NDC.

 22               And I am pointing that out as a problem



                                                             321



  1   in the analysis that in my view introduces

  2   additional error into his estimates, and it's an

  3   assumption that he neither acknowledges nor a
  4   problem that he makes any attempt to compensate

  5   for.

  6   BY MR. LAVINE:
  7          Q.   Are you able to give a name to the
  8   general scientific method, principle, technique,

  9   that is violated when Professor Duggan fails to

 10   show the correct Abbott NDCs were in each array?
 11          A.   The common sense principle is certainly
 12   if you've got the wrong numbers in your analysis,
 13   the numbers that come out of your analysis is

 14   going to be wrong, are going to be wrong.
 15          Q.   We don't need an expert to testify about

 16   common sense; right?    A jury can do that.

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 17        A.   A jury certainly can do that and a jury
 18   will do that in the end.
 19        Q.   So is there a name of an economic

 20   principle, econometric principle, that's violated
 21   when Dr. Duggan fails to show the correct Abbott

 22   NDCs were in every array?



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  1        A.   Well, one name for it is measurement
  2   error.

  3             So if you have a variable that's

  4   measured with error, econometric textbooks are
  5   replete with what that means for your estimates.

  6        Q.   So what is the rule there?   That in

  7   economics you shouldn't do an analysis that

  8   includes measurement error?

  9        A.   That measurement error has consequences
 10   for your analysis and that can affect the accuracy

 11   of your analysis, it can affect the validity of

 12   your analysis, that there are consequences for
 13   using in your analysis variables that are measured
 14   with error.

 15        Q.   And to decide whether the measurement

 16   error was acceptable or not, it's just up to the
 17   opinion of Dr. Hughes to review it and make that
 18   decision based on his subjective analysis?
 19             THE WITNESS:   Could you read that back

 20   for me, please.
 21                  (The record was read back as

 22   requested.)

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  1             THE WITNESS:   No.

  2             For example, if you have measurement
  3   error in a statistical regression analysis, which,
  4   again, is not what Dr. Duggan is doing, but if you

  5   have measurement error in a statistical regression

  6   analysis your standard errors will be bigger than
  7   they would be if there was no measurement error.
  8             If the measurement error is bad enough,

  9   the standard errors of your estimates can be so

 10   large that they are no longer statistically
 11   significant, meaning that you do not have, you

 12   cannot reject a null hypothesis that the

 13   independent variable has no effect on the

 14   dependent variable of interest.

 15             So it's not up to Dr. Hughes sitting
 16   here saying well, there's either measurement error

 17   that's too big or it's too small.   But in

 18   statistics if there's sufficiently large
 19   measurement error, your analysis will be
 20   invalidated because you won't be able to reject

 21   the null hypothesis that there's no effect of your

 22   independent variable on your dependent variable.



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  1             In Dr. Duggan's analysis, I'm saying
  2   that he has not provided us with any assurance
  3   that what he calls the Abbott NDCs in his array
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  4   are indeed Abbott NDCs.

  5             That absent that evidence, he has got an
  6   issue that he has not addressed, an issue that
  7   affects the accuracy of his estimates, and hence,

  8   my conclusion that his estimates are inaccurate
  9   and unreliable because this is an issue that he
 10   simply hasn't addressed.

 11        Q.   So you're saying he's failed to show the

 12   correct Abbott NDCs were in every array, and
 13   that's a violation of an accepted economic
 14   principle that you need to state your assumptions

 15   underlying your analysis; is that right?

 16             MR. BERLIN:    Objection, form.
 17   BY MR. LAVINE:

 18        Q.   What I'm trying to understand is how do

 19   we evaluate when Professor Duggan has met the

 20   standard you're setting up for him.

 21             How do we know?    Because right now I
 22   understand you're saying he's failed by failing to




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  1   state his assumptions, he's failed by not

  2   supporting his assumptions.
  3             What other standard are you saying that
  4   he's failed to meet?

  5             MR. BERLIN:    Objection, form, asked and
  6   answered repeatedly, and misstates his testimony.

  7             MR. LAVINE:    Please confine your
  8   objections to form.
  9             MR. BERLIN:    Are you asking me solely to
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 10   say "Objection, form"?

 11             MR. BREEN:    Yes.
 12             We'll ask you if we want to know what
 13   the form objection is.

 14             MR. BERLIN:    Okay.   And I won't be
 15   waiving any objection by merely saying "Objection,
 16   form."

 17             MR. LAVINE:    The Rules of Civil

 18   Procedure will address that issue.
 19             MR. BERLIN:    Well, no, no.   The Rules of
 20   Civil Procedure don't say that.     But we had an

 21   agreement in the litigation as to the extent of

 22   the objection.




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  1             I want an agreement that by saying only

  2   "Objection to form," you will not argue that I

  3   waive any explanation as to objection to form.
  4             We've generally followed what has become

  5   practice in the case of essentially the Texas

  6   rules but not the Rules of Federal Civil
  7   Procedure.

  8             Federal Civil Procedure do permit me to
  9   state the basis of the objection to form.     And
 10   what I want is an agreement that by not --

 11             MR. LAVINE:    The federal rules say that?
 12             MR. BERLIN:    Yes, they do.

 13             MR. LAVINE:    That's news to me.
 14             MR. BERLIN:    Well, you ought to study
 15   up.
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 16             What I want is an agreement that I'm not

 17   waiving an objection to form by only stating
 18   "Objection, form."
 19             MR. BREEN:    I think you should state

 20   whatever objections you think are appropriate
 21   under the rules.   And if I think you're coaching
 22   the witness or making a speaking objection, I'll




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  1   say so.
  2             MR. BERLIN:    Okay.

  3             I just say that because it has been the

  4   practice that we have been saying only "Objection,

  5   form."
  6             And I'm happy to do that as long as

  7   you're not going to argue that by only stating

  8   "Objection, form" I've waived some explanation as

  9   to what the objection to form is.
 10             MR. LAVINE:    Why don't we move on.

 11             MR. BERLIN:    Okay.   Well, I'm going to

 12   have to state all my objections now.
 13             MR. LAVINE:    I don't know where you're

 14   basing your practice on, but you understand what
 15   the federal rules say.
 16             MR. BERLIN:    Your assertion --

 17             MR. LAVINE:    I'm not going to make any
 18   promise that on the spur of the moment that might

 19   be something different than the rules.     We're
 20   following the Rules of Civil Procedure.      You
 21   object to form and that's it.
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 22              MR. BERLIN:    Is your assertion that




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  1   saying "Objection, form, asked and answered" is an
  2   improper objection under the Federal Rules of
  3   Civil Procedure?

  4              MR. LAVINE:    Yes.    The rules say you
  5   should object to the form.       And if you think, if

  6   you think we might argue something that's

  7   different, then you can make your argument to the
  8   judge that you were right and I was wrong.

  9              But we're not going to change the rules

 10   here in the middle of a deposition.       And I'd like

 11   to get back to the deposition because if you do
 12   want to schedule additional deposition time where

 13   you can ask questions to clarify things, you're

 14   welcome to do that.   But the objections should be

 15   to form.   And let us move on.
 16              Can you go back to my last question,

 17   please.

 18                   (The record was read back as
 19   requested.)

 20              THE WITNESS:    Okay.    Let's take a
 21   counter-example.
 22              Suppose Dr. Duggan had made the




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  1   assumption that when he doesn't have the arrays

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  2   that he just assumes that the Abbott price, that
  3   there's an Abbott price in every array, that every
  4   median that I see in the payment data is an Abbott

  5   price.
  6              So, therefore, every median is an Abbott

  7   price.   When I change the AWP to my but-for AWP,
  8   that's going to lower the median, and that's going
  9   to cause a difference, and I'm going to attribute

 10   a hundred percent of that difference to the
 11   movement in the Abbott prices, so I'm going to

 12   attribute a hundred percent of the difference to

 13   Abbott, all right.
 14              Clearly, I think everybody, and disagree

 15   with me if you will, but I think clearly everybody

 16   would say well, that's pretty silly, okay, we

 17   don't know that every median, every reimbursement
 18   that I see in the Medicaid data when I don't have

 19   an array is an Abbott price.

 20              You'd want some proof.   You'd want a

 21   pricelist that showed that these were indeed
 22   Abbott prices.



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  1              One would easily say well, you know,
  2   that's a pretty heroic assumption that every
  3   single median that I see in the payment data is an
  4   Abbott price.

  5              So one would then come to the conclusion
  6   that since they probably aren't all Abbott prices

  7   that his estimates of difference would be

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  8   overdone.
  9               Granted, he doesn't do that.   He says
 10   every time I see a payment that matches an Abbott

 11   price, $10.16, I'm going to assume that that's an
 12   Abbott price.

 13               There is something that one could
 14   provide evidence for relatively easily.       Are there
 15   any other NDCs that have that $10.16 price, "Yes"

 16   or "No."
 17               If "Yes," then you've got to be, if Dr.

 18   Duggan were being conservative, and he says he

 19   always wants to be, then I would expect him to say
 20   well, you know, there's $10.16 for the Abbott,

 21   there's $10.16 for the Baxter product, I can't

 22   tell which one it is and so being conservative,




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  1   I'm going to throw it out.    But, instead, he just

  2   says I see $10.16, it's an Abbott price.

  3               So without that additional evidence that
  4   he has demonstrated to some degree that readers
  5   should have a reasonable degree of confidence that

  6   these are indeed Abbott prices, then we have to

  7   say, or then without that you have my objection to
  8   his analysis that his estimates are going to be
  9   inaccurate because he could be attributing to
 10   Abbott damages that are not attributable to Abbott

 11   because it wasn't really an Abbott NDC.
 12   BY MR. LAVINE:

 13        Q.     Now, I'm not trying to be facetious, but

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 14   I assume you'll agree with me that the standard
 15   you're setting up for Professor Duggan isn't just
 16   that he needs to demonstrate that his assumptions

 17   are not silly.    Do you agree with that?   That's
 18   not the standard?

 19             MR. BERLIN:    Objection.
 20   BY MR. LAVINE:
 21        Q.   As long as he shows it's not silly,

 22   that's sufficient?



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  1        A.   No.    I used the term "silly" in relation
  2   to my hypothetical, which I stated is not

  3   something that Dr. Duggan is doing.

  4        Q.   And then you need to, you said he needed

  5   to show it was appropriate to some degree.     What

  6   degree?
  7        A.   Check, explain to the reader what you're

  8   checking, give us some assurance other than well,

  9   this happens to be an Abbott price, give us some
 10   assurance that it's not also somebody else's price
 11   in there for a legitimate product or a product

 12   that's in there by mistake.

 13        Q.   When do we decide that Dr. Duggan's
 14   demonstrated it to the appropriate degree?
 15             What is that standard that could be
 16   articulated and applied objectively rather than

 17   just satisfying Dr. Hughes that it's to the
 18   appropriate degree?

 19             MR. BERLIN:    Objection, form, asked and

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 20   answered.    Object to characterization of
 21   testimony.
 22               THE WITNESS:    Again, it's not --




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  1               MR. LAVINE:    Eric, please limit your

  2   objections to form.

  3               MR. BERLIN:    Okay.   But this is what I
  4   want --
  5               MR. LAVINE:    No.   We don't need to

  6   renegotiate the Rules of Civil Procedure.

  7               MR. BERLIN:    Okay.   Then I'm going to
  8   make the objection that I think I need to make.

  9               Where in the Rules of Civil Procedure

 10   does it say that I'm only allowed to say

 11   "Objection, form"?

 12               MR. LAVINE:    I'm not going to pull out
 13   the rules.

 14               MR. BERLIN:    Pull it out and show me,

 15   because you're wrong.
 16               MR. LAVINE:    I don't think so.
 17               MR. BERLIN:    Okay.   Well, Jim, you

 18   understand?    This is an agreement that we've had

 19   among depositions and I want to make sure that the
 20   agreement is going to continue here.
 21               That if I say "Objection, form," I'm not
 22   waiving the basis for my objections as to form,




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  1   and that you're not going to go in and say he

  2   didn't tell us what the objection to form is, he's
  3   waived it, you can't now argue that it's asked and
  4   answered when it's not clear that the objection to

  5   form was asked and answered.
  6             That's all I'm saying.     I won't state
  7   objections beyond that if you agree to that that

  8   by saying "Objection, form" I'm not waiving an

  9   objection to form.
 10             MR. BREEN:    Here's the problem:   These
 11   cases started under the Texas rules of evidence

 12   and have very explicit --

 13             MR. BERLIN:    Exactly.   Under the Texas
 14   rules you can only say "Objection, form."

 15             MR. BREEN:    -- rules regarding the form

 16   and the explanation.    I believe the federal rules

 17   emulate that to a significant degree.

 18             All of that said, the main problem is we
 19   don't want anybody calling something a form

 20   objection when it's not.    Then the other

 21   objections are not form objections and you are
 22   waiving those if you don't make them.




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  1             MR. BERLIN:    I agree.   But I don't need

  2   to state an objection that's not to form.     I'm not
  3   waiving them because I can't waive them by not

  4   making them.   The federal rules say I don't waive
  5   them by not waiving them.    I need to say
  6   objections to form concisely in a nonargumentative
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  7   fashion.

  8              MR. BREEN:    My understanding is if it's
  9   a true form objection and you make your objection
 10   and you give us a fair opportunity to inquire,

 11   which I often do --
 12              MR. BERLIN:    Yes.   That's why I'm
 13   directing this to you because I think we've done

 14   this appropriately.     But I'm hearing now that I

 15   need to state it more fully because I might be
 16   waiving it.
 17              MR. BREEN:    -- that that is consistent

 18   with the federal rule.

 19              Now, if there's another interpretation
 20   of it, we can take a break if we really need to

 21   drill down.   But it's been acceptable to me that

 22   you make a form objection as long as it's form




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  1   objection and not a hearsay objection or

  2   something, if that's relevant, and that's fine.

  3              So that's my perspective.     Mark, do we
  4   need to take a break on it?

  5              MR. LAVINE:    I don't think so.   As far
  6   as I know, in every deposition we've done in this
  7   case the objections have been limited to form,

  8   unless there's some privilege.
  9              MR. BERLIN:    Are you saying that I

 10   should just say "Objection, form," and when I say
 11   that if you want to know what the objection to
 12   form is you'll ask me.     But, otherwise, I'm not
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 13   waiving an objection to form by stating quote

 14   "Objection, form" unquote.
 15             MR. BREEN:    Fine by me for form
 16   objections.

 17             MR. BERLIN:    But I don't need to be
 18   stating another objection other than as to
 19   privilege.

 20             Is that our agreement?

 21             MR. BREEN:    In this deposition.    That
 22   may not be the case in all depositions, but in



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  1   this deposition you're probably right.

  2             MR. LAVINE:    But your position is that's
  3   not the way the Rules of Civil Procedure set this

  4   up?

  5             MR. BERLIN:    It's the way we generally

  6   have been conducting these cases because many of
  7   the depositions were taken simultaneously under

  8   the Texas rules which specifically say --

  9             MR. LAVINE:    But that's not the case
 10   here.

 11             MR. BERLIN:    So when I stated an
 12   objection to form, you said don't do that.
 13             So what I said is I'm happy not to do

 14   that as long as you're not going to later argue
 15   that I've waived the particular objection to form

 16   by not stating the particular objection.
 17             MR. LAVINE:    So you think the Federal
 18   Rules of Civil Procedure would let me do that?
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 19             MR. BERLIN:    Yes, I do.   I do think that

 20   the Federal Rules of Civil Procedure potentially
 21   could and you could potentially argue, the
 22   government has certainly shown that it's willing




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  1   to argue whatever it thinks it can get away with
  2   in this case, and I don't want that to happen.

  3             It's a pretty simple agreement.     If I

  4   say "Objection, form," you're not later going to
  5   come in and say he didn't state the bases for his

  6   objection to form, and therefore, he's waived that

  7   objection.

  8             MR. BREEN:    I don't think we have a
  9   disagreement here.

 10             Just be careful though.     I mean hearsay

 11   objections are not form objections, and as long as

 12   it's an expert witness and the hearsay is
 13   otherwise admissible under that rule, then it's

 14   probably not an issue.    But if it was a fact

 15   witness and you don't make a hearsay objection and
 16   you try to use that testimony, it may be a

 17   subsequent issue.
 18             So my point is --
 19             MR. BERLIN:    I don't think you have to

 20   make hearsay objections during a deposition.       Do
 21   you think you do?

 22             MR. BREEN:    I don't know.   I'm just




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  1   saying if it's form, it's form.

  2              MR. LAVINE:    Substantive objections are
  3   preserved.   Objections to form are not, unless you

  4   object to form.    That's what you need to do is
  5   object to the form.
  6              MR. BERLIN:    What the rules say is you

  7   must state your objection in a concise,
  8   nonargumentative fashion.

  9              It does not say you're only permitted to

 10   say "Objection, form."     And what I'm only asking
 11   is pretty simple, and I think it's in your favor,

 12   is if I say "Objection, form" and only "Objection,

 13   form" --

 14              MR. LAVINE:    Yes.    That preserves your
 15   objections to form.

 16              MR. BERLIN:    Okay.

 17              MR. BREEN:    That only took about fifteen

 18   pages.
 19              MR. BERLIN:    Go ahead.

 20              MR. BREEN:    Can we move on?

 21              MR. BERLIN:    Now we can.
 22   BY MR. LAVINE:




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  1        Q.    My last question was trying to

  2   understand the precise standard that you're saying
  3   Dr. Duggan failed to meet.       Obviously it's not

  4   that it just needs to get beyond the silly stage,

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  5   it needs to be precise to some specific degree.
  6   But what is that degree?
  7        A.   Assurance that when he says $10.16 is an

  8   Abbott price, that $10.16 is only an Abbott price.
  9        Q.   What level does that assurance need to

 10   reach?
 11        A.   I think I just stated it, that when he
 12   says $10.16 is an Abbott price, that he has

 13   checked the compendia, that he has checked the
 14   compendia and that he has seen that the only NDC

 15   that has $10.16 is the Abbott product that he

 16   thinks it is.
 17        Q.   Who is it that gets to decide when the

 18   assurance gets to a level that would be accepted

 19   in the field of economics?

 20             MR. BERLIN:    Objection, form.
 21             THE WITNESS:    Right now there's no

 22   assurance.   Right now we say oh, there's an Abbott




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  1   NDC that's $10.16, there's $10.16, that must be
  2   Abbott.

  3             So this all goes to my overriding

  4   conclusion that his estimates are inaccurate and
  5   unreliable because we have no, he offers no
  6   evidence other than well, there is an Abbott NDC
  7   that's $10.16, that that's the NDC that he's

  8   actually seeing when he sees $10.16 in the payment
  9   data.

 10   BY MR. LAVINE:

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 11        Q.   So Professor Duggan can articulate his
 12   position and say that he thinks his assurances
 13   were sufficient, and then you would say I don't

 14   think they are, and the jury just gets to pick one
 15   of the opinions or the other?

 16        A.   No.   I think that a jury would -- well,
 17   I don't know what a jury would do.    I don't want
 18   to characterize what a jury would do.

 19        Q.   Well, what is the objective standard
 20   that you would say Professor Duggan has failed to

 21   meet?

 22             When he says his assurances are



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  1   sufficient, you would say well, they're not

  2   sufficient because?

  3             MR. BERLIN:    Objection, form.
  4             THE WITNESS:    He is saying that $10.16

  5   is an Abbott NDC and only an Abbott NDC.     Right

  6   now his assurances are zero.    All he is saying is
  7   that Abbott has an NDC that's $10.16.
  8             What I'm arguing that he needs to do is

  9   to provide a basis for that conclusion.     And one

 10   way to do that would be to say I have gone to
 11   where NDC AWPs reside, First Databank or the Red
 12   Book or whichever one is appropriate for the
 13   system that he's using, I have examined this for

 14   the appropriate quarter and the appropriate time,
 15   and it is my opinion that only Abbott, or excuse

 16   me, here is all of the NDCs that have a price of

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 17   $10.16 at this time.
 18   BY MR. LAVINE:
 19        Q.    And on what objective basis are we going

 20   to be able to say that --
 21              MR. BERLIN:    Were you done with your

 22   answer?



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  1              THE WITNESS:    No, not even close.
  2              MR. BERLIN:    Can you please let the

  3   witness finish his answer?

  4              MR. LAVINE:    Well, much of it's
  5   nonresponsive.   And if we want to chance to finish

  6   this deposition today, we're losing it quickly.

  7              MR. BERLIN:    Okay.   Well, go ahead and

  8   let the record reflect the witness is not complete

  9   with his answer.
 10   BY MR. LAVINE:

 11        Q.    What is the standard that you would

 12   apply to determine when Professor Duggan has
 13   demonstrated a sufficient basis for his
 14   assumptions?

 15        A.    When he offers evidence that he has

 16   checked the accuracy of his assumption, that
 17   $10.16 is only an Abbott NDC.
 18        Q.    And what is the standard to let us
 19   decide when he has offered sufficient evidence to

 20   the effect that he's checked the accuracy of his
 21   numbers?

 22              MR. BERLIN:    Objection, form.

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  1              THE WITNESS:   Because AWPs for each NDC

  2   come from one of the compendia.     That's the source
  3   of shall we say the truth of what AWP is at any
  4   particular time in any particular quarter in any

  5   particular state.    Although of course compendia

  6   are national, correct.
  7              So if he says I have gone to the source
  8   of truth for NDCs, excuse me, I've gone to the

  9   source of truth for AWPs, I've gone to where the

 10   Medicare carriers go to get AWPs, I've gone to the
 11   compendia, and I have checked that compendia and

 12   at that time here's a list of the NDCs that have

 13   $10.16.   Or the only one that has $10.16 is

 14   Abbott.   Therefore, I am confident that when I see

 15   $10.16, that it is indeed an Abbott NDC, yes, an
 16   Abbott AWP I mean to say.

 17              The standard that you keep asking me

 18   about is that he goes to the source of the data,
 19   the compendia, and verifies his heretofore
 20   assumption that $10.16 can only be an Abbott NDC.

 21   That's the standard.

 22   BY MR. LAVINE:



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  1        Q.    And there's no general rule that you
  2   could describe that would tell us when he's
  3   reached that point.
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  4        A.   Yes --

  5             MR. BERLIN:    Objection, form.
  6             Go ahead.
  7             THE WITNESS:    Yes.   When you're doing

  8   data analysis, you want your data to be as
  9   accurate as possible.    That's the standard.
 10   BY MR. LAVINE:

 11        Q.   So Professor Duggan has failed to state

 12   his assumptions, he's failed to support his
 13   assumptions, and he's failed to demonstrate that
 14   his numbers were as accurate as possible?

 15        A.   He's failed to state his assumption,

 16   he's failed to state his basis for his assumption,
 17   and he's failed to take feasible steps, reasonable

 18   steps, to verify the accuracy of his assumption.

 19        Q.   Is there any other standard that he's

 20   failed to meet in that regard?

 21             MR. BERLIN:    Objection, form.
 22   BY MR. LAVINE:




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  1        Q.   With respect to identifying that the

  2   correct Abbott NDCs were in each array.
  3        A.   As I stated in my report, that was the
  4   objection to that, yes.

  5        Q.   Now, with respect to the next criticism
  6   that Dr. Duggan hasn't shown that Abbott's price

  7   moved the median.
  8             Are we at the same point?     He's failed
  9   to state the basis for his assumption, he's failed
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 10   to support his assumption, and he's failed to

 11   demonstrate that his approach was feasible and
 12   reasonable?
 13              MR. BERLIN:    Objection, form.

 14              THE WITNESS:    This is a different point.
 15              This is the idea that he's performing
 16   his analysis by only changing the Abbott AWP and -

 17   -

 18   BY MR. LAVINE:
 19        Q.    I'm sorry.    But my question is what is
 20   the standard that he's failed to meet by not doing

 21   that?

 22              I understand the substantive criticism.




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  1   But what is the scientific methodology that would

  2   be applicable to an economist performing this

  3   analysis that he's failed to meet?
  4        A.    When one does a damage analysis, one

  5   needs to put forth a vision of the but-for world

  6   that is consonant with the world that would have
  7   actually existed absent the alleged wrongful

  8   actions.
  9              Dr. Duggan conducts his analysis by
 10   saying that only, by in effect assuming that only

 11   the Abbott AWP was artificially inflated, in a
 12   but-for world only the Abbott AWP would move, and,

 13   therefore, only the Abbott AWP would move the
 14   median.
 15              I disagree with the characterization of
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                       Depo-Hughes-James-05-06-09
 16   the but-for world that somehow Medicare would put

 17   forth a regulation that says only Abbott has to
 18   report a hundred twenty-five percent of average
 19   contract selling price as its AWP.

 20             And so in a more realistic but-for world
 21   where all pharmaceutical companies had to report a
 22   hundred twenty-five percent of contract ASP, then




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  1   it would not be the case that in a hundred percent
  2   of the situations that the Abbott price would be

  3   the one that would move the median.

  4             So the standard that he has violated is

  5   the standard that is stated in the paper that I
  6   cite from Professor Blair in my report that a

  7   valid vision of the but-for world has to encompass

  8   more than just the change in the price but has to

  9   encompass other realistic and other likely
 10   consequences of the move from the allegedly

 11   unlawful behavior to lawful behavior.

 12        Q.   But isn't it fair to summarize that as
 13   saying that he's failed to demonstrate that his

 14   calculations were based upon a realistic but-for
 15   world?
 16             THE WITNESS:    I'm sorry.   Could you just

 17   give that back to me?
 18                    (The record was read back as

 19   requested.)
 20   BY MR. LAVINE:
 21        Q.   Isn't it fair to summarize what you just
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                       Depo-Hughes-James-05-06-09
 22   described as saying that he's failed to




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  1   demonstrate that his calculations were based upon
  2   a realistic but-for world?
  3        A.   Well, I mean my objection here is that

  4   his calculations are based on an unrealistic but-
  5   for world.

  6             So maybe we're saying the same thing in

  7   opposite ways.
  8        Q.   But the standard he's failed to meet is

  9   that he hasn't used a realistic but-for world?

 10        A.   He has not used a but-for world that

 11   takes into account factors that would change,
 12   would be reasonably expected to change when one

 13   moves from the actual world to the but-for world.

 14        Q.   But those factors are the support for

 15   the proposition that it's not realistic.      The
 16   standard he needs to meet is the fact whether it's

 17   realistic or not?

 18        A.   Well, and realism is, according to
 19   Professor Blair, and with whom I agree, that it's

 20   got to take into account other changes that could
 21   reasonably be expected to happen as we move from
 22   the actual world to the but-for world.




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  1        Q.   So let me see if I understand the

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  2   standards that you're saying that Professor Duggan
  3   has failed to meet so far.
  4             He's failed to state his assumptions,

  5   that he's failed to support his assumptions, that
  6   he hasn't shown that he's done what is feasible

  7   and reasonable, and that he's failed to create a
  8   realistic but-for world.
  9             MR. BERLIN:    Objection, form.

 10             THE WITNESS:    That states where we are
 11   so far, yes.

 12   BY MR. LAVINE:

 13        Q.   Are there any other standards that
 14   you're articulating that Professor Duggan has

 15   failed to meet?

 16        A.   I'm sure there are.    But without

 17   speaking about a specific point in my report, I
 18   can't list them out for you.

 19        Q.   All right.    Well, your point was that

 20   Professor Duggan hadn't shown that Abbott's price

 21   moved the median.
 22             Is there any other standards he's failed



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  1   to meet with respect to that point beyond the four
  2   we just discussed?
  3             THE WITNESS:    I'm sorry.   Could I have
  4   that again.

  5                    (The record was read back as
  6   requested.)

  7             THE WITNESS:    I'm just, I'm sorry.

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  8   Could you just ask, rephrase the question --
  9              MR. LAVINE:    Sure.
 10              THE WITNESS:    -- because it just seems

 11   to me that you've mischaracterized something.
 12              I just don't want to answer a different

 13   question than you're asking.
 14   BY MR. LAVINE:
 15        Q.    I want to make sure I understand all of

 16   the underlying bases for your criticism of
 17   Professor Duggan when you say that he has not

 18   shown Abbott's price moved the median and that the

 19   reason that he's, scientific or other
 20   methodological failings on that point are that

 21   he's failed to state his assumptions regarding

 22   that.   Is that one of the points?




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  1        A.    For Abbott not moving the median?

  2        Q.    Right.

  3        A.    Well, yes.    He's failed to state the
  4   assumption that --
  5        Q.    I don't mean to cut you off, but I'm

  6   just asking the first point, without getting into

  7   all the underlying reasons.
  8        A.    I know, but --
  9        Q.    So Step One is that he's failed to state
 10   his assumptions.

 11        A.    Okay.    You don't want to cut me off, I
 12   don't want to cut you off, but I want the answer

 13   to your questions to be my words and not yours.

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 14             So that's why when, you know, you may
 15   understand it but I feel the need to make sure
 16   that I'm answering your question with my words.

 17        Q.   Are there no basic standards that apply
 18   to the type of analysis Professor Duggan has done?

 19             MR. BERLIN:    Objection, form.
 20             THE WITNESS:    We've been through a
 21   number of them.

 22   BY MR. LAVINE:



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  1        Q.   Well, I thought that one of them was
  2   that when you're doing this type of analysis, you

  3   have to state any assumptions that you're making.

  4        A.   Yes.    You need to state the assumptions

  5   that one is making.

  6             And in the particular objection of mine
  7   that we're talking about is that Dr. Duggan does

  8   not provide a basis for his assumption that only

  9   the Abbott AWP would change in the but-for world.
 10             That is in my opinion an unrealistic
 11   view of the but-for world because I cannot

 12   envision how such a change in reporting could only

 13   apply to Abbott in the but-for world.
 14        Q.   Is there a difference between the rule
 15   itself and the application of that rule to the
 16   facts of a particular situation?

 17             MR. BERLIN:    Objection, form.
 18             THE WITNESS:    I'm sorry.   I don't

 19   understand the question at all.

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 20   BY MR. LAVINE:
 21          Q.   Isn't it possible to state the rule
 22   that's being applied to a situation as Step One of




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  1   the analysis, and then the next thing you do is

  2   you would describe how that applies to the

  3   particular facts of the rules?
  4          A.   I'm sorry.    Isn't that what we have been
  5   doing for the past hour?

  6          Q.   But my question is only limited to Step

  7   One.    I want to know what the rule is that's being
  8   applied.

  9               We talked about the way that you're

 10   applying it.    I want to make sure I understand the

 11   specific rule that's being applied.

 12               And I think we're in agreement that one
 13   of the rules that you're applying is that when you

 14   perform an analysis, as Dr. Duggan has done, that

 15   you need to state your assumptions.
 16               MR. BERLIN:    Hold on.    There's no
 17   question pending.

 18   BY MR. LAVINE:

 19          Q.   Is that correct?
 20               MR. LAVINE:    Please.    He understands it
 21   was a question.    You don't have to direct him not
 22   to answer.




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  1             THE WITNESS:    I'm sorry, guys.    I am

  2   getting lost between the two of you.
  3   BY MR. LAVINE:
  4        Q.   I just want to separate the principle

  5   from the application of the principle to the
  6   facts.
  7             What I'm trying to understand, and I

  8   think we're in agreement on, is the principle is

  9   that you need to state your assumptions.
 10        A.   The principle is you need to state your
 11   assumptions, you need to provide a basis for those

 12   assumptions, right, and you need to provide some

 13   evidence, some argument, some something that will
 14   lead people to agree with you that, yes, in this

 15   situation that is a reasonable assumption to be

 16   making.

 17             The other standard that's particularly

 18   applicable to the objection that we're talking
 19   about that he doesn't demonstrate that the Abbott

 20   AWP would move the median, that is the standard

 21   that I understand is to be applied to damage
 22   analyses, that the statement of the but-for world




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  1   include more than just a change in price from an

  2   allegedly illegal price to a legal price but also
  3   takes into, the but-for world also takes into

  4   account the likely changes in incentives, likely
  5   changes in behavior, likely changes in this case
  6   in systems and government policies that may result
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  7   from changing those prices.

  8          Q.   Can you separate, in that last point you
  9   made regarding the but-for world, can you separate
 10   the principle from the application of that

 11   principle to the facts in this case and just
 12   describe the principle?
 13               MR. BERLIN:    Objection, form.

 14               THE WITNESS:    I think I did just

 15   describe the principle.      And the application is --
 16   BY MR. LAVINE:
 17          Q.   My question is about the principle, not

 18   the application.

 19               Are we in agreement that the principle
 20   you're describing is that to perform an analysis

 21   of the type done by Dr. Duggan, that it needs to

 22   be based upon a realistic but-for world?




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  1          A.   That is one of the principles that I've

  2   been talking about for the last period of time,

  3   yes.
  4               And the application is he hasn't done

  5   it.
  6          Q.   I understand your position.    I want to
  7   understand what the principle is.

  8               So the standard is when you're
  9   performing an analysis of the type that Dr. Duggan

 10   does in his report, that it needs to be based upon
 11   a realistic but-for world.      That's what your
 12   opinion is as to the standard that he needs to
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 13   meet.

 14          A.   That's correct.
 15          Q.   One of them, one of the standards.
 16          A.   Yes.

 17          Q.   And then he has to state his assumptions
 18   is another standard you say applies.
 19          A.   State his assumptions.     It's not just

 20   one.    It's state his assumptions, it's provide a

 21   basis for his assumptions, state his assumptions,
 22   provide a basis for his assumptions such that



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  1   people will agree that, people will reach the

  2   conclusion that this is a reasonable assumption to
  3   make under the circumstances.

  4          Q.   Now, do we agree that we just talked

  5   about four general standards?

  6          A.   I would have to ask the Reporter To read
  7   it back.

  8          Q.   Well, the first one is the standard

  9   you're articulating is you have to state your
 10   assumptions; is that right?

 11               MR. BERLIN:    Objection, form.
 12               THE WITNESS:    Okay.   There's one.
 13   BY MR. LAVINE:

 14          Q.   The second would be that Professor
 15   Duggan has an obligation to support his

 16   assumptions.
 17          A.   To provide a basis for his assumptions,
 18   yes.
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 19          Q.   And demonstrate that it's a reasonable

 20   assumption to make under the circumstances.
 21               Is that part and parcel the same
 22   standard?




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  1               MR. BERLIN:    Objection, form.
  2               THE WITNESS:    Providing the basis is

  3   demonstrating that your assumption is reasonable,

  4   yes.
  5   BY MR. LAVINE:

  6          Q.   And you also said one of the standards

  7   that needs to be met is that you need to base your

  8   analysis on a realistic but-for world?
  9          A.   That's correct.

 10          Q.   Earlier we started to talk about a

 11   fourth one that was based on the idea that you

 12   need to have done what is feasible and reasonable.
 13               Is that the same as what we've already

 14   discussed regarding the support for the assumption

 15   needs to be reasonable under the circumstances?
 16               MR. BERLIN:    Objection, form.

 17               THE WITNESS:    No.   The feasible and
 18   reasonable --
 19   BY MR. LAVINE:

 20          Q.   That's a separate standard.
 21          A.   Excuse me.    I'm not really done.

 22               The term "feasible" and "reasonable"




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  1   came up in the context of the standard was you

  2   want your data to be as accurate as possible or
  3   you want to demonstrate that your data are as

  4   accurate as possible.
  5             So that one should undertake feasible
  6   and reasonable steps to give people the assurance

  7   that the data that you're employing in your
  8   analysis are in fact accurate.

  9        Q.   Let's move to the next point, which is

 10   that Professor Duggan hasn't demonstrated that
 11   Abbott was the only manufacturer whose compendium

 12   AWP was greater than its average selling price.

 13             Which of the standards demonstrate that

 14   Professor Duggan -- or I'm sorry.
 15             In making that assumption or failing to

 16   make that showing, which standard has Professor

 17   Duggan failed to meet?

 18        A.   Well, he's made the assumption -- again,
 19   I don't know what assumption he's made because he

 20   doesn't state it.

 21        Q.   So he's failed to state his assumption?
 22        A.   Well, number one, I don't know what




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  1   assumption that he's making.

  2             But his analysis proceeds as if only
  3   Abbott is failing to report its average selling

  4   price and those other prices, the other AWPs

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  5   reported by the other manufacturers, are by his
  6   failure to adjust them or do anything to them,
  7   that it appears that, well, his analysis proceeds

  8   as if those prices are somehow okay.
  9        Q.     But, again, I'm trying to focus on what

 10   standard he's failed to meet by not doing that.
 11               So I think you're saying, and correct me
 12   if I'm wrong, that the standard he's failed to

 13   meet is that he has not stated or supported his
 14   assumptions -- I'm sorry.     I combined two

 15   standards there.     Let me start again.

 16               You're saying that first he failed to
 17   state his assumptions regarding the other

 18   manufacturers who were listed in the compendium.

 19   Is that one standard he's failed to comply with?

 20        A.     It's probably easier if you let me do it
 21   rather than for you to do it and then say "is that

 22   correct."




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  1        Q.     Except I'm trying to --
  2        A.     Go ahead.   I'm sorry.

  3        Q.     -- do what I can to speed things up --

  4        A.     Okay.
  5        Q.     -- and limit our discussion to the
  6   standard itself and not the application of the
  7   standard to the facts of the case.

  8        A.     Okay.   Then in this instance where he
  9   has failed to show that the other companies were

 10   in fact reporting ASP, he's failed to state

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 11   exactly what his assumption is, he's failed to
 12   provide a basis for that assumption.     And the
 13   assumption that only Abbott was reporting an AWP

 14   higher than its average selling price is at odds
 15   with the standard that one needs to have a

 16   realistic but-for world.
 17        Q.     Any other standards with respect to that
 18   point where you say Professor Duggan has failed to

 19   meet?
 20        A.     To the best of my knowledge sitting

 21   here, that's it on that point.

 22        Q.     Now, an additional point you made



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  1   regarding the arrays is that Professor Duggan has

  2   failed to show that Abbott was responsible for one

  3   hundred percent of the sales and that therefore
  4   it's inappropriate to attribute a hundred percent

  5   of the damages to Abbott.

  6               What standards has Professor Duggan
  7   failed to make with respect to that part of his
  8   analysis?

  9        A.     He's failed to state his assumption,

 10   he's failed to support his assumption, he's failed
 11   to have a realistic vision of the but-for world,
 12   and it is well within if Abbott did indeed make a
 13   hundred percent of the sales during any carrier's

 14   area during any quarter, it's within his ability
 15   to figure that out.

 16               Let me try that again.   It's within his

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 17   ability to present evidence that that's indeed
 18   true.
 19        Q.   So the standard there is that he hasn't

 20   done what is feasible?
 21        A.   He's assuming that Abbott is responsible

 22   for a hundred percent of the damages, which what



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  1   follows from that is Abbott was responsible for a
  2   hundred percent of sales.

  3             That seems to be well within his ability

  4   to ascertain from the data that he had available
  5   to him.

  6        Q.   But the standard is that if there was

  7   additional work that he could have done to

  8   demonstrate his point that was feasible, that he

  9   needed to have done that?
 10        A.   Well, again, provide a basis for one's

 11   assumption.   There is something relatively

 12   straight forward and feasible that he can do to
 13   demonstrate the validity of that assumption and he
 14   has failed to do it.

 15             And he's also failed that if he tried to

 16   do that, as I am fairly confident he would find
 17   that Abbott did not account for a hundred percent
 18   of the sales in any quarter for any carrier, and
 19   so he's failed to adjust his analysis and take

 20   that into account to say what would happen if in
 21   fact Abbott wasn't responsible for a hundred

 22   percent of the sales.

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  1        Q.   But you don't think that Professor

  2   Duggan was suggesting that Abbott represented a
  3   hundred percent of the sales?
  4        A.   Well, if he stated how he came, what

  5   assumptions he was using to come to the conclusion

  6   that Abbott was responsible for a hundred percent
  7   of the damages, then we could have that
  8   discussion.

  9        Q.   You understand, don't you, that if the

 10   median changes for the reimbursement for any
 11   particular J-Code, that it affects the

 12   reimbursement on a hundred percent of what's

 13   reimbursed under that J-Code; right?

 14        A.   Yes, it does.

 15        Q.   And your point is you would not
 16   attribute that to Abbott?

 17             MR. BERLIN:    Objection, form.

 18             THE WITNESS:    Okay.   Again, this is part
 19   and parcel of the previous point is that what is
 20   the basis for the assumption that in the but-for

 21   world only the Abbott AWP would change in those

 22   arrays and everybody else's arrays would stay the



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  1   same, excuse me, not everybody else's arrays,
  2   everybody else's AWPs would stay the same.     Sorry.
  3   BY MR. LAVINE:
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  4        Q.    But we are agreeing that if Abbott did

  5   affect the median, it would affect it with respect
  6   to the reimbursement for all companies that had
  7   products reimbursed under that J-Code; right?

  8        A.    In those instances when Abbott's, a
  9   change in Abbott's AWP changed the median, it
 10   would change the median for a hundred percent of

 11   the transactions.

 12              And when it was in a more accurate but-
 13   for world where all the company's AWPs are
 14   changing, when another company's AWP would have

 15   been the one that would have moved the median,

 16   then it would change for a hundred percent of the
 17   transactions.

 18              But none of those damages would be

 19   attributable to Abbott because it wasn't their AWP

 20   that moved the median.

 21        Q.    So another failing on this point with
 22   respect to Professor Duggan's analysis, according




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  1   to you, is that he failed to meet the standard

  2   regarding the creation of a realistic but-for
  3   world?
  4        A.    I believe I've stated that before, yes.

  5        Q.    All right.   What other standards did his
  6   decision to attribute one hundred percent of the

  7   damages to Abbott without showing a hundred
  8   percent of the sales were attributed to Abbott
  9   violate?
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 10          A.   I think that we've been over all of

 11   them, to the best of my recollection, sitting
 12   here.
 13          Q.   Okay.   In preparing your report, what

 14   was your understanding of what the term "AWP"
 15   means?
 16          A.   AWP was a price that was reported by

 17   compendia, that was published by compendia, by

 18   like First Databank or Red Book.
 19          Q.   And that was the only understanding of
 20   the term "AWP" that you used in the course of

 21   preparing your opinions in this case?

 22          A.   Well, I mean I took the question to say




                                                             368


  1   what was my understanding of what it was.       And

  2   that's what it was.     It was a price that's

  3   published by the compendia.
  4          Q.   So I think that was a yes, that you

  5   didn't use any other meaning or understanding or

  6   definition of "AWP" underlying any of the opinions
  7   that you've provided in connection with your

  8   report in this case?
  9          A.   I'm not positive I understand the
 10   question enough to agree with you or disagree with

 11   you.
 12               I mean there's lots of issues

 13   surrounding AWP that I certainly used to inform my
 14   analysis, but the definition of AWP was a price
 15   that's published by the compendia.
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 16        Q.    And when we see you refer to the term

 17   "AWP" --
 18              MR. LAVINE:    Sorry.   We need to take a
 19   break.

 20              THE WITNESS:    Okay.
 21              THE VIDEOGRAPHER:    Going off the record
 22   at 10:28 a.m.




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  1                    (A recess was taken.)
  2              THE VIDEOGRAPHER:    Beginning of

  3   Videotape No. 2.    We're back on the record at

  4   10:40 a.m.

  5   BY MR. LAVINE:
  6        Q.    The question I asked about AWP, I think

  7   we're in agreement, I just want to understand when

  8   you refer to AWP in your report, what you're

  9   referring to are the prices published in the
 10   compendia?

 11        A.    Yes, correct.

 12        Q.    And by compendia we're talking about the
 13   Red Book or First Databank?

 14        A.    That's correct, yes.
 15        Q.    And also in connection with the opinions
 16   expressed in your report, what is your

 17   understanding of or assumption regarding what it
 18   is that Abbott did wrong?

 19              MR. BERLIN:    Objection, form.
 20              THE WITNESS:    I mean I accept what's in
 21   the government's complaint that Abbott reported a
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 22   price to the compendia that were, whatever the




                                                             370



  1   language was, artificially inflated and something
  2   like that, whatever is, again, I accept the
  3   government's allegation as true for purposes of my

  4   report.
  5             So it would be whatever is in the

  6   complaint is the characterization of Abbott's

  7   behavior that I used in my report.
  8   BY MR. LAVINE:

  9        Q.   Let me just ask you to look at Paragraph

 10   19 in your report.    Is that Exhibit 8?

 11        A.   Exhibit 8.
 12        Q.   On Page 10.

 13        A.   I'm sorry.    Paragraph 19, okay.

 14        Q.   Yes.    The first two sentences, "Abbott

 15   announced list price changes annually for its
 16   hospital products.    Because of the competitive

 17   nature of the market for these products, these

 18   changes were generally limited to no more than the
 19   relevant rate of inflation."

 20             What is the basis for your statement on
 21   that point?
 22        A.   That the changes were limited to no more




                                                             371



  1   than relevant rate of inflation, I show that with

                                Page 60
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  2   Exhibit 4.    That maps the list price against, an
  3   index of the list price against an index of
  4   inflation.    And that by and large the price

  5   changes were consistent with the rate of inflation
  6   as shown in Exhibit 4.

  7          Q.   Well, am I correct that you didn't
  8   actually dig into all the details of the manner in
  9   which Abbott set list prices.      You're referring

 10   only to your observation that it did match the
 11   rate of inflation?

 12               MR. BERLIN:    Objection, form.

 13               THE WITNESS:    Correct.
 14               I mean I looked at the pricelists, I

 15   looked at the inflation rate, and compared the

 16   two.

 17               So I did not make any inquiry into how
 18   or to what end Abbott was setting its prices.      But

 19   these are pretty regular, pretty consistent price

 20   changes.

 21               So I have to say as an economist it
 22   didn't strike me as a particularly strategic



                                                               372



  1   pricing strategy.
  2   BY MR. LAVINE:
  3          Q.   What did you do to determine the
  4   competitive nature of the market for these

  5   products?
  6          A.   Well, you've got ten, fifteen, twenty

  7   competitors all producing functionally identical

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  8   products that's consistent with what economists
  9   would refer to as a competitive market.
 10             You've got lots of manufacturers

 11   producing identical products.   And if memory
 12   serves, I believe in looking at some of the either

 13   Abbott documents or Mr. Sellers' deposition seems
 14   to me that, to the best of my recollection sitting
 15   here, that Abbott felt that it was participating

 16   in a market that was very competitive.
 17        Q.   Beyond the materials you just

 18   referenced, did you do any additional research to

 19   support your analysis regarding the competitive
 20   nature of the market for these product?

 21        A.   Well, again, as an economist it seems

 22   pretty obvious, I mean the structure of the market




                                                             373


  1   is consistent with one that is competitive.

  2             The movement of prices, you don't see

  3   companies, I mean you certainly don't see Abbott
  4   making large increases in their price in such a
  5   way that it would be consistent with somebody who

  6   was exercising some market power.

  7             But then again, it also seemed to me
  8   that Abbott was in the best position to
  9   characterize the market that they were selling in.
 10   And, again, to the best of my recollection sitting

 11   here, that either Abbott documents or Abbott
 12   deposition testimony talked to some extent about

 13   how they felt that this was a very competitive

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                         Depo-Hughes-James-05-06-09
 14   market.
 15        Q.     Are you saying that it was a competitive
 16   market with respect to all of the fifteen other

 17   companies making these products?
 18        A.     I'm not quite sure what that question

 19   means.    Could you try it again?
 20        Q.     Well, you do refer to several other
 21   companies that make the same products; right?

 22        A.     Yes.



                                                                374



  1        Q.     I think you say there's up to fifteen
  2   other companies making these products.

  3        A.     I actually say that somewhere in the

  4   report.    I have the number, let's say, to keep

  5   things moving, let's say it's fifteen.        I could

  6   check, but something like that.
  7        Q.     Do you consider each and every one of

  8   those other manufacturers to be competitors of

  9   Abbott Laboratories on these products?
 10               MR. BERLIN:    I'm sorry.   Can I have that
 11   question back?

 12                      (The record was read back as

 13   requested.)
 14               MR. BERLIN:    Objection, form.
 15               THE WITNESS:    I did not reach a
 16   conclusion on that.      It wasn't something that my

 17   analysis depended on.
 18   BY MR. LAVINE:

 19        Q.     Do you know who the primary competitors

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 20   of Abbott Laboratories are on these products?
 21        A.   Well, I know Baxter is there and then
 22   there's a bunch of smaller firms whose names that




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  1   I don't recall.

  2        Q.   At one point in your report you refer to

  3   these products as legacy hospital products.
  4             Where do you get that term from?
  5        A.   I get that from my experience in

  6   pharmaceutical, just dealing with pharmaceutical

  7   markets, pharmaceutical matters.
  8        Q.   Do you agree that the hospital market is

  9   not at issue in this case?

 10        A.   Sales to hospitals under Medicare and

 11   Medicaid are paid through a different system than

 12   the one at issue here.   So it's my understanding
 13   that hospital sales are not at issue.

 14        Q.   Even though you've referred to them as

 15   legacy hospital products, you do agree they need
 16   to comply with all the normal laws governing drugs
 17   in the United States?

 18        A.   Sure, absolutely.

 19             The legacy simply refers to that these
 20   are products that predate the modern requirements
 21   for, these products were in use long before FDA
 22   regulations on safety and efficacy and everything




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  1   else were in place.    There's no patent protection,

  2   probably never was, although I don't know for
  3   certain to the product itself.
  4        Q.   But under the current regulatory system

  5   they're subject to all the rules otherwise
  6   governing?
  7        A.   Oh, absolutely.    You can't run tap water

  8   into a Zip-Lock bag and sell it to a hospital.

  9        Q.   Do you agree that the methodology
 10   utilized by Dr. Duggan to perform his calculations
 11   is testable and repeatable?

 12        A.   Yes.    Somebody else could take the data

 13   that he took and do what he did with it, yes.
 14        Q.   And Dr. Duggan's methodology as it

 15   relates to examining some data in detail and then

 16   using that as a basis to extrapolate is a

 17   technique that is generally accepted by

 18   economists?
 19             MR. BERLIN:    Objection, form.

 20             THE WITNESS:    Well, yes and no.   I mean

 21   in his rebuttal report Dr. Duggan sites to several
 22   academic studies that have used extrapolation and




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  1   I believe he talks about a study where he himself

  2   has used extrapolation.
  3             But as I understand in Dr. Duggan's

  4   study that he cites in his rebuttal, what he did
  5   was he extrapolated from a set of states, if
  6   memory serves, that the extrapolations were from
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  7   states where a policy had been implemented to

  8   states where a policy had not been implemented.
  9             So he had the ability to calculate
 10   before and after actual policy, excuse me, before

 11   and after actual policy was enacted and then to
 12   take that and extrapolate it to other states.
 13             So the point is that I believe his study

 14   was well, what happens when Medicaid physicians go

 15   from fee for service to go to managed care.    And
 16   he calculates a change in Medicaid expenditures by
 17   comparing what the expenditures were under fee for

 18   service and what the expenditures were under

 19   managed care.
 20             That change in expenditure is the

 21   consequence of a whole raff of different things

 22   that were changing when you go from fee for




                                                             378


  1   service to managed care, how particular diseases

  2   are managed, how hospitalization is used, what

  3   kind of drugs are used, how long doctors spend in
  4   offices, all sorts of things that are the actual

  5   actions are unobservable but it shows up in the
  6   change in the expenditures and then he
  7   extrapolates from there.

  8             And what he's done in this study is he's
  9   not extrapolating from a real policy that has

 10   actually been implemented but he is changing the
 11   price only, assuming absolutely nothing else
 12   changes, and then extrapolating that absent all of
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 13   the other effects that would show up if he

 14   actually had the ability to say okay, here are
 15   three states that reduce their reimbursements to a
 16   hundred twenty-five percent of average contract

 17   selling price minus fifteen percent plus a
 18   dispensing fee, and then he would get to observe
 19   whether there was a change in the, whether there

 20   was a change in access and whether there were

 21   other changes in policy and then extrapolate from
 22   there.



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  1              Instead, he's just taking a hypothetical

  2   in his nine states and then extending that
  3   hypothetical to the other states, and in my

  4   opinion that's qualitatively different from the

  5   extrapolation studies that he speaks to in his

  6   rebuttal report.
  7        Q.    Well, my question was attempting to be

  8   much more limited.

  9        A.    I'm sorry.
 10        Q.    And I understand that you assert that

 11   the application of the extrapolation in this
 12   particular instance as done by Dr. Duggan was
 13   incorrect, but the underlying methodology of

 14   extrapolating from one dataset to another, that in
 15   and of itself is not something you're challenging;

 16   are you?
 17              MR. BERLIN:    Objection, form.
 18              THE WITNESS:    Like any data analysis
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                         Depo-Hughes-James-05-06-09
 19   technique, be it extrapolation, econometric

 20   analysis, statistical testing, any data analysis
 21   technique can be done well or can be done poorly.
 22   But when it's done well, extrapolation is




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  1   obviously an acceptable technique.
  2   BY MR. LAVINE:

  3          Q.   And am I right that you're not taking

  4   issue with respect to any of the actual
  5   calculations themselves?

  6          A.   That was not my assignment, no.

  7          Q.   Now, in connection with your work in

  8   this case, you reviewed the state reimbursement
  9   methodology summaries that were prepared by Myers

 10   & Stauffer; right?

 11          A.   Yes.

 12          Q.   The documents that summarized how the
 13   individual state's reimbursement methodology

 14   evolved over the years?

 15          A.   Oh, yes, yes, I did.
 16          Q.   But as part of your assignment in this

 17   case, you didn't do any analysis to go back and
 18   verify the accuracy or not of those summaries; did
 19   you?

 20          A.   I did not.    That was not part of my
 21   assignment.

 22          Q.   So you don't have any opinion as to




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  1   whether or not those are accurate or not?

  2        A.    I do not.
  3        Q.    And you don't have any dispute regarding

  4   the fact that the state Medicaid data that was
  5   used by Professor Duggan was in fact data that
  6   came from the states?

  7        A.    I have no opinion on that.
  8              Again, that wasn't something that was my

  9   assignment.   I have no opinion on that one way or

 10   another.
 11        Q.    And you don't have an opinion as to the

 12   question of whether that same data represents the

 13   Medicaid claims reimbursement data?

 14        A.    No.   Again, not my assignment.
 15        Q.    And similarly, with respect to the STUD

 16   and the SMRF/MAX data, you don't have any opinion

 17   about whether the data that he used was in fact

 18   the STUD and SMRF/MAX data that came from CMS?
 19        A.    Again, not my assignment.

 20        Q.    And you don't have any opinion about

 21   whether that data, the SMRF/MAX and the STUD data,
 22   is obtained by CMS from the states and reflects




                                                             382


  1   data generated by the states from their Medicaid

  2   claims processes?
  3        A.    I presume that the data are what the

  4   states say they are, yes.

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  5          Q.   So you don't have an opinion to the
  6   effect that it was the wrong data or not what
  7   Professor Duggan represented it to be?

  8          A.   I don't have any opinion that Dr. Duggan
  9   misrepresented any of the data that he used.

 10          Q.   Yesterday you had mentioned a potential
 11   flaw that you've seen in the STUD data where the
 12   utilization in a particular quarter doesn't match

 13   up with what you see in the quarter before and the
 14   quarter after.     Do you remember that testimony?

 15          A.   Yes.

 16               In the aggregate, STUD data, or whatever
 17   the acronym is, that, yes, sometimes it's

 18   incomplete in particular quarters.

 19          Q.   And if you see that, you need to account

 20   for that kind of potential error in some way;
 21   correct?

 22          A.   Correct.




                                                             383


  1          Q.   Have you seen any kind of a problem of
  2   that sort that Dr. Duggan has failed to account

  3   for?

  4          A.   The details of his calculation at that
  5   level were not my assignment.
  6          Q.   So you don't have any opinion about an
  7   issue related, whether there might have been a

  8   potential flaw in the STUD data that wasn't
  9   properly dealt with?

 10          A.   No.

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                       Depo-Hughes-James-05-06-09
 11        Q.     And you're not offering any opinions
 12   about whether the arrays that were used by Myers &
 13   Stauffer and then relied upon by Professor Duggan

 14   were arrays that came from the carriers or the
 15   medical equipment regional carriers?

 16        A.     Yes.   As I think I said yesterday, I
 17   don't have any reason to think that Myers &
 18   Stauffer when they created those actual arrays did

 19   so accurately from truthful data from the
 20   carriers.

 21        Q.     And you're not offering any opinions

 22   about whether the Medicare claims data that was



                                                             384



  1   used by Professor Duggan actually came from CMS

  2   and contains the actual claims data generated by

  3   the carriers and the DMERCs?
  4        A.     Again, I don't have any claim that Dr.

  5   Duggan has misrepresented the data that he used.

  6        Q.     Do you understand what I mean when I use
  7   the word "DMERC"?
  8        A.     Yes.

  9        Q.     One of your criticisms also is that Dr.

 10   Duggan extrapolated on the basis of aggregate data
 11   in a situation where he could have or should have
 12   used the detailed state claims data; is that
 13   right?

 14        A.     Yes.
 15        Q.     And yesterday you referred to the fact

 16   that he went back and did a check by doing a

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                     Depo-Hughes-James-05-06-09
 17   claims level, an analysis based upon the detailed
 18   state data and comparing it to his extrapolation;
 19   right?

 20        A.   Yes.
 21             Again, precisely what he did as

 22   described in his rebuttal report, it was certainly



                                                             385



  1   just a summary, but I may be misreading his
  2   rebuttal report, but it sounded like from reading

  3   it that he had gone back to the claims data and

  4   conducted another analysis to compare that to his
  5   extrapolations, yes.

  6        Q.   But with respect to Dr. Duggan's report,

  7   not the rebuttal report, do you agree that he did

  8   represent that his extrapolation method would

  9   likely produce a lower damages figure than would
 10   be the case if he had performed a claim-by-claim

 11   analysis on the detailed state data?

 12        A.   Well, consistently through his report
 13   Dr. Duggan always claimed that he was being
 14   conservative.

 15             And as I state in my report in a couple

 16   of areas, I take issue with whether he is being
 17   consistently conservative.
 18             But I do agree that it was contained in
 19   his report that he believed he was always being

 20   conservative in underestimating the value of
 21   difference rather than overestimating, that that's

 22   his representation of it, yes.

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  1        Q.   But do you remember that he specifically

  2   made the point that if he went to the individual
  3   state data and performed the claim-by-claim
  4   analysis, that his expectation was that the

  5   damages figure would be even larger than what he

  6   reached through the extrapolation method?
  7             MR. BERLIN:    Objection, form.
  8             THE WITNESS:    I don't remember

  9   specifically, but it wouldn't surprise me that he

 10   would make that claim in the abstract in his
 11   original report, and then he made the claim

 12   specifically in the rebuttal report.

 13   BY MR. LAVINE:

 14        Q.   But when he did the analysis in the

 15   rebuttal report, what he found was consistent with
 16   what he predicted he would find; right?

 17             MR. BERLIN:    Objection, form.

 18             THE WITNESS:    And it was consistent with
 19   my conclusion that his estimates because of the
 20   extrapolations were inaccurate.    I mean he claimed

 21   he found a significant difference when he used the

 22   claims data.



                                                             387



  1   BY MR. LAVINE:
  2        Q.   The difference was as he expected, it
  3   was an even higher figure when he went back and
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  4   performed the analysis on the claims level data?

  5        A.   Again, in the checking that he did, and
  6   it's not clear to me what checking he did, but,
  7   yes, in the instance that he reported he did find

  8   that the difference was higher, as he said
  9   significantly higher, I'm sorry, substantially
 10   higher, not significantly.

 11        Q.   With respect to the extrapolation

 12   performed by Professor Duggan regarding the
 13   Medicaid claims, one of your opinions is that his
 14   selection of the states upon which the

 15   extrapolation was based was nonrandom; is that

 16   right?
 17        A.   That's correct.

 18        Q.   And then another criticism was that they

 19   were selected on an ad hoc basis?

 20        A.   That's my opinion, yes.

 21        Q.   And that the states that were the basis
 22   of the extrapolation were nonrepresentative of the




                                                             388


  1   states to which the extrapolation was performed?

  2        A.   Well, my specific objection was he
  3   doesn't demonstrate that they are representative,
  4   that the nine states that he uses are in fact

  5   representative of the remaining states.
  6        Q.   And you also said that the manner in

  7   which the original, well, you refer to it now as
  8   nine states; right?
  9        A.   Yes, because it is nine states.
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                     Depo-Hughes-James-05-06-09
 10        Q.   The manner in which the nine states were

 11   selected was subject to manipulation.
 12        A.   Well, the specific criticism was that
 13   when he removed Ohio, his damages, extrapolated

 14   damages, went up, his extrapolated difference
 15   calculation went up.
 16             So clearly it seemed to me depending on

 17   the states you choose, you can get an entirely

 18   different damage calculation.
 19             So if he had chosen nine different
 20   states other than the ones that he chose and then

 21   done the same extrapolations to the nonchosen

 22   states, it seemed to be highly likely he could get




                                                             389


  1   a very different result.

  2        Q.   But am I right though, you're not

  3   suggesting that he specifically selected states
  4   that would lead to a higher extrapolation figure.

  5             You're saying that he hasn't

  6   demonstrated that the base states were
  7   representative of the extrapolated states.

  8        A.   Well, again, the whole idea of sampling
  9   in statistics is that if you have a population
 10   from which you draw a sample and you draw your

 11   sample properly, that the results that you get
 12   from each repeated properly drawn sample that you

 13   get should be pretty much the same.   That's the
 14   idea of statistical sampling.
 15             When you have a sample that is put
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 16   together, and, again, it's another, we don't

 17   really know how Dr. Duggan, or I'm sorry, I don't
 18   know how Dr. Duggan selected the nine states that
 19   he selected, but he does agree that they are in

 20   fact not randomly selected.
 21             Then that leads us to the conclusion
 22   that if you draw repeated samples like this,




                                                             390



  1   you're not going to get the same thing that you
  2   get from the nine that he chose, but rather you

  3   could get difference calculations that are the

  4   same, could be higher, could be lower.    But it is

  5   a failure of sampling.
  6        Q.   So is there a particular scientific

  7   methodology or technique -- I'm sorry.    Let me

  8   start over.

  9             What is the particular standard based
 10   upon a scientific methodology that you're saying

 11   Professor Duggan failed to meet with regard to the

 12   selection of the nine states?
 13        A.   Well, I mean every introductory

 14   statistics book has a section on sampling and how
 15   one is supposed to draw valid samples from
 16   populations and what criteria are used.

 17             As Dr. Duggan states in his rebuttal
 18   report, he did not use any such technique but that

 19   he agrees that his sample is in fact nonrandom.
 20        Q.   Are you aware of any other basis upon
 21   which to select a sample besides a random process?
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 22        A.    Well, I mean "random" is an umbrella




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  1   term.   I mean they're either stratified samples,
  2   weighted samples, there's all sorts of different
  3   sampling, and it depends on the population that

  4   you're looking at.
  5              So when I say a random sample, that is

  6   an umbrella term for a whole raff of things that

  7   are done to draw valid samples under different
  8   circumstances.

  9        Q.    And you're not aware of any generally-

 10   accepted techniques regarding the selection of a

 11   sample in a manner as used by Dr. Duggan?
 12              THE WITNESS:    Could you give me that

 13   back.

 14                    (The record was read back as

 15   requested.)
 16              MR. BERLIN:    Objection, form.

 17              THE WITNESS:    Could I ask you to restate

 18   that because that question is not making a lot of
 19   sense to me.

 20   BY MR. LAVINE:
 21        Q.    Are you saying that the sample utilized
 22   by Professor Duggan has no general acceptance by




                                                              392



  1   any economist?

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  2             MR. BERLIN: Objection, form.
  3             THE WITNESS:    Well, I think that any
  4   economist looking at this would agree with me and

  5   agree with Dr. Duggan that his sample is in fact
  6   nonrandom.

  7   BY MR. LAVINE:
  8        Q.   But is there any support, is there any
  9   general acceptance of performing an economic

 10   analysis of this type on the basis of something
 11   other than a random sample?

 12        A.   Is there --

 13             THE WITNESS:    I'm sorry.   Could I just
 14   have the question back again.

 15                    (The record was read back as

 16   requested.)

 17             THE WITNESS:    I'm not exactly sure what
 18   you mean by "of this type."

 19             But there are instances certainly where

 20   researchers will perform economic analyses on

 21   samples that are not randomly selected.     But in
 22   those instances it's generally considered



                                                             393



  1   incumbent on the researcher to examine the
  2   consequences for their results and the
  3   consequences for their analysis of the fact that
  4   their sample has not been randomly chosen.

  5   BY MR. LAVINE:
  6        Q.   So is that one of the basis upon which

  7   you're saying Professor Duggan failed to select a

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                     Depo-Hughes-James-05-06-09
  8   proper basis for his extrapolation?
  9        A.   Is what one?
 10        Q.   You said it's incumbent upon a

 11   researcher to examine the consequences of the
 12   selection of their data.

 13        A.   Yes.    I mean it seems to me that there's
 14   lots of different dimensions along which Medicaid
 15   systems across states differ that it would have

 16   been feasible for Dr. Duggan to, taking these
 17   differences between states into account, have

 18   formed the sampling procedure that would have

 19   given readers of his report more of an assurance
 20   that the sample of states that he was using was in

 21   fact representative of the states to which he was

 22   extrapolating.




                                                             394


  1        Q.   What would be the standard that would

  2   identify whether or not Professor Duggan has --

  3        A.   Well, again, the standards of sampling
  4   theory is in any introductory statistics book.
  5        Q.   Right.    But this isn't a random sample.

  6             So what would be the standards be for

  7   selecting a sample of this type?
  8        A.   What would the standard be for selecting
  9   a sample, of the type that he used?
 10        Q.   Yes.

 11        A.   Okay.    There's no assurance that it's a
 12   representative sample.    So there's no assurance

 13   that the states that he is extrapolating from are

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                     Depo-Hughes-James-05-06-09
 14   representative of the states he is extrapolating
 15   to.
 16         Q.   So am I stating it right, if you're

 17   going to approach it in the manner that was
 18   utilized by Professor Duggan, there needs to be an

 19   assurance that the selected states are
 20   representative of the extrapolated states?
 21         A.   "Evidence" is probably a better word

 22   than "assurance."



                                                             395



  1         Q.   Does it again need to be evidence that
  2   it was reasonable to conclude that these base

  3   states were representative of the extrapolated

  4   states?

  5         A.   Well, there is, again, statistical tests

  6   that I assume could be applied, which Dr. Duggan
  7   does none of.

  8         Q.   But you haven't identified any of those

  9   in your report; have you?
 10         A.   No.   I have not.
 11         Q.   And you haven't actually performed any

 12   such test?

 13         A.   No.   It was not my assignment to do so.
 14         Q.   Are there any other principles or
 15   methods that you're of the opinion Professor
 16   Duggan should have followed in his selection of

 17   the nine states?
 18         A.   Well, again, aside from what I've said

 19   repeatedly, basic sampling theory, that's the

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                       Depo-Hughes-James-05-06-09
 20   biggest one.
 21        Q.   You used the words nonrandom, ad hoc,
 22   and nonrepresentative.




                                                             396


  1             Is there any other standard that you

  2   would apply differently to any of those issues?

  3             MR. BERLIN:    Objection, form.
  4             THE WITNESS:    I'm sorry.   I'm not --
  5   BY MR. LAVINE:

  6        Q.   The three words that you use in your

  7   report in describing or criticizing Professor
  8   Duggan's selection of the nine states is that they

  9   were nonrandom, ad hoc, and he hasn't demonstrated

 10   that they're representative.

 11        A.   That's correct.    That's what I said in

 12   my report.
 13        Q.   So are there any additional principles

 14   or methods that would be used to evaluate those

 15   issues?
 16        A.   Applying sampling theory and taking a
 17   representative sample from the population of

 18   states would satisfy all three of those

 19   criticisms.
 20        Q.   Anything else?
 21        A.   On what?    I'm sorry.
 22        Q.   To evaluate the selection of the nine




                                                             397


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                     Depo-Hughes-James-05-06-09
  1   states which Professor Duggan used as the basis

  2   for his extrapolation.
  3        A.   Again, as I sit here today, that sounds
  4   like we've covered everything on that.

  5        Q.   Another criticism you articulate in your
  6   report is that there are mechanical exercises
  7   performed by Professor Duggan.

  8             Can you briefly explain what you mean by

  9   that criticism?
 10        A.   Right.   It's a mechanical exercise in
 11   that he has a method which he uses to calculate

 12   his but-for AWP, he then takes the reimbursement

 13   that was actually paid and the reimbursement that
 14   would be paid using the state's reimbursement

 15   formula using the but-for AWP and he calculates a

 16   difference.

 17             That is mechanical in the sense that he

 18   does that calculation over and over and over again
 19   without any attention being paid to changes that

 20   might occur in the states, without any attention

 21   being paid to whether or not the actual
 22   reimbursement price may have in fact been a valid




                                                             398


  1   and not a fraudulent price.

  2             For example, my criticism about his
  3   treatment of MAC prices where MAC prices are

  4   negotiated between providers and state Medicaid
  5   agencies in my opinion represent the state's best,
  6   the state's and the provider's best estimate, best
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  7   attempt at finding a mutually agreeable price.

  8             So reimbursing at such a MAC price he
  9   considers as being fraudulent.   And I object to
 10   that and say that a price that was arrived at

 11   through a considered state agency policy should
 12   not in a blanket sense simply be considered a
 13   fraudulent price.

 14             But he doesn't take any of the access

 15   issues, he doesn't take any of the viability
 16   issues, he doesn't take any of the state policy
 17   issues that are raised throughout the deposition

 18   testimony that he did not read, takes none of that

 19   into account and simply performs this mechanical
 20   here's the reimbursement that was paid, here's the

 21   but-for reimbursement based on my but-for AWP,

 22   here's the difference, absolutely everything else




                                                             399


  1   stays the same.

  2        Q.   But based on the methodology established

  3   by Professor Duggan, you're not of the opinion
  4   that he applied his methodology incorrectly;

  5   right?
  6        A.   He applied an incorrect methodology
  7   correctly as he believes would I guess be the way

  8   to characterize my opinion.
  9        Q.   Right.

 10             But under the methodology as he set it
 11   up, if the price based upon a hundred twenty-five
 12   percent of the average was lower than the MAC, it
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                       Depo-Hughes-James-05-06-09
 13   was appropriate to calculate it on the basis of

 14   that lower hundred twenty-five percent of the
 15   average price rather than the MAC?
 16        A.   Well, yes.    I mean he did what he said

 17   he did.
 18             But I'm objecting to the treatment of a
 19   MAC price as being fraudulent as opposed to being

 20   a price negotiated between providers and the

 21   states that takes into account all of these other
 22   things that I'm objecting that Dr. Duggan doesn't



                                                             400



  1   take into account.

  2             The states and the providers arrive at
  3   MACs as their best estimate of the minimum amount

  4   that providers can accept and still be willing to

  5   participate in the Medicaid program.

  6             So it addresses the, these negotiated
  7   MAC prices address these issues of cost

  8   containment and access to the best of the states'

  9   abilities.
 10        Q.   Would it be fair to say that that's

 11   another example of a violation of the standard of
 12   needing to base your methodology on a realistic
 13   but-for world?

 14        A.   Yes.    I think that would be a fair way
 15   to characterize it, yes.

 16        Q.   Does that also -- I'm sorry.    Let me
 17   start over.
 18             Are there any other standards that you
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                       Depo-Hughes-James-05-06-09
 19   would say Professor Duggan has failed to meet in

 20   connection with his, the criticism you say that
 21   his calculations were mechanical?
 22        A.   Yes.    I think sitting here today, to the




                                                             401



  1   best of my recollection, we've covered them all.
  2        Q.   Now, with respect to the selection of

  3   the arrays that were used for the basis of an

  4   extrapolation regarding, we talked about some of
  5   the other ones earlier that haven't shown the

  6   correct NDCs were in the arrays, haven't shown

  7   that Abbott's price is the only one who would have

  8   changed, et cetera.    But you also talked about how
  9   there were too few arrays and they were not

 10   randomly selected.

 11             So what is the economic principle that

 12   you say Professor Duggan failed to meet in his
 13   selection or reliance upon those arrays?

 14        A.   In his reliance upon those arrays, as I

 15   believe I say in my report, he's using what
 16   economists refer to as a sample of convenience,

 17   using the data that are there as being
 18   representative of the population without any
 19   investigation or any assurance that such sample is

 20   indeed representative of the, in this case,
 21   population of arrays.

 22        Q.   So the rule that he's violated is that




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                                                             402


  1   if you're going to use a sample of convenience,

  2   you need to demonstrate that it's reasonable to do
  3   so?

  4         A.   Well, if you're claiming that your
  5   sample of convenience is representative, which is
  6   something that somebody might claim, you need to

  7   provide evidence that it is indeed representative.
  8              If you are stuck with the sample that

  9   you're stuck with, then it also seems to me it's

 10   incumbent upon a researcher to examine the
 11   consequences for their analysis from the fact that

 12   their sample is not representative of the

 13   population.

 14         Q.   Are there any other principles or
 15   methods that you say Professor Duggan should have

 16   applied in connection with his selection of the

 17   arrays, the sample of arrays?

 18         A.   Well, I mean as I understand it, Dr.
 19   Duggan did none of the selecting.   As I understand

 20   it, Dr. Duggan was provided with a set of arrays

 21   by the government.
 22              So I think it mischaracterizes as I




                                                             403


  1   understand what Dr. Duggan is saying because I

  2   don't believe he made any claim that he selected
  3   the arrays from -- let me put it differently.

  4              If Dr. Duggan had twenty more arrays in

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  5   his possession, I assume he would have used them.
  6   I'm not saying that he did have more.   I'm saying
  7   that it's my understanding that he used only those

  8   that were given to him by the government.
  9             So it's not a matter of Dr. Duggan

 10   actually performing the selection but rather
 11   uncritically using a sample of convenience without
 12   any checks as to the representativeness of the

 13   arrays that he had been provided.
 14        Q.   What standard would you apply to

 15   determine that the arrays that were relied upon in

 16   Dr. Duggan's analysis were too few in number?
 17        A.   There are, in statistics there are

 18   formulas for figuring out, I'm trying to remember,

 19   it's been a long time, for figuring out minimum,

 20   something like minimum required sample size,
 21   something like that.

 22             I'm sure I don't have the term right,




                                                             404


  1   but there are formulas for figuring that out.
  2        Q.   But you haven't done that analysis in

  3   this case?

  4        A.   No.   I have not.
  5        Q.   Are there any other economic theories or
  6   techniques that Dr. Duggan failed to meet in
  7   connection with his extrapolation for Medicare

  8   damages based on the arrays?
  9        A.   Well, I mean this, and let's just keep

 10   something in mind, is that in his rebuttal report

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 11   he talks about other studies that provide
 12   extrapolations and so on and so forth.
 13             I have not had, I have not reviewed

 14   those studies, but I would imagine that those
 15   studies provided some measure of statistical

 16   accuracy for their extrapolations, as that would
 17   be a standard practice.
 18             The overarching criticism is that we

 19   have no basis for concluding that Dr. Duggan's
 20   estimates are too high, too low, or just right

 21   because he's simply used the sample that was

 22   provided to him, he's gone ahead and extrapolated



                                                             405



  1   according to his methodology, he comes up with a

  2   number and we have no way of knowing whether that

  3   number is terribly accurate, wildly inaccurate,
  4   whether that number if he was provided with

  5   twenty-five different arrays and performed the

  6   same analysis would he get a number that was
  7   similar to the number that he got or not.
  8             Nothing that he does do we have any

  9   measure as would be standard practice in any

 10   academic economics paper, do we have any measure
 11   of accuracy of his estimates of his extrapolations
 12   or difference calculations.
 13        Q.   Okay.   You received Dr. Duggan's actual

 14   report, supplemental report, and rebuttal report;
 15   right?

 16        A.   Yes.

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 17        Q.     But you weren't provided with any of the
 18   underlying materials related to those reports;
 19   were you?

 20        A.     I don't know, no.
 21        Q.     So your opinion isn't based upon any

 22   review of any of the materials that were used to



                                                             406



  1   support the work done by Professor Duggan?
  2        A.     Well, no.   Your question was what

  3   standard did he violate or were there other

  4   standards that he violated.     And that led me to
  5   describe the notion that it would be standard

  6   practice in such calculations to provide some

  7   statistical measures of accuracy as a way of

  8   determining whether or not such extrapolations,

  9   such calculations, met statistical standards of
 10   accuracy.    And he did not do that.

 11               But I didn't, but no, I didn't receive

 12   any of the underlying data from his rebuttal.
 13        Q.     So just to clarify.   Your opinion of
 14   course isn't based upon any review of those

 15   underlying materials because you weren't provided

 16   with those?
 17        A.     Correct.
 18               My review is based on the standard that
 19   you asked me to articulate, which I applied to Dr.

 20   Duggan's calculations.
 21        Q.     Are you of the opinion that there can

 22   only be damages in this case if the original

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                                                             407


  1   reimbursement was based upon an AWP figure?

  2        A.   Since it's AWP that was supposed to have
  3   been manipulated, it strikes me in particular that
  4   if a reimbursement were based on a usual and

  5   customary charge, then that reimbursement is not

  6   affected by such manipulation.
  7        Q.   Would that be on the basis of what you
  8   would describe as a failure to treat a realistic

  9   but-for world?

 10        A.   Yes.    I think that would be accurate,
 11   that Dr. Duggan doesn't take into account any of

 12   the institutional factors, or doesn't take into

 13   account all of the institutional factors that come

 14   into play in deciding whether reimbursements were

 15   in fact wrongful or not.
 16        Q.   I just wanted to clarify one point in

 17   your report, Paragraph 18, actually Footnote 16.

 18             You state that Dr. Duggan calculates the
 19   total Medicare/Medicaid spending through Abbott's
 20   home infusion pharmacies totaled only $380,499

 21   over the period 1992 to 1999; right?

 22        A.   Yes.    That's what Footnote 16 says.



                                                             408



  1        Q.   Let me ask you to take a look at the
  2   supplemental report.
  3             MR. LAVINE:    Can we mark that.
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  4                    (Deposition Exhibit Hughes 009 was

  5   marked for identification.)
  6   BY MR. LAVINE:
  7        Q.   You cite to Page 3 of Professor Duggan's

  8   report.
  9        A.   Yes.
 10        Q.   Now, am I right that the total Medicaid

 11   and Medicare payments referred to on Page 3 of

 12   Professor Duggan's supplemental report are that
 13   payments for Medicaid were $23.01 million for all
 14   clients and $5.342 million for customers of

 15   Abbott's pharmacy, and that payments for Medicare

 16   were $22.653 million with Abbott pharmacy clients
 17   accounting for $5.675 million of that amount?

 18        A.   I'm terribly sorry.    Where are you?

 19        Q.   The last paragraph of Page 3 on

 20   Professor Duggan's supplemental report.

 21        A.   I'm sorry.    Could you lift up your thing
 22   and just point to where you're at?




                                                             409


  1        Q.   (Indicating.)

  2        A.   Okay, fine.    Thank you.
  3        Q.   Because the numbers in your footnote are
  4   $380,000 for Abbott's infusion pharmacies, and I

  5   see here $5.342 million for Medicaid and another
  6   $5.675 million for Medicare.

  7             So am I correct that the reference in
  8   your footnote is incorrect?
  9        A.   No.    The reference since, as I see it
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 10   Dr. Duggan did not number these pages, to me Page

 11   3 is the last text page.
 12        Q.   Oh, okay.    I'm sorry.   Then let's switch
 13   to that one.

 14             So the numbers you're relying on then
 15   were the ones on the final page with the
 16   signature?

 17        A.   Yes.

 18        Q.   Okay.
 19        A.   Where the paragraph that starts "Tables
 20   D and E provide similar information while

 21   restricting attention to line items for those

 22   pharmaceutical products included in the United




                                                              410


  1   States Complaint."

  2             So the paragraph that you're referring

  3   to has at least one line item for the products
  4   listed in the United States Complaint.     And Tables

  5   D and E restricts attention to just the line

  6   items, as I understand it, for those products
  7   included in the complaint against Abbott.

  8             There it says for Medicaid, clients of
  9   Abbott's pharmacy accounted for $110,860 of that
 10   spending out of a total of $419,215.

 11             Then the next sentence says total amount
 12   paid by Medicare across all customers was $2.497

 13   million, clients of Abbott's pharmacy accounted
 14   for $269,639 of that spending.
 15             So the number that appears in Footnote
                              Page 92
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                         Depo-Hughes-James-05-06-09
 16   16 of my report, $380,499, is the sum of $269,639

 17   and $110,860.
 18        Q.     So your footnote should have clarified
 19   that it was referring only to the products in the

 20   complaint?
 21        A.     Yes.    It would be clearer if that
 22   sentence stated that Dr. Duggan calculates that




                                                              411



  1   total Medicare and Medicaid spending on those
  2   products included in the government's complaint

  3   against Abbott through Abbott's home infusion

  4   pharmacies totaled only $380,499 over the period

  5   1992 to 1999.
  6        Q.     So you're not disputing the accuracy of

  7   the numbers on I guess it's Page 2, not Page 3?

  8        A.     No.    I'm not disputing the accuracy of

  9   the numbers.      I'm just, I was citing the numbers
 10   that referred to the items that are at issue in

 11   this matter.

 12                      (Deposition Exhibit Hughes 010 was
 13   marked for identification.)

 14   BY MR. LAVINE:
 15        Q.     We have just marked as Exhibit 10 a
 16   document of several pages.      On the first page it

 17   says Comparison of Actual Medicare Claim vs. MMA
 18   2007 CIGNA Example.      (Document tendered to the

 19   witness.)
 20               Do you recognize these materials?
 21        A.     Yes.    They look like they are exhibits
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 22   to my report.




                                                             412



  1        Q.   Can you page through to see if it can
  2   refresh your recollection by showing you the
  3   additional materials attached after the first few

  4   pages.
  5        A.   Right.    There's computer code.

  6        Q.   But those materials weren't part of the

  7   actual exhibit; right?
  8        A.   Those were not part of the exhibit, no.

  9        Q.   Are those the backup materials?

 10        A.   Presumably so, yes.

 11        Q.   Did you write the computer code?
 12        A.   I did not.

 13        Q.   That's something you asked the Huron

 14   Group to do for you?

 15        A.   That's right.
 16        Q.   Chris Rohn?

 17        A.   That's who I would have asked.     I don't

 18   know who actually did it.    But that's who I would
 19   have asked, yes.

 20        Q.   And I just want to ask about the, what
 21   was the basis for the selection of your examples
 22   in this document?




                                                             413



  1        A.   That we wanted some sodium chloride

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  2   examples and I wanted some dextrose examples.
  3        Q.     But in the computer code it looks like
  4   you just asked for any claim where the line count

  5   is 2; is that right?
  6        A.     This is the first I've seen the computer

  7   code.
  8        Q.     What was it you asked Mr. Rohn to do?
  9        A.     I wanted some examples comparing the

 10   actual Medicare claims versus the payment from the
 11   data from the payment that would have been made

 12   under the MMA after that had been enacted.

 13        Q.     The example you have regarding dextrose
 14   --

 15        A.     Yes.

 16        Q.     -- what was the administration code that

 17   you used in connection with that example?
 18        A.     Well, the J-Code is J7060.

 19        Q.     Right.   What's the CPT code you were

 20   using in that example?

 21        A.     Again, I did not do it.   So I could not
 22   tell you.    I didn't do the programming.



                                                             414



  1        Q.     But you did use this as an exhibit to
  2   your report?
  3        A.     Yes.
  4        Q.     But your testimony is you don't know

  5   what the J-Code was, I'm sorry, the CPT code you
  6   used, which one was used as the basis for this

  7   example?

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  8        A.   That's my testimony.
  9             I asked Huron to provide me with some
 10   examples comparing actual Medicare claims with

 11   actual Medicare payments before the MMA and then
 12   payments under the MMA for the same product.

 13        Q.   If the CPT code were used for the
 14   administration of chemotherapy and that was
 15   combined only with the reimbursement for a bag of

 16   dextrose, that wouldn't be a very realistic
 17   example of reimbursement under the MMA; would it?

 18        A.   Why not?

 19        Q.   Well, wouldn't the, if you were billing
 20   for administration of chemotherapy, wouldn't you

 21   actually be administering some chemotherapy?

 22        A.   Right.   But you would be, presumably the




                                                             415


  1   chemotherapy is being mixed and blended into the

  2   bag of dextrose.

  3             So the reimbursement is for that, the
  4   administration fee is for that mixing and
  5   administration of the bag of dextrose with the

  6   chemotherapy product in it.

  7             If CPT code is for administration of
  8   chemotherapy, as long as it's the same in the 2001
  9   example and the 2007 example, I don't know that
 10   we've done any violence to the example.

 11        Q.   Well, if there were additional money
 12   being paid for additional products in connection

 13   with the same CPT code, your comparison of the

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                     Depo-Hughes-James-05-06-09
 14   totals is inaccurate; right?
 15        A.   No, because the only product price that
 16   we're including is the dextrose.

 17        Q.   Right.   But you can't bill for the
 18   chemotherapy code if you're just administering

 19   dextrose; can you?
 20        A.   But the administration fee is to take,
 21   as I understand it, is to take into account the

 22   fact that the chemotherapy agent has to be mixed



                                                             416



  1   into the dextrose.    And as long as the CPT code
  2   that we took from 2001 is the same as the CPT code

  3   that we took in 2007, I'm not seeing an

  4   inaccuracy.

  5        Q.   And it doesn't matter that the

  6   chemotherapy that might have been associated with
  7   the chemotherapy code would have changed the

  8   dollar totals here?

  9             MR. BERLIN:    Objection, form.
 10             THE WITNESS:    Say that again, please.
 11   BY MR. LAVINE:

 12        Q.   Well, what if the chemotherapy product

 13   cost an additional $200, then your totals here
 14   would be very different; right?
 15        A.   Well, and I don't assume that that
 16   happened, but if the price of the chemo agent were

 17   $200 in 2001 and again in 2007, then those totals
 18   would be each $200 higher.    But there would still

 19   be a 77 or so dollar difference between the two.

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 20          Q.   And the percentage difference between
 21   those two would be quite different; right?
 22          A.   Percentage difference between the two




                                                             417


  1   would be different.    But that's not the point.

  2               I mean the point is is that under the

  3   MMA, well, before the MMA when you were
  4   administering chemo you had to mix it in with
  5   dextrose.    You were paid $10.26 for the product

  6   and you were paid $60.54 for the administration of

  7   the dextrose chemotherapy mixture.
  8               Then under the MMA the ingredient cost

  9   dropped from $10 to $1.36, and the administration

 10   fee which under the MMA is done from a survey of

 11   the actual cost of preparing and administering

 12   these products, the administration fee rose by
 13   more than a factor of two to take into account how

 14   expensive it is to administer these products

 15   because you're not just providing somebody with a
 16   bag of dextrose, but you're providing them with a
 17   bag of dextrose and a chemotherapy agent.

 18               So that under this J-Code the government

 19   would end up in fact reimbursing more than twice
 20   as much under the MMA than they did before the
 21   MMA.
 22          Q.   So you think this is a fair example of




                                                             418


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                     Depo-Hughes-James-05-06-09
   1   the reimbursement before and after the MMA?

   2        A.   It illustrates the realization by the
   3   authors of the MMA that if the government were to
   4   reduce ingredient cost to something closer to the

   5   actual selling price, that it would be necessary
   6   to increase the administration fee.   And this is
   7   an illustration of by how much the administration

   8   fee had to go up in order to compensate and to

   9   compensate providers and to give them the
  10   incentive to continue to participate in the
  11   Medicare program.

  12        Q.   And then part of what you said a few

  13   minutes ago is that each number would go up by
  14   $200 in my example; right?

  15        A.   Correct.

  16        Q.   But that actually is not the case

  17   because the reimbursement in 2001 may have gone up

  18   by $200 but the reimbursement in 2007 under the
  19   MMA may have gone up by a much, much lower number

  20   just as you have in the example here; right?

  21        A.   Yes, correct.
  22        Q.   So without knowing what chemotherapy was




                                                             419


   1   administered in your chemotherapy example, you

   2   can't draw any conclusions from what we're looking
   3   at here on this exhibit?

   4        A.   I disagree.
   5        Q.   So it doesn't matter that you're giving
   6   an example of reimbursement under the chemotherapy
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                        Depo-Hughes-James-05-06-09
   7   code but you don't take into account the

   8   difference in the reimbursement for the actual
   9   chemotherapy?
  10        A.   This is the reimbursement for this J-

  11   Code, and that's how these reimbursements are
  12   done, right.
  13        Q.   So is it your testimony that you could

  14   bill a CPT code for chemotherapy administration

  15   solely in connection with administering dextrose?
  16             MR. BERLIN:    Objection, form.
  17             THE WITNESS:    That's not at all what I'm

  18   saying.

  19             I'm saying this is, here are J-Codes,
  20   this is how this is being billed, and this is an

  21   example of how the payment under this J-Code

  22   differed between the two, between the before and




                                                              420


   1   after the enactment of the MMA.

   2   BY MR. LAVINE:

   3        Q.   Did you do any analysis to compare the
   4   MMA reimbursement to the reimbursement that would

   5   have occurred using the numbers calculated by Dr.
   6   Duggan in his report?
   7        A.   Quite honestly, I had meant to, but that

   8   did not materialize, that did not materialize from
   9   Huron.

  10             To finish on this example which you
  11   claim is misleading, and I just want to point out,
  12   this is part of the point of my entire analysis is
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                     Depo-Hughes-James-05-06-09
  13   that when you go and change reimbursements, lots

  14   of things change.
  15             So we're arguing as to whether the
  16   reimbursement under the MMA went up by over a

  17   hundred percent or went up by only twenty percent.
  18   But whatever we end up agreeing or disagreeing
  19   about that, the fact that the ingredient cost

  20   dropped from $10.26 to $1.36 caused other changes

  21   in the reimbursement system to take place, here by
  22   an act of Congress, but for states by changes in



                                                             421



   1   state policy, if necessary.

   2             That's entirely consistent with my
   3   point, that this is what Dr. Duggan refuses to do

   4   is to take into account that when you cut the

   5   price to $10 to $1, you can't pretend that

   6   everybody is going to participate without
   7   alteration in the administration fees.

   8        Q.   But because you didn't perform your own

   9   analysis, you can't say sitting here today with
  10   any reasonable degree of certainty that it's more

  11   likely than not that the numbers that Professor
  12   Duggan came up with are wrong?
  13             MR. BERLIN:    Objection, form.

  14             THE WITNESS:    Yes, I can, absolutely.
  15   Because under the MMA they did not lower

  16   ingredient cost to average selling price and leave
  17   dispensing fees, or in this case administration
  18   fees, unchanged.
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                       Depo-Hughes-James-05-06-09
  19             It's right in the law the realization

  20   that the administration fees are going to be
  21   inadequate and a directive to conduct surveys on
  22   what it actually cost to administer these drugs




                                                             422



   1   and to adjust the administration fees accordingly.
   2             That's part of the law.   That's what

   3   Congress after it got done looking at all of the

   4   problems with the previous Medicaid system, that's
   5   the conclusion that the Congress came to.    And

   6   came to after weighing all of the issues of cost

   7   containment as well as access.

   8             We've been sitting here arguing, you've
   9   been arguing with me that I haven't taken into

  10   account everything that has changed.

  11             Well, then we're in great agreement on

  12   Dr. Duggan's report because that's my objection to
  13   Dr. Duggan's report.   He doesn't take into account

  14   everything that would have changed.

  15        Q.   Do you agree that some of the changes
  16   that would have been implemented in a but-for

  17   world that complies with your standard would have
  18   increased the dollar value of the damages in this
  19   case?

  20        A.   No.   I don't reach that conclusion.
  21        Q.   Every single change that would have been

  22   made in your version of the but-for world would




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                                                             423


   1   have resulted in a lower damage figure?

   2        A.   Well, if, for example, a reduction of
   3   ingredient cost by ninety percent in a state would

   4   have led to an "X" percent increase in dispensing
   5   fees in order to keep the Medicaid system viable,
   6   then yes, I think the difference would have been

   7   smaller, not larger.
   8        Q.   Are there any factors at all that would

   9   have been part of your but-for world that would

  10   have caused the dollar value of damages to move
  11   upward?

  12        A.   Sitting here today, I don't know that, I

  13   can't say a hundred percent that there's not, but

  14   the main ones, the ones that I have identified in
  15   my report, all point to having lower damages, not

  16   higher damages.

  17             I know that in his rebuttal report Dr.

  18   Duggan makes claim of some things that would be,
  19   some changes that would be in my but-for world

  20   that would make damages higher, but that's fine.

  21   That's not the issue.
  22             The issue for me is that in constructing




                                                             424


   1   his tremendously unrealistic but-for world, Dr.

   2   Duggan has come up with a set of difference
   3   calculations that are unreliable and inaccurate.

   4             They could be higher, they could be

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                        Depo-Hughes-James-05-06-09
   5   lower.    That's not what I'm here about. What I'm
   6   here about is that the ones he's come up with we
   7   have every reason to believe are not accurate.

   8        Q.    But when I asked you a few minutes ago
   9   about can you say sitting here today with a

  10   reasonable degree of certainty that it's more or
  11   less likely, more likely than not that Professor
  12   Duggan's damage figure is wrong, you said that you

  13   could reach that conclusion.
  14              So my follow-up question is since you

  15   didn't actually do those numbers, is that just

  16   based upon your calculation in your head?
  17        A.    No.   I've just been through this.

  18              If administration fees go up, as they

  19   did under the MMA, as they did under the DRA, as

  20   they did when the Congress of the United States
  21   looks at these systems, weighs issues of access,

  22   weighs issues of cost containment, and comes to a




                                                             425


   1   conclusion, they've come to a conclusion that when
   2   you lower your ingredient costs down to a level

   3   resembling average selling price, that this cannot

   4   be done without an increase in dispensing or
   5   administration fees.
   6              So taking that one by itself into
   7   account, which is again one of my principal

   8   criticisms of Dr. Duggan's report, I do conclude
   9   that I think his damage calculations would in fact

  10   be smaller if, for example, his but-for world for

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                      Depo-Hughes-James-05-06-09
  11   the MMA was, suppose the MMA had been implemented
  12   fifteen years sooner, suppose the DRA had been
  13   implemented fifteen years sooner, then what would

  14   the difference have been.
  15              For some transactions it would be the

  16   reimbursement might be higher, for some
  17   transactions the reimbursement might be lower.     I
  18   don't know.

  19              But since the decrease in ingredient
  20   costs as we see in the actual world, MMA and DRA

  21   are more than offset by increase in administration

  22   and dispensing fees, it is my conclusion that Dr.



                                                              426



   1   Duggan's damage calculation would in fact be

   2   smaller.

   3        Q.    And that's not a conclusion that's based
   4   upon any actual calculation.   It's based upon your

   5   estimate, subjective estimate, based upon just the

   6   general things that you've described in your
   7   report?
   8        A.    It's based upon my conclusion that Dr.

   9   Duggan's but-for world has no validity, that in my

  10   opinion based not on my just sitting here making
  11   stuff up, as you're trying to imply, but rather my
  12   review of the state deposition testimony, by my
  13   review of the federal deposition testimony, by my

  14   review of the dozens of reports that have come out
  15   over the past forty years it is my conclusion that

  16   Dr. Duggan's but-for world is wrong.   And it's

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                      Depo-Hughes-James-05-06-09
  17   wrong in a way that leads him to greatly
  18   overestimate his damage calculation.
  19        Q.   I understand when you say that you think

  20   Professor Duggan should have done additional work
  21   to support his damages model.

  22             But now you're articulating a conclusion



                                                             427



   1   that had you gone through and calculated competing
   2   damages, you're able to tell without actually

   3   doing the analysis that your number would have

   4   been less than Professor Duggan's?
   5             MR. BERLIN:   Objection, form.

   6   BY MR. LAVINE:

   7        Q.   Is that your testimony?

   8        A.   It's a simple calculation.

   9             If I lower my ingredient cost to Dr.
  10   Duggan's ingredient cost and I increase dispensing

  11   fees by anything, I am going to get a smaller

  12   damage number than he gets.
  13             You don't have to do a full-blown
  14   analysis to come to the conclusion that had he

  15   instituted a but-for world that in any way had

  16   resembled what the Congress of the United States
  17   actually enacted when they reformed these
  18   programs, you would come to the same conclusion
  19   that I would that the damage calculation would in

  20   fact be smaller.
  21             It's not a matter of calculation.   It's

  22   a matter of applying institutional knowledge and

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                                                             428


   1   basic micro-economic theory.

   2        Q.    And you think an estimate based upon
   3   your review of the materials is a sufficient basis
   4   for you to express that opinion that the numbers

   5   would come out less?

   6        A.    It's, again, my opinion from the start
   7   has been Dr. Duggan's but-for world is not
   8   realistic.   It's not realistic in a number of

   9   different ways, which I have articulated over the

  10   past two days at great length, and I don't want to
  11   take up everybody's time.   We only have one minute

  12   left.

  13              But that this is a conclusion that's not

  14   just pulled out of the air, but rather it's a

  15   conclusion that's based on a review of the
  16   evidence in the case that Dr. Duggan has not done,

  17   and it's based on looking at the systems that were

  18   ultimately imposed that would come up with very,
  19   very different damage calculations than those that
  20   were conducted by Dr. Duggan.

  21              I was not asked to perform an

  22   alternative damage calculation, and I have not



                                                             429



   1   done so.   But I was asked to discuss whether Dr.
   2   Duggan's calculations and characterization of the
   3   but-for world would lead him to accurate
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                        Depo-Hughes-James-05-06-09
   4   estimates, and it was my conclusion that it did

   5   not.
   6          Q.   What is the methodology that you're
   7   using to support your conclusion in that regard?

   8          A.   Again, I reviewed the deposition
   9   testimony, I reviewed the reports, I reviewed how
  10   the federal government changed the Medicare and

  11   the Medicaid systems.

  12               I found in every instance that how these
  13   things, how the state Medicaid agencies felt about
  14   the issue of ingredient cost versus dispensing

  15   fees, how the Myers & Stauffers report felt about

  16   the relationship between dispensing fees and
  17   ingredient costs and how Congress of the United

  18   States and the MMA and the DRA felt about the

  19   relationship between ingredient cost reductions

  20   and dispensing fees.

  21               Every single one of them was at odds
  22   with the but-for world put forth by Dr. Duggan,




                                                              430


   1   and that's the methodology that I used to conclude

   2   that his but-for world lacks realism.
   3          Q.   And for all those reasons without having
   4   to actually do any calculations, you're able to

   5   reach that conclusion; right?
   6          A.   I was not asked to do any calculations,

   7   and I did not.
   8               MR. LAVINE:   We better take a break.
   9               THE VIDEOGRAPHER: Going off the record
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                       Depo-Hughes-James-05-06-09
  10   at 11:59 a.m.

  11                   (A lunch recess was taken and said
  12   deposition continued as follows:)
  13

  14
  15
  16

  17

  18
  19
  20

  21

  22




                                                             431


   1          A F T E R N O O N      S E S S I O N

   2

   3                   JAMES HUGHES,
   4   having been previously duly sworn, was examined

   5   and testified further as follows:

   6
   7             THE VIDEOGRAPHER:     Beginning of

   8   Videotape No. 3.   We're back on the record at
   9   12:56 p.m.
  10

  11                   EXAMINATION
  12   BY MR. BREEN:

  13        Q.   Good afternoon, Dr. Hughes.
  14        A.   Good afternoon.
  15        Q.   We met for the first time yesterday;
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                         Depo-Hughes-James-05-06-09
  16   correct?

  17        A.    That's correct.
  18        Q.    I'm Jim Breen.    I represent the relator
  19   in this case, Ven-a-Care of the Florida Keys.

  20              Do you know what Ven-a-Care is?
  21        A.    Yes.    It's basically a, my understanding
  22   it was a home infusion provider.




                                                               432



   1        Q.    Where did you gather that understanding
   2   from?

   3        A.    The complaint would be my guess.

   4        Q.    Had you ever heard of them before

   5   reading the complaint?
   6        A.    No.

   7        Q.    Had you ever heard of the False Claims

   8   Act before reading the Complaint?

   9        A.    I had heard of the False Claims Act.
  10        Q.    In what context?

  11        A.    Newspaper article or something.     I mean

  12   literally just heard of it, not have any specific
  13   knowledge of it.

  14        Q.    What is your understanding of the False
  15   Claims Act?
  16        A.    I don't have a legal understanding of

  17   it, but that it is illegal to submit false or
  18   fraudulent claims for payment to the U.S.

  19   government.
  20        Q.    And did you gather that understanding
  21   from the newspaper article you read?
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  22        A.   I probably gathered it in passing from




                                                             433



   1   the complaint.
   2        Q.   How are damages calculated under the
   3   False Claims Act?

   4        A.   I am not familiar with that, with the
   5   legal standard.

   6        Q.   Do you know this is a false claims case?

   7        A.   Yes.
   8        Q.   So you're not familiar with the legal

   9   standard for calculating damages in the case you

  10   are an expert in?

  11        A.   Well, I understand there's damages and
  12   then there's penalties --

  13        Q.   Is that true?

  14        A.   Pardon me?

  15        Q.   Is that true?
  16        A.   I'm sorry.    Is what true, sir?

  17        Q.   You are not familiar with the legal

  18   standard for calculating damages in a case you're
  19   an expert in?

  20        A.   I'm not a legal expert, no, sir.
  21        Q.   Are you familiar with the standard for
  22   calculating damages in this case?




                                                             434



   1        A.   Not specifically, no.

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   2        Q.   How about generally?
   3        A.   That you're entitled to recoup the
   4   overpayment from the false claim, and then there's

   5   also a penalty attached per claim.
   6        Q.   How's the overpayment calculated?

   7        A.   I'm not familiar with that.
   8        Q.   Did you review Dr. Duggan's materials in
   9   this case?

  10        A.   I did.
  11        Q.   All of them?

  12        A.   I reviewed his reports, yes.

  13        Q.   And did you see anything in there which
  14   indicated that Dr. Duggan was attempting in good

  15   faith to apply the measure of damages applicable

  16   in a false claims case?

  17             MR. BERLIN:    Objection, form.
  18             THE WITNESS:    I did not, to my

  19   recollection, I did not see the term "false

  20   claims" in his report.

  21   BY MR. BREEN:
  22        Q.   Now, when you say you looked at all his



                                                             435



   1   materials, describe for the court and the jury
   2   what that looked like.
   3        A.   When I say what I reviewed is I reviewed
   4   his report, I reviewed his supplemental report,

   5   and I reviewed his rebuttal report.
   6        Q.   Did somebody represent to you that's all

   7   that Dr. Duggan produced in connection with his

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   8   work in this case?
   9        A.    No, not at all.
  10              And I reviewed his exhibits and I

  11   reviewed some, but not all, of the documents that
  12   he produced.

  13              Mr. Lavine and I talked about some of
  14   the other documents that I had reviewed that he
  15   had produced.

  16        Q.    Can you describe for the court and the
  17   jury the code he wrote for his algorithm?

  18        A.    No.   That was not my task.

  19        Q.    I didn't ask if it was your task.   I
  20   asked if you could describe it.

  21        A.    And I answered that that was not my

  22   task.   So I cannot describe it for you.




                                                             436


   1              MR. BERLIN:   Actually, he answered "No,

   2   that was not my task."

   3   BY MR. BREEN:
   4        Q.    Whenever you respond by telling me that
   5   something was not your task, I don't know if the

   6   answer is no, I don't know, or you're just

   7   changing my question and saying it's not your
   8   task.
   9              So to the extent that I have to repeat
  10   myself when you say "No, that was not my task,"

  11   that's the reason I have to keep repeating myself.
  12   Okay?

  13        A.    Sure.

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                        Depo-Hughes-James-05-06-09
  14         Q.    Do you have any idea whatsoever what
  15   code Dr. Duggan wrote for the damages calculations
  16   in the case?

  17         A.    What do you mean by do I have any idea
  18   whatever?

  19         Q.    Any idea whatsoever.
  20         A.    He wrote a computer program.      That's
  21   what I know.

  22         Q.    What kind of program?



                                                                437



   1         A.    I don't know.
   2         Q.    What kind of application did he use?

   3         A.    The code I saw I thought may have looked

   4   like STATA, but I wasn't paying much attention to

   5   it.

   6         Q.    So you did see the code?
   7         A.    I saw pages from the code.    We saw pages

   8   from the code today.

   9         Q.    Okay.   And did you review his, when you
  10   looked at the code did you go through it in order
  11   to determine whether or not you could understand

  12   the algorithm he was applying in this case?

  13               MR. BERLIN:    Objection, form.
  14               THE WITNESS:    I did not review the code
  15   in that way, no.
  16   BY MR. BREEN:

  17         Q.    Did you write any econometric code in
  18   this case?

  19         A.    No.

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  20        Q.    Why not?
  21        A.    Because when I needed coding done, I
  22   directed Huron to do that for me.




                                                             438


   1        Q.    How many econometricians work for Huron?

   2        A.    I have no idea.

   3        Q.    So what was the qualification of the
   4   person that you were directing to write code?
   5        A.    I had not looked at their CV, but they

   6   had written code in other cases before and they

   7   were held out to me by Huron as capable of doing
   8   it, and I had no reason to believe otherwise.

   9        Q.    Please explain everything you did to

  10   test the work that Huron did in connection with

  11   writing code for you to ensure that their work was

  12   correct.
  13        A.    The exhibits that they produced for me,

  14   I proofread those to make sure that they were the

  15   work that I had asked them to do.
  16        Q.    But as far as their quantification goes,
  17   their formula, the mathematical functions they

  18   performed at your direction, explain the testing

  19   you did, statistically or otherwise, to ensure
  20   they were correct?
  21        A.    I did none of that.
  22        Q.    So as far as you know, it's wrong?




                                                             439


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                       Depo-Hughes-James-05-06-09
   1        A.   Huron holds itself out as a capable and

   2   expert consulting organization.
   3             I had no reason to believe otherwise.    I
   4   have worked with Huron before, and they have

   5   quality control procedures in place which, to the
   6   best of my knowledge, that they followed.
   7             So as is standard practice for just

   8   about any expert in my position, when you need

   9   support you certainly trust that the people who
  10   are supporting you are doing their jobs correctly.
  11        Q.   So is it fair to say that Dr. Duggan

  12   wrote his own code and did his own calculations

  13   and analyzed his own data, and you relied upon
  14   Huron and you have no idea whatsoever even what

  15   the academic qualifications are of the person that

  16   did it there --

  17             MR. BERLIN:    Objection, form.

  18   BY MR. BREEN:
  19        Q.   -- is that a fair statement?

  20             MR. BERLIN:    I'm sorry.   Objection,

  21   form.
  22             THE WITNESS:    As I understand, no.




                                                              440


   1             I understand that Dr. Duggan was

   2   supported also by a consulting firm, and it's my
   3   belief that that consulting firm did some of the

   4   data analysis and some of the programming for him.
   5   BY MR. BREEN:
   6        Q.   So it's your understanding that Stat
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                        Depo-Hughes-James-05-06-09
   7   Consulting wrote the code and the algorithms for

   8   Dr. Duggan.   Is that your testimony?
   9         A.   It's my understanding that they
  10   supported him in his work, which I had understood

  11   to be writing code.
  12              But I don't have specific knowledge
  13   whether they did or did not.

  14         Q.   Well, since you're here to criticize Dr.

  15   Duggan and criticize the analysis he conducted,
  16   the assumptions he made, and the factual basis for
  17   those assumptions, can't you give us any insight

  18   whatsoever into your knowledge of the work that he

  19   actually performed as opposed to relied upon
  20   somebody else?

  21              MR. BERLIN:    Objection, form.

  22              THE WITNESS:    He lays out in his report




                                                              441


   1   what he did, he lays out in the report how he did

   2   it, he lays out in the report what the calculation

   3   is.
   4              I don't need to go to computer code to

   5   understand that he took the actual reimbursement,
   6   he calculated a but-for reimbursement using his
   7   but-for AWP of a hundred twenty-five percent of

   8   average contract price, he subtracted the two,
   9   that was his difference for that particular claim.

  10              And then he aggregated that across, in
  11   the case of Medicaid, the nine states that he
  12   actually analyzed, and then extrapolated from
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                        Depo-Hughes-James-05-06-09
  13   there.

  14               I don't need to look at the computer
  15   code to figure out that that's in fact what he
  16   did.

  17               I trust that he did the computer
  18   calculations correctly.     It was not part of my
  19   assignment to check whether his computer

  20   calculations were in fact correct.

  21               As for the factual basis underlying his
  22   calculations, the factual basis won't be found in



                                                               442



   1   the computer code because the computer code is

   2   just the method he used to do his addition,
   3   subtraction, and extrapolation.

   4   BY MR. BREEN:

   5          Q.   Well, let me ask this question:     What

   6   Abbott-defined classes of trade did Professor
   7   Duggan utilize in calculating the average sales

   8   price that you just testified about or the average

   9   contract price?
  10          A.   I'm sorry.   Is there a question?

  11               MR. BREEN:   Would you please read the
  12   question back.
  13                    (The record was read back as

  14   requested.)
  15               THE WITNESS:   My recollection is he used

  16   the indirect contract sales to the retail sector.
  17   BY MR. BREEN:
  18          Q.   What retail sector?
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                       Depo-Hughes-James-05-06-09
  19        A.   To the retail class of trade.      Sorry.

  20        Q.   Is that the Abbott-defined class of
  21   trade, the retail class of trade?
  22        A.   That's my understanding.




                                                               443



   1             MR. BERLIN:    I'm sorry.   Objection,
   2   form.

   3   BY MR. BREEN:

   4        Q.   So your understanding is that Abbott
   5   defines a class of trade as the quote "retail

   6   class of trade," and that's the one that Dr.

   7   Duggan used in his algorithm?

   8             MR. BERLIN:    Objection, form.
   9             THE WITNESS:    I don't know sitting here.

  10   There are some fifteen or twenty or more classes

  11   of trade that are defined by Abbott.     I don't know

  12   what Abbott calls each and every class of trade.
  13             But Dr. Duggan represented in his report

  14   that he wasn't using hospitals, he wasn't using,

  15   but he was using pharmacies and the indirect sales
  16   to those pharmacies.

  17   BY MR. BREEN:
  18        Q.   How about mail order pharmacies, did he
  19   use mail order pharmacies?

  20        A.   No, not to my knowledge.
  21        Q.   You don't know?

  22        A.   Not to my knowledge, yes, I do not know.




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                                                             444


   1        Q.   When you say "not to my knowledge," do

   2   you mean I don't know or I don't think he did?
   3        A.   I said not to my knowledge, which means

   4   I don't know one way or the other.
   5        Q.   You don't know one way or the other.
   6             All right.    I think you mentioned

   7   Deficit Reduction Act of 2005 in response to Mr.
   8   Lavine's questions either today or yesterday.

   9             Do you recall that?

  10        A.   Yes, I do.
  11        Q.   And you talked about how in the DRA of

  12   2005 there was a new method of calculating Federal

  13   Upper Limits.

  14             Do you recall that?
  15        A.   Yes.

  16        Q.   What was that method?

  17        A.   The method is that the ingredient cost,

  18   Federal Upper Limit will be two hundred fifty
  19   percent of average manufacturer's price as defined

  20   in the statute, plus a dispensing fee.

  21        Q.   Average manufacturer's price.
  22             How do you calculate average




                                                             445


   1   manufacturer's price under DRA 2005?

   2        A.   It's in the statute.      I don't have it
   3   memorized.

   4        Q.   Do you have any idea whatsoever?

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   5        A.   Yeah. I've been across it.
   6             Again, it involves retail sales as
   7   opposed to others, as I recall.     But no, I don't

   8   have it memorized.
   9        Q.   Isn't that one of those alternative

  10   worlds that you thought Dr. Duggan should apply in
  11   this case, the one that would exist under DRA
  12   2005?

  13             MR. BERLIN:    Objection, form.
  14             THE WITNESS:    Yes.

  15   BY MR. BREEN:

  16        Q.   So that's one of your alternative
  17   worlds, and the best you can tell us is that it's

  18   in the statute someplace?

  19             How can you say that it's an alternative

  20   world that Dr. Duggan should have applied when you
  21   don't even know what that alternative world is?

  22        A.   I do know what the alternative world is.




                                                             446


   1             It's two hundred fifty percent of
   2   average manufacturer's price.    And average

   3   manufacturer's price is defined as some average of

   4   the selling price inclusive or exclusive of
   5   discounts to the retail class of trade.
   6        Q.   But you gave an opinion under oath that
   7   in your opinion applying the DRA 2005 alternative

   8   world would have resulted in a lower damages
   9   number than Dr. Duggan's world; correct?

  10        A.   That's correct.

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                      Depo-Hughes-James-05-06-09
  11        Q.   Yet you don't know how AMP is calculated
  12   in the Deficit Reduction Act of 2005; do you?
  13             MR. BERLIN:    Objection, form.

  14             THE WITNESS:    I have a general idea of
  15   how, but I don't have the statute memorized such

  16   that I can recite for you the average manufacturer
  17   price formula in DRA 2005.
  18   BY MR. BREEN:

  19        Q.   But you would agree that unless you
  20   understood and comprehended how the DRA 2005

  21   calculated average manufacturing price, you

  22   couldn't compare it with the results from Dr.



                                                             447



   1   Duggan's model using the hundred twenty-five

   2   percent of average contract price; could you?

   3             MR. BERLIN:    Objection, form.
   4             THE WITNESS:    Well, again, there's a

   5   difference between what I am here and able to

   6   recite for you in deposition and what I knew two
   7   months ago, three months ago, when I was actually
   8   writing the report, is at that time I had been

   9   through the documents that I cite in my report.

  10   And at the time that I was forming my opinion, I
  11   did indeed know precisely how AMP was calculated
  12   under DRA 2005.
  13             But sitting here today with your memory

  14   test, I don't actually know the formula that I can
  15   recite for you.   But at the time I was forming my

  16   opinion as shown by the documents that I reference

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  17   in my report, yes, I did know exactly what the
  18   formula was at the time that I was writing my
  19   opinions down in my report.

  20   BY MR. BREEN:
  21        Q.   Well, this is no memory test.    And this

  22   is a very important point, so I'm going to ask we



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   1   take a break right now and you find it because I
   2   need to ask questions about how you assumed

   3   average manufacturer price was calculated under

   4   the Deficit Reduction Act of 2005 so we can
   5   compare it with how Dr. Duggan calculated average

   6   contract price in the model that you are

   7   discrediting.

   8             MR. BREEN:    So I'd like to take a break

   9   now and ask the witness to do that, if possible.
  10             MR. BERLIN:    You want to take a break

  11   and have him get the statute so that he can refer

  12   to the statute and tell you what the statute says?
  13             MR. BREEN:    Absolutely not.
  14             He just testified that it's in his

  15   working materials, what he assumed the statute

  16   said and how he applied it to his opinion in this
  17   case.
  18             I want him to show me in his working
  19   materials so I can ask questions about it because

  20   I didn't see it in there.
  21             MR. BERLIN:    I don't know if we have a

  22   full set of his working materials here.    I guess

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   1   we can check.

   2             MR. BREEN:    Let's take a break and
   3   check.
   4             MR. BERLIN:    Okay.

   5             THE VIDEOGRAPHER:      Going off the record

   6   at 1:11 p.m.
   7                   (A recess was taken.)
   8             THE VIDEOGRAPHER:      We're back on the

   9   record at 1:28 p.m.

  10   BY MR. BREEN:
  11        Q.   Okay.   Did you have an opportunity to go

  12   back, Doctor, and figure out what assumptions you

  13   made with respect to the method by which average

  14   manufacturer price is to be calculated under the

  15   Deficit Reduction Act of 2006 provisions for a
  16   Federal Upper Limit in Medicaid?

  17        A.   I brought back with me the document

  18   that's in my, that was in my production.      Do you
  19   want me to hand it over to you?
  20        Q.   If you want to use it to refresh your

  21   recollection, feel free.    But I'd like you to

  22   explain to us what classes of trade or what kinds



                                                               450



   1   of prices are included in the calculation of AMP
   2   as implemented by the Department of Health & Human
   3   Services pursuant to the Deficit Reduction Act of
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                        Depo-Hughes-James-05-06-09
   4   2005?

   5        A.    Okay.    My understanding of AMP as
   6   designated by the Deficit Reduction Act is that it
   7   is the average price for sales of a drug through

   8   wholesalers to the retail class of trade, net of
   9   all discounts.     And then that is calculated by the
  10   manufacturer and submitted to CMS.

  11        Q.    Didn't you just describe the AMP

  12   definition under OBRA 90?
  13        A.    I cannot, no.
  14        Q.    Pardon me?

  15        A.    I cannot, no.

  16        Q.    You cannot "no" or "know"?
  17              MR. BERLIN:    What's the question that's

  18   pending?   I'm sorry.

  19   BY MR. BREEN:

  20        Q.    Did you not just describe to me the AMP

  21   calculation under the Omnibus Budget
  22   Reconciliation Act of 1990?




                                                               451


   1        A.    No.

   2              It's my understanding that I have
   3   described for you what is required under the
   4   Deficit Reduction Act of 2005.

   5        Q.    And what does it say about including
   6   sales to mail order pharmacies?

   7        A.    Again, I don't have any information
   8   about the exact wording of the statute.
   9        Q.    What does it say about sales to classes
                                Page 125
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                      Depo-Hughes-James-05-06-09
  10   of trade that purchase drugs at prices

  11   substantially less than community pharmacies and
  12   chain pharmacies?
  13        A.    As I said, it depends on whether mail

  14   order pharmacies or these other pharmacies are
  15   included in what they call the retail class of
  16   trade.

  17        Q.    Do you think that Congress defined how

  18   AMP is to be calculated, or was it delegated to
  19   the Department of Health & Human Services?
  20        A.    As I understand it, I don't know whether

  21   it was delegated to the Department of Health &

  22   Human Services or the exact definition was in the




                                                             452


   1   statute.   And it doesn't matter to my opinion.

   2        Q.    Well, if it doesn't matter to your

   3   opinion, can you please explain now then to the
   4   court and jury how you can testify under oath that

   5   application of the AMP definition for Federal

   6   Upper Limit calculations under the Deficit
   7   Reduction Act of 2005 would somehow lead to lower

   8   damages than the method applied by Dr. Duggan if
   9   you don't know what the Deficit Reduction Act and
  10   its implementation provides?

  11        A.    Because if you look at Exhibit 9 in my
  12   report, you can see that under the new Federal

  13   Upper Limits that we've been discussing under the
  14   Deficit Reduction Act of 2005 require that the AMP
  15   be scaled by two hundred fifty percent is how the
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  16   ingredient cost is calculated.

  17               Dr. Duggan scales his average selling
  18   price by only a hundred twenty-five percent.       So
  19   unless, excuse me, he scales his, I misstated

  20   that.   He scales his average selling price by only
  21   twenty-five percent, not a hundred twenty-five as
  22   I said previously.




                                                               453



   1               So given that these are, the AMP is a
   2   selling price to the retail class of trade, and

   3   given that Dr. Duggan used something, also used an

   4   average selling price to, indirect selling price

   5   to the retail class of trade, you can see from the
   6   examples that I presented in Exhibit 9 that the

   7   reimbursement under the FUL designated by the

   8   Deficit Reduction Act of 2005 would lead to a

   9   substantially higher reimbursement than Dr.
  10   Duggan's calculation.

  11   BY MR. BREEN:

  12        Q.     But the fact of the matter is, Doctor,
  13   in Exhibit 9 you start with the same average

  14   price; don't you?
  15               Don't you assume that Dr. Duggan's
  16   calculated average selling price or average

  17   contract price, however you want to characterize
  18   it, is the same as the AMP calculated under the

  19   DRA 2005?
  20               MR. BERLIN:    Objection, form.
  21               MR. BREEN:    What's wrong with that
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  22   question?




                                                                454



   1               MR. BERLIN:    There's several things that
   2   are wrong with that question.
   3               The way you started connects it to the

   4   other idea which doesn't necessarily --
   5               MR. BREEN:    I'll restate the question.

   6   BY MR. BREEN:

   7        Q.     Listen to the question.
   8               In Exhibit 9 of your report when you

   9   compare the way a calculation would occur under

  10   Dr. Duggan's methodology versus the DRA of 2005,

  11   don't you use the same number for the beginning
  12   average selling price for Duggan and AMP for DRA

  13   2005?

  14        A.     It's my understanding that Dr. Duggan's

  15   calculation and AMP 2005 are actually different
  16   numbers.

  17        Q.     How are they different?

  18        A.     Dr. Duggan includes only contract sales
  19   and the AMP includes all of the sales to the

  20   retail trade, retail class of trade, as I
  21   understand it.
  22        Q.     Which one is a higher number?




                                                                455



   1        A.     As I understand it, the AMP is higher.

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   2        Q.     The AMP is higher than Dr. Duggan's
   3   number?
   4        A.     That's right.

   5        Q.     That's your assumption; isn't it?
   6        A.     That's what I recall that we found in

   7   the calculations that we did.
   8        Q.     Do you have your report handy?
   9        A.     I do have my report handy.

  10        Q.     Can you turn to Exhibit 9, because this
  11   is important, and if you believe that Dr. Duggan's

  12   average selling price is a lower number than the

  13   AMP under DRA 2005, I'd like you to make sure that
  14   that's clear on the record.

  15               MR. BERLIN:    Objection.    Move to strike

  16   counsel's commentary on his examination.

  17               THE WITNESS:    Where's my stack of
  18   exhibits?

  19               MR. LAVINE:    I don't think the exhibits

  20   were actually marked as an exhibit.

  21               MR. BREEN:    I'm sorry.    I thought they
  22   were attached to your copy.



                                                                 456



   1               THE WITNESS:    I thought they were too.
   2               MR. BREEN:    I apologize.
   3               THE WITNESS:    I had one yesterday.
   4               MR. BERLIN:    That's all right.    We'll

   5   find it.
   6               MR. BREEN:    Well, this is just Exhibit

   7   9, right.

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   8               MR. BERLIN: But that's what you're
   9   referring to.
  10               MR. BREEN:    I'm going to ask the

  11   Reporter to mark Exhibit 9 as the next exhibit.
  12                      (Deposition Exhibit Hughes 011 was

  13   marked for identification.)
  14   BY MR. BREEN:
  15          Q.   All right.    Just to add to the confusion

  16   today, we've marked Exhibit 9 as Exhibit 11.      And
  17   it's Exhibit 9 from your report, Doctor, I

  18   believe, and it will now be Exhibit 11 to your

  19   deposition.    (Document tendered to the witness.)
  20               Do you have that in front of you?

  21          A.   Yes.

  22          Q.   Now, can you tell us whether, what's




                                                                457


   1   higher, the Duggan average selling price or the

   2   DRA 2005 AMP?

   3          A.   I'm sorry.    Say that again.
   4          Q.   What's higher, the Duggan average
   5   selling price or the DRA 2005 AMP?

   6          A.   Well, the columns that's on this exhibit

   7   is not AMP, but it's AMP times 2.5 taking into
   8   account the two hundred fifty percent markup to
   9   AMP.
  10               So to answer that question, we'd have to

  11   get out a calculator and take, divide column,
  12   well, Column 4 by 2.5 and we'd have to get a

  13   calculator and divide Dr. Duggan's number by 1.25.

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                        Depo-Hughes-James-05-06-09
  14        Q.     But your opinion though is based upon
  15   the assumption that Duggan's alternative selling
  16   price or average selling price will be applied

  17   across the board to Medicaid reimbursement,
  18   correct, to all drugs?

  19        A.     Certainly that is my understanding of
  20   the thrust of the dozens of cases under litigation
  21   regarding the AMP matter, yes.

  22        Q.     So in general, if you apply, if you're



                                                             458



   1   right, and I'm not saying you are, but if you're
   2   right and Dr. Duggan's opinion is that the United

   3   States government which paid all Medicaid

   4   reimbursement based upon this damages calculation

   5   that he made, what would that mean in the

   6   aggregate for all drugs in terms of the
   7   comparative calculation between the FUL under DRA

   8   2005 and the Duggan average price?

   9        A.     I'm sorry.   I do not understand that
  10   question.
  11        Q.     Well, in the aggregate is the

  12   reimbursement going to be, for all drugs if you

  13   add them all up, is it going to be greater under
  14   the Duggan methodology or greater under DRA 2005?
  15        A.     Is what going to be greater,
  16   expenditures or --

  17        Q.     Medicaid reimbursement.
  18        A.     Medicaid reimbursement?

  19               Well, based on what I've calculated for

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  20   the drugs we're looking at here in this matter,
  21   I've calculated that the reimbursements would be
  22   higher under DRA 2005.




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   1             I haven't examined what would happen

   2   under DRA 2005 across the board for all drugs.

   3        Q.   Well, on the one hand you've got this
   4   opinion that the alternative world is one that Dr.
   5   Duggan so erroneously failed to consider as an

   6   alternative world where all Medicaid reimbursement

   7   is based upon the formula in DRA 2005; correct?
   8        A.   Yes.

   9        Q.   Okay.   So if that's the alternative

  10   world that you think Dr. Duggan should have

  11   applied, I'm asking you what that alternative

  12   world would look like in terms of Medicaid
  13   reimbursement across the board for all drugs

  14   because you seem to think it should be applied to

  15   brands and everything else.
  16             So my question is if the Medicaid
  17   programs of the various states were to apply this

  18   alternative world that you think Dr. Duggan should

  19   have and reimbursement would now be based upon the
  20   FUL definition in DRA 2005, if you add up all the
  21   reimbursements for brands, for the drugs in this
  22   case, for all the drugs, would more be paid for




                                                             460


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                         Depo-Hughes-James-05-06-09
   1   reimbursement under DRA 2005 or will more be paid

   2   under Duggan's model?
   3               MR. BERLIN:    Objection, form.
   4               THE WITNESS:    I don't know because I

   5   haven't done that calculation.
   6               But whether it's higher under Dr.
   7   Duggan's method or whether it's higher under DRA

   8   2005 is immaterial to my opinion in this matter.

   9   BY MR. BREEN:
  10        Q.     So when you talk about an alternative
  11   world, you talk about alternative world for all

  12   drugs.    But then when you do your calculations,

  13   like you do in Exhibit 9, you just do it on a
  14   drug-by-drug basis; is that right?

  15        A.     No.   I have a -- yes, the calculation is

  16   on a drug-by-drug basis.

  17               But my opinion is about Dr. Duggan's

  18   damage calculation as it applies to the drugs at
  19   issue here.    And the alternative, one of the

  20   factors in the alternative world that I say that

  21   Dr. Duggan should have applied is --
  22               THE WITNESS:    I'm sorry.   I lost my




                                                               461


   1   train of thought.

   2               Could you read back where I started with
   3   that?

   4                     (The record was read back as
   5   requested.)
   6               THE WITNESS:   Okay. Thank you.
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   7             So my opinion on Dr. Duggan's

   8   methodology is that his but-for world is
   9   unrealistic.
  10             Why?    Because there is this alternative

  11   enacted by Congress where Congress has taken into
  12   account all of the concerns over access and over
  13   cost containment and has come up with this new

  14   system, DRA 2005.

  15             This new system is wildly at odds with
  16   what Dr. Duggan calculates in his calculation, and
  17   that's part of the basis for my conclusion that

  18   his but-for world is simply unrealistic.

  19             It is possible that if all drugs were
  20   reimbursed under DRA 2005, which I do believe is

  21   the alternative world rather than Dr. Duggan's

  22   alternative world, if all drugs were reimbursed




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   1   under DRA 2005 it's possible that government

   2   expenditures might be higher under the DRA than

   3   they would be under Dr. Duggan's approach, it
   4   might be that they're lower under the DRA than

   5   they are under Dr. Duggan's approach.
   6             But that's immaterial to my opinion
   7   about the validity of Dr. Duggan's vision of the

   8   but-for world as articulated in this report.
   9   BY MR. BREEN:

  10        Q.   If I understand the reason that you so
  11   strongly point to the DRA 2005 as the most
  12   reasonable assumption of a but-for world, it's
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  13   because Congress passed the statute and that's

  14   what's being implemented today; correct?
  15          A.   Well, no --
  16               MR. BERLIN:    Object -- go ahead.

  17               THE WITNESS:    The DRA has not yet, it's
  18   been stayed by litigation and it's not yet being
  19   implemented.

  20   BY MR. BREEN:

  21          Q.   Has it now?    Why was it stayed?
  22          A.   As I understand it, certain groups have



                                                               463



   1   sued the government claiming in effect that the

   2   reimbursements under the DRA are not sufficient.
   3          Q.   Not sufficient for all drugs or not

   4   sufficient for some drugs?

   5          A.   I haven't read the lawsuits in

   6   particular, no.
   7          Q.   Have you read Dr. Schondelmeyer's expert

   8   opinion in the case that you're talking about?

   9          A.   Which -- no.    I assume that I haven't.
  10   I read his expert opinion in this case but not in

  11   any other.
  12          Q.   Are you aware that he's the expert in
  13   that case also --

  14          A.   No, I'm not.
  15          Q.   -- opposing the government's position?

  16          A.   No, I'm not.
  17          Q.   And has opined on the Deficit Reduction
  18   Act?
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  19        A.   I am not aware of any of that, no.

  20        Q.   And has opined on the Department's
  21   calculation of AMP?
  22        A.   No.




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   1        Q.   Do you know that the AMP as calculated
   2   on the Deficit Reduction Act because they apply to

   3   all drugs, at least in the opinions of some

   4   people, would reimburse less than cost even at two
   5   hundred fifty percent of AMP?

   6             MR. BERLIN:    Can I have that back.

   7                   (The record was read back as

   8   requested.)
   9             MR. BREEN:    For some drugs.

  10             MR. BERLIN:    Objection, form.

  11             THE WITNESS:    I'm not aware of that.

  12   But, again, it's not material for my opinion
  13   because in the case here Dr. Duggan's, on the

  14   drugs at issue here Dr. Duggan's methodology is

  15   reimbursing even less.
  16   BY MR. BREEN:

  17        Q.   For these drugs?
  18        A.   For these drugs which are at issue, yes.
  19        Q.   All right.    Now, let's talk about that.

  20             As I understand it, you assume that the
  21   most logical but-for world is to use your

  22   understanding of the DRA 2005, which even you




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   1   admit is not even implemented; correct?

   2              MR. BERLIN:    Objection, form.
   3              THE WITNESS:    Those are your words, not

   4   mine.   I did not say anything like this is he best
   5   or the most likely.   I said it was one that could
   6   have informed his vision of the but-for world but

   7   did not.
   8              My objections to his characterization of

   9   the but-for world, as I've said repeatedly over

  10   the last two days, is that he is lowering
  11   ingredient cost only in Medicaid and he is

  12   assuming that everything else stays the same in

  13   contradiction to the volumes of testimony and the

  14   volumes of reports that have occurred over the
  15   past forty years that say that if one is to reduce

  16   ingredient cost even moderately, that there's

  17   going to have to be more attention paid to perhaps

  18   increasing the dispensing fees so that the
  19   providers still have the incentive and still are

  20   getting remunerative reimbursements in order to

  21   participate in Medicaid.
  22              I then use DRA 2005 as an example of a




                                                              466


   1   government policy where it was explicitly

   2   recognized that when altering ingredient costs,
   3   lowering ingredient costs, that dispensing fees

   4   would need to be adjusted in that states were

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   5   specifically directed to review their dispensing
   6   fees to make sure that they were adequate.
   7             But my characterization of DRA 2005 is

   8   it's a place that he could have looked for an
   9   example of how those competing mandates of cost

  10   containment and access could be taken into account
  11   in the way that they were taking into account by
  12   the U.S. government.

  13   BY MR. BREEN:
  14        Q.   So do you deny that your calculations in

  15   Exhibit 9 to your report are based upon

  16   calculations that you think would occur under DRA
  17   2005 under the FUL program which has not even been

  18   implemented?

  19             Do you agree that this is the FUL

  20   program that has been stayed and not implemented?
  21        A.   This is the formula in the FUL program

  22   that has been stayed and not implemented.




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   1        Q.   And yet that's the one that you
   2   criticize Dr. Duggan for not using?

   3        A.   Correct.

   4        Q.   You think he should have used the
   5   formula that's been stayed and blocked by the
   6   federal courts and not been implemented?
   7        A.   Well, if DRA 2005 is inadequate for

   8   drugs, including inadequate for these drugs, and
   9   is causing lawsuits and is causing people to

  10   threaten if this goes into effect to withdraw from

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  11   the Medicaid system, my conclusion is that Dr.
  12   Duggan's system would have even bigger problems
  13   than this for these drugs because, after all, his

  14   reimbursements are lower than what is mandated
  15   under DRA 2005.

  16             But, again, I provided the example of
  17   the DRA 2005 as an illustration of my criticism
  18   that Dr. Duggan claims that one can lower

  19   ingredient cost reimbursements under Medicaid for
  20   some states by seventy, eighty, even more than

  21   ninety percent without adjusting dispensing fees

  22   by a penny and still have Medicaid participants



                                                             468



   1   have the same access to these services as the

   2   public at large, which is what's mandated under

   3   the Medicaid Act.
   4             I found at the time that I wrote my

   5   report, and I find sitting here today, that to be

   6   an unrealistic assumption.
   7             So my criticism is Dr. Duggan needed to
   8   have a more realistic vision of the but-for world

   9   where he's free to lower ingredient cost to

  10   whatever he wants, but that he needed to inform
  11   his vision of the but-for world from the reports
  12   that the government commissioned or that the
  13   government conducted and from the deposition

  14   testimony in this case from state and federal
  15   officials that said that lowering dispensing fees,

  16   excuse me, lowering ingredient cost could not be

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  17   done in isolation from changing dispensing fees.
  18             The other thing that's happened and has
  19   been alluded to in deposition testimony, and I

  20   know from my previous experience, is that states
  21   over the years have tried to lower ingredient cost

  22   but much smaller amounts than Dr. Duggan is



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   1   proposing here only to meet resistance and have to
   2   either modify their reduction in ingredient cost

   3   so that the reduction is not so great or to

   4   abandon that change altogether.
   5             Again, DRA 2005 was an example of a

   6   change that could inform Dr. Duggan's analysis.

   7        Q.   All right.    I'm going to try this one

   8   more time.

   9             My question has to do with Exhibit 9,
  10   and I need an answer that is responsive to Exhibit

  11   9.

  12             Does Exhibit 9 encompass your criticism
  13   or reflects your criticism of Dr. Duggan to the
  14   extent that you say he should have used an

  15   alternate world that followed the formulas of the

  16   FUL calculation in DRA 2005?
  17             MR. BERLIN:    Objection, form.
  18             THE WITNESS:    Can you read that back to
  19   me, please.

  20                  (The record was read back as
  21   requested.)

  22             THE WITNESS:    Okay.   Again, I am not

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   1   saying that Dr. Duggan had to follow the formulas

   2   contained in DRA 2005.   I have not said that in my
   3   report and I have not said it in the deposition
   4   testimony.

   5             Speaking to Exhibit 9, as you've asked

   6   me to do, I will say that Exhibit 9 is an
   7   illustration of my criticism of Dr. Duggan's
   8   report that when one seeks to lower ingredient

   9   cost, that policy makers not just in DRA 2005 but

  10   on all the reports and the deposition testimony
  11   that I just spoke about, maintain that one needs

  12   to increase dispensing fees, increase

  13   administration costs, in such a way so that

  14   reimbursements to the providers are still

  15   remunerative.
  16             So this is an illustration of that

  17   criticism, yes.

  18   BY MR. BREEN:
  19        Q.   All right.   Now, is it your
  20   understanding that the drugs at issue in this

  21   case, including those that you have in Exhibit 9,

  22   are some of the drugs that the DRA 2005 criticism



                                                             471



   1   are aimed at?
   2             In other words, do you think these are
   3   the drugs that people are up in arms about not
                               Page 141
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   4   being able to purchase for the FUL amounts?

   5              MR. BERLIN:    Objection, form.
   6              THE WITNESS:    I don't know one way or
   7   the other.

   8   BY MR. BREEN:
   9        Q.    Okay.   Well, in that case let me ask you
  10   this:   Since you're relying upon the DRA 2005 and

  11   Federal Upper Limits for so much of your opinion,

  12   can you explain to us how Medicaid reimbursement
  13   would have been impacted with respect to the
  14   formulas applied by the state Medicaid programs

  15   had they implemented the FULs and DRA 2005?

  16              MR. BERLIN:    Move to strike the
  17   commentary.

  18              MR. BREEN:    I'll restate the question.

  19   BY MR. BREEN:

  20        Q.    Tell the court and the jury how state

  21   Medicaid programs would have utilized the FULs
  22   provided for in DRA 2005 in conjunction with their




                                                              472


   1   existing reimbursement formulas.

   2        A.    The FULs, as I understand it, the FULs
   3   under DRA 2005 for those states that use a
   4   reimbursement system of lesser of, scaled AWP,

   5   MAC, usual and customary charge, or FUL, that this
   6   would take the place of any previous FUL that was

   7   in place for drugs.
   8        Q.    So would they all pay the FUL or would
   9   they pay the lesser of the FUL or their estimated
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  10   acquisition cost or usual and customary or state

  11   MAC?
  12          A.   Again, as I understand it, they would
  13   pay the lesser of.

  14          Q.   The lesser of.
  15               So are you representing to the court and
  16   the jury in this case that the FULs provided by

  17   DRA 2005 are actually the amounts that are

  18   expected to be reimbursed, or are you representing
  19   that they're just one of the several lesser of
  20   potential price points?

  21          A.   It is one of the lesser of price points,

  22   just like Dr. Duggan's but-for calculation is one




                                                              473


   1   of the lesser of price points.

   2          Q.   So what would the estimated acquisition

   3   cost be, price point be, for the drugs that you've
   4   got listed in Exhibit 9?

   5          A.   I don't have that information in front

   6   of me.
   7          Q.   So you don't know whether the estimated

   8   acquisition cost would be less than or equal to or
   9   more than Dr. Duggan's alternate price; do you?
  10          A.   I don't.

  11               But at the same time you also have to
  12   keep in mind that under the DRA states were

  13   directed to look at their dispensing fees to make
  14   sure that they were adequate.
  15               And so in response to your question
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  16   well, you know, what would the states have done,

  17   one of the things that they would have done, had
  18   it been implemented, is they would have reviewed
  19   their dispensing fee policy in line with the

  20   federal guidelines.
  21             So it's not at all clear exactly what
  22   states would have done.    I mean we can't say




                                                              474



   1   sitting here what states would have done, but they
   2   would have had to adjust their dispensing fees,

   3   which could have led to adjustments in changes in

   4   their reimbursement rules for EAC, or

   5   reimbursement calculation for EAC.
   6             Once you change one of these things,

   7   exactly what states do one doesn't know.

   8        Q.   Are you aware of what the states already

   9   did to their administration and dispensing fees
  10   for infusion pharmacy drugs?

  11        A.   When and in what way?    I'm not sure what

  12   you're saying.
  13        Q.   Any time prior to today.

  14             MR. BERLIN:    Objection, form.
  15   BY MR. BREEN:
  16        Q.   You're assuming that they're going to

  17   change their dispensing fee for IV drugs from your
  18   last response.

  19             So I'm asking you if you're assuming
  20   they're going to change that dispensing fee, do
  21   you have any idea what they've already done to it?
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  22        A.     What I'm saying, what my response to the




                                                               475



   1   previous question was is that the DRA directs them
   2   to make sure that their dispensing fees are
   3   adequate.    And I would expect if the DRA were

   4   implemented, that they would make those
   5   adjustments.

   6        Q.     All right.    And I'm asking you for IV

   7   drugs, the drugs at issue in this case, do you
   8   know if the states already adjusted their

   9   dispensing fees?

  10        A.     It's my understanding some states have

  11   adjusted them over the years.
  12        Q.     When?

  13        A.     I don't have --

  14               MR. BERLIN:    Objection to form.

  15               THE WITNESS:    I don't have the specific
  16   dates memorized.

  17   BY MR. BREEN:

  18        Q.     Which states?
  19        A.     I don't have the specific states

  20   memorized.
  21        Q.     How much?
  22               MR. BERLIN:    Objection, form.




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   1               THE WITNESS:    I don't have the specific

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                      Depo-Hughes-James-05-06-09
   2   amounts memorized.
   3   BY MR. BREEN:
   4        Q.    Do you have any basis whatsoever to

   5   opine that in your opinion the states would
   6   increase their dispensing fees and administration

   7   fees for IV pharmacy, the IV pharmacy products at
   8   issue in this case, had they reimbursed the Duggan
   9   amounts?

  10              MR. BERLIN:    Objection, form.
  11              MR. BREEN:    I'll restate the question.

  12   BY MR. BREEN:

  13        Q.    Do you have any basis whatsoever to
  14   render an opinion that the states would have

  15   increased their dispensing or administration fees

  16   for the IV drugs at issue in this case had they

  17   used the Duggan prices for reimbursement?
  18        A.    Okay.   Again, deposition testimony,

  19   Myers & Stauffer reports, OIG reports, reports

  20   from other government agencies going back over

  21   forty years speaking to the inadequacy of
  22   dispensing fees relative to the actual cost of



                                                             477



   1   administration.
   2              Some of these reports also pointing out
   3   that the dispensing fees that states are paying
   4   are inadequate to cover the costs of dispensing

   5   pills and tablets, and that these dispensing fees
   6   are even more inadequate in the case of infusion

   7   drugs.

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   8             And those reports were done at the,
   9   referring to the existing levels of
  10   reimbursements, the existing levels of EAC.

  11             Now, Dr. Duggan is coming along with his
  12   proposal that one can reduce in some states

  13   reimbursements, ingredient cost reimbursements on
  14   these drugs, by ninety percent or more without
  15   taking into account any of these state concerns,

  16   without taking into account any of the concerns
  17   expressed by the people who have been hired to

  18   study the adequacy of dispensing fees.

  19             So all of that evidence from the
  20   deposition testimony and other things, which Dr.

  21   Duggan says he didn't refer to, leads me to

  22   believe that yes, if you were, if a state were to




                                                             478


   1   reduce its ingredient cost reimbursement for these

   2   drugs to the level that Dr. Duggan suggests in his

   3   report, that states would in fact have to
   4   undertake efforts to revise and increase their
   5   dispensing fees.

   6             So my basis is in the testimony and

   7   other things in the record in this case.
   8        Q.   Okay.    Economically speaking, for the
   9   drugs listed in your Exhibit 9 tell the court and
  10   the jury how much the State of California would

  11   have increased their dispensing or administrative
  12   fees for those drugs had they been supplied with

  13   the pricing information that Dr. Duggan utilized?

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  14               MR. BERLIN: Objection, form.
  15               THE WITNESS:    I don't have the
  16   California regulations committed to memory.

  17   BY MR. BREEN:
  18        Q.     How about Florida, can you tell us about

  19   Florida?
  20               MR. BERLIN:    Same objection to the line
  21   of questioning.

  22               THE WITNESS:    I don't have Florida's



                                                               479



   1   reimbursement rules memorized.
   2   BY MR. BREEN:

   3        Q.     Did California or Florida already

   4   increase their administration or dispensing fees

   5   for IV pharmacy?

   6        A.     California had increased dispensing fees
   7   for pharmacy, which I believe included IV

   8   pharmacy.

   9        Q.     Have any of these states, to your
  10   knowledge, increased the dispensing fees or
  11   administrative fees for IV pharmacy to the point

  12   where it's greater than the drugs that are

  13   dispensed through a community pharmacy?
  14        A.     I don't have a specific recollection
  15   here.   I don't have those regulations memorized.
  16        Q.     Well, if you don't know whether they've

  17   already increased these dispensing fees or not,
  18   how can you opine that they would have had to

  19   increase them had Dr. Duggan's numbers been

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  20   applied?
  21        A.     Well, two things:   If they are
  22   increasing general pharmacy dispensing fees which




                                                             480


   1   fall under this, then if you're going to, and

   2   remember, I mean California was talking about a

   3   relatively small reduction in ingredient cost
   4   which necessitated an adjustment in dispensing
   5   fees.

   6               So, again, if you're going to take the

   7   Draconian cuts that Dr. Duggan has proposed, it
   8   stands to reason that they're going to have to

   9   increase the dispensing fees by form.

  10        Q.     Oh, so California is talking about IV

  11   pharmacy?    Is that your testimony?

  12        A.     I don't remember whether it's IV
  13   pharmacy.

  14               I know that they reduced their

  15   ingredient cost and adjusted their dispensing
  16   fees.
  17        Q.     Are you talking about the ten percent

  18   across the board reduction due to the budgetary

  19   crisis in California that was proposed?
  20        A.     What timeframe are you talking about? I
  21   don't think so.
  22        Q.     Within the last two years.




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                       Depo-Hughes-James-05-06-09
   1        A.   I don't believe that's what I'm talking

   2   about.
   3        Q.   Then what are you talking about?
   4             MR. BERLIN:    Objection, form.

   5             THE WITNESS:    Again, I don't have the
   6   times and the regulations memorized.    So I'm not
   7   going to know the answer to your question.

   8   BY MR. BREEN:

   9        Q.   Well, your opinion is that Dr. Duggan is
  10   wrong because he should have considered the fact
  11   that states would have increased dispensing fees.

  12   A lot of your opinion is based on that.

  13             So I need to find out if you really know
  14   anything about dispensing fees and whether they've

  15   already been increased or not.

  16             So I'm trying to find out.    So let me

  17   ask this question:   Do you know anything about the

  18   state of dispensing fees and administrative fees
  19   for IV pharmacy in the Medicaid programs and

  20   changes that had been made over the last five

  21   years?
  22        A.   I don't --




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   1             MR. BERLIN:    Hold on, please.    Move to

   2   strike commentary, objection to form.
   3             THE WITNESS:    Again, I don't have

   4   anybody's regulations memorized.
   5   BY MR. BREEN:
   6        Q.   Not regulations.
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                       Depo-Hughes-James-05-06-09
   7              I want to know whether you know anything

   8   about what kind of dispensing fees they're paying
   9   and increases they've already made.
  10        A.    Again, at the time I was writing my

  11   report, included in a bunch of the reports I was
  12   made aware of adjustments that had been made in
  13   dispensing fees in certain states.

  14              But sitting right here today, I don't

  15   recall specific states or specific changes in
  16   dispensing fees for IV pharmacy.
  17        Q.    My last question was for the last five

  18   years.

  19              Let's go back to 1998.    Let's go back
  20   eleven years.   Would your answer be the same?

  21        A.    Yes, it would.

  22              MR. BERLIN:    You meant the previous




                                                             483


   1   question, not the last question.     You got me all

   2   excited.

   3              MR. BREEN:    My previous question, my
   4   penultimate question.

   5   BY MR. BREEN:
   6        Q.    All right.    Now, if I understand your
   7   testimony correctly -- well, let me just ask, if

   8   you think Dr. Duggan should have considered the
   9   DRA of 2005 and this other information you've been

  10   talking about and based upon that adjusted his
  11   damages model for anticipated increased dispensing
  12   fees, why didn't you do that? Why didn't you
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                         Depo-Hughes-James-05-06-09
  13   figure it out?

  14        A.    I mean it wasn't part of my assignment.
  15   It wasn't what I was asked to do.     And doing the
  16   calculation would have no affect on my opinion

  17   that a valid damage calculation would need to take
  18   such things into account.
  19        Q.    So let's understand how this works, and

  20   let's just back up and kind of go back to basics.

  21              You're an expert witness in this case;
  22   correct?



                                                             484



   1        A.    Correct.

   2        Q.    You're being paid for your testimony
   3   just like my experts are; correct?

   4        A.    I'm being paid for my time, yes.

   5        Q.    Thank you for correcting me.    I said

   6   that wrong.   You're being paid for your time.
   7              You're going to testify truthfully as

   8   you see it, whether it helps one side or the

   9   other; right?
  10        A.    Correct.

  11        Q.    That's what independent experts are
  12   supposed to do?
  13        A.    That's correct.

  14        Q.    And you're being paid how much an hour
  15   for your time?

  16        A.    $575.
  17        Q.    575.    Is that your ordinary rate?
  18        A.    It is.
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                          Depo-Hughes-James-05-06-09
  19        Q.     Do you make more as an expert than you

  20   do as a college professor?
  21               MR. BERLIN:    Objection, form.
  22               THE WITNESS:    I haven't really done the




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   1   addition.    It depends on the year.
   2   BY MR. BREEN:

   3        Q.     You've made over $100,000 on this case;

   4   haven't you?
   5        A.     I haven't done the addition, but that

   6   sounds about right.

   7        Q.     Do you have to share that with the

   8   college or do you get to keep it?
   9        A.     I don't have to share it with the

  10   college, no.

  11        Q.     And that's the same for the rest of the

  12   professors there at that college I would assume;
  13   correct?

  14               MR. BERLIN:    Objection, form.

  15               THE WITNESS:    Is what the same?
  16   BY MR. BREEN:

  17        Q.     If they want to be experts or
  18   consultants, they can do that for a certain amount
  19   of time?

  20        A.     Yes.
  21        Q.     There's nothing wrong with that is my

  22   point; correct?




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   1         A.   Okay.

   2         Q.   Right?
   3         A.   I don't see anything wrong with it.

   4         Q.   So you're an expert.      And you didn't ask
   5   to get on this case, the defendants asked you;
   6   correct?

   7         A.   That's correct.
   8         Q.   As a matter of fact, the first folks

   9   that called you up and got you involved in an AWP

  10   case were the lawyers representing GlaxoSmithKline
  11   at Covington & Burling; right?

  12         A.   In an AWP case?

  13         Q.   I'm sorry, Aventis -- or what was the

  14   first AWP case you got involved in?
  15         A.   Aventis in Connecticut, yes.

  16         Q.   And that was Covington that called you

  17   up?

  18         A.   No.
  19         Q.   Who was it?

  20         A.   Shook Hardy & Bacon in Kansas City.

  21         Q.   Shook Hardy & Bacon, okay.
  22              And then it was GSK after that; correct?




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   1         A.   No.   I don't think I've ever worked on

   2   with GSK on an AWP case.
   3         Q.   All right.    I've got you confused then,

   4   or I've got me confused.

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   5             Who was the next defendant you provided
   6   services in connection with?
   7        A.   It's been Aventis and it has been

   8   Abbott.
   9             I was retained by Barr, but the case

  10   settled before I really did any work to speak of.
  11   So it's really only been Aventis and Abbott.
  12        Q.   Well, the Aventis case when you were

  13   working with Shook Hardy, was it on the Anzemet
  14   drugs?

  15        A.   Anzemet and Taxotere, yes.

  16        Q.   And Taxotere.
  17             Anzemet was the house drug; right?

  18   Marion Russell was the one that came up with that

  19   drug?

  20        A.   By the time I was involved, it was an
  21   Aventis drug.    It didn't matter who had actually

  22   come up with them.




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   1        Q.   What kind of spreads were on the Anzemet
   2   drug?

   3        A.   I don't remember at this point.

   4        Q.   Did you do any spread calculation?
   5        A.   I don't remember.
   6        Q.   Do you know what that case was about?
   7        A.   Yes.

   8        Q.   What was it about?
   9        A.   The Attorney General of Connecticut was

  10   bringing suit believing that the state Medicaid

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                      Depo-Hughes-James-05-06-09
  11   system was overpaying for those drugs.
  12        Q.    Were you aware that there was a federal
  13   case regarding the Anzemet drug also?

  14        A.    No, I wasn't.
  15        Q.    A federal qui tam case?     Were you aware

  16   of that?
  17        A.    No.
  18        Q.    All right.    So you get hired by the

  19   lawyers to help in their cases.
  20              Did the lawyers typically ask you how

  21   you feel you could be of assistance?

  22        A.    No.



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   1        Q.    Have you ever had a lawyer do that?

   2        A.    Not in those words, no.

   3        Q.    No lawyer has ever called you up and
   4   said you're the expert, here's my case, here's

   5   some of the issues, how can you help me?

   6        A.    Everything up to the last phrase.
   7        Q.    The "How can you help me" part?
   8        A.    Correct.

   9        Q.    So the Abbott lawyers, who was the first

  10   one that you met?
  11        A.    Tina Tabacchi and Jim, I'm not going to
  12   remember his last name.
  13        Q.    Daley?

  14        A.    Daley, yes.    Thank you.
  15        Q.    Okay.    So Ms. Tabacchi and Mr. Daley

  16   contact you.     Did they tell you what this case is

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                      Depo-Hughes-James-05-06-09
  17   about?
  18         A.   In fairly broad terms, yes.
  19         Q.   Did they tell you that, did they tell

  20   you what Abbott did with its prices for
  21   vancomycin?

  22         A.   They told me generally what the



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   1   accusations were, yes.
   2         Q.   But did they tell you what Abbott did

   3   with their prices for vancomycin?

   4         A.   At that first meeting I don't believe
   5   so.

   6         Q.   How about later?

   7         A.   I don't think anybody ever sat me down

   8   and said here's what the prices were for

   9   vancomycin.
  10         Q.   Did they tell you that back in the mid

  11   '90s after OBRA 90 was passed they actually

  12   started lowering the reported prices of vancomycin
  13   for a short period of time?
  14         A.   I think I became aware of that from the

  15   Abbott deposition testimony.

  16         Q.   Did they, well, I want to know what the
  17   lawyers told you.   This is one of the few times I
  18   get to ask that question.
  19              Did the lawyers tell you about that?

  20         A.   Not in those terms.   But I believe they
  21   said things along the lines of there was a

  22   divergence between the prices, over time there was

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   1   a divergence between the prices at which the drugs

   2   were being sold at and the AWPs.
   3        Q.    Did they tell you what happened in their
   4   marketplace when they lowered the reported prices?

   5        A.    No.   The lawyers did not tell me that.

   6        Q.    Do you have any idea what happened?
   7        A.    Again, I remember seeing something in
   8   the Abbott deposition testimony that then the

   9   price was readjusted, but I don't remember

  10   exactly.
  11        Q.    Readjusted back to where it started

  12   from?

  13        A.    I don't remember precisely.

  14        Q.    You know where it went; don't you?

  15              MR. BERLIN:   Objection, form.
  16   BY MR. BREEN:

  17        Q.    It went up; didn't it?

  18        A.    That's my recollection is that it went
  19   up, yes.
  20        Q.    It went way up above the brand price;

  21   didn't it?

  22        A.    I don't know that, I don't remember that



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   1   specifically.
   2        Q.    Do you remember that generally?
   3        A.    I don't remember it generally either.
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   4        Q.     Okay.   So what happens when Abbott

   5   causes the average wholesale price of a drug like
   6   vancomycin to go up if it's being reimbursed by
   7   Medicaid programs based upon formulas that use

   8   that average wholesale price?
   9               MR. BERLIN:    Objection, form.
  10               THE WITNESS:    Could you read back the

  11   question.

  12                    (The record was read back as
  13   requested.)
  14               THE WITNESS:    Okay.   What happens to

  15   what, I'd like you to clarify for me.

  16   BY MR. BREEN:
  17        Q.     What happens to the Medicaid

  18   reimbursement?

  19               MR. BERLIN:    Same objection.

  20               THE WITNESS:    When the AWP for any drug

  21   rises, if the EAC formula doesn't change, then the
  22   reimbursement will increase.




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   1   BY MR. BREEN:

   2        Q.     And you were speaking earlier about how
   3   the Medicaid reimbursement is necessary that it
   4   remunerate the pharmacists; correct?

   5        A.     That the ingredient cost plus the
   6   dispensing fee needs to be remunerative to the

   7   pharmacy, yes.
   8        Q.     So if Abbott causes its average
   9   wholesale price to go up and if that causes the
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                        Depo-Hughes-James-05-06-09
  10   Medicaid reimbursement that's based upon EAC to go

  11   up, does it cause an increase in the remuneration
  12   to the pharmacist, the pharmacy?
  13             MR. BERLIN:    Objection, form.

  14             THE WITNESS:    Yes, it would.
  15   BY MR. BREEN:
  16        Q.   So you would agree with me that to the

  17   extent that Abbott can control its average

  18   wholesale price, it has the ability to cause an
  19   increase in remuneration to pharmacies?
  20        A.   Yes.

  21        Q.   Now, are you familiar with a term called

  22   "estimated acquisition cost"?




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   1        A.   Yes, I am.

   2        Q.   What does that mean to you?

   3        A.   Estimated acquisition cost is the I call
   4   it term of art within Medicaid for the ingredient

   5   cost that Medicaid will reimburse, or one of the

   6   ways that Medicaid will reimburse for the drug.
   7        Q.   And when did you first learn about the

   8   term "estimated acquisition cost" in connection
   9   with Medicaid?
  10        A.   Long time ago.    Probably '94, '95,

  11   something like that.
  12        Q.   Do you know whether it's a creature of

  13   federal regulation or not?
  14        A.   No.    The estimated acquisition costs are
  15   set by the states and approved by the federal
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                        Depo-Hughes-James-05-06-09
  16   government in the state implementation plans.

  17        Q.   Okay.    Well, maybe my question wasn't
  18   clear.
  19             Do you know whether the term as it's

  20   used by state Medicaid programs known as estimated
  21   acquisition cost, do you know whether that term is
  22   a creature of federal regulation?




                                                             495



   1        A.   Yes.    I believe there's a federal,
   2   there's words in federal regulation that says

   3   estimated acquisition cost should be this.

   4        Q.   Are you aware of any state plan that

   5   does not include a provision for Medicaid
   6   reimbursement of drugs, including those at issue

   7   in this case, that does not include a provision

   8   that says we'll pay the estimated acquisition cost

   9   if it's lower than its other means of determining
  10   reimbursement?

  11             MR. BREEN:    We can read that question

  12   back if it'll help.
  13             THE WITNESS:    Okay.   Thanks.

  14                    (The record was read back as
  15   requested.)
  16             THE WITNESS:    It's my understanding, I

  17   can't quote you all fifty states, but it's my
  18   understanding that it is common for states to use

  19   the lesser of EAC, MAC, FUL, usual and customary,
  20   that that's standard across states.
  21             There may be one or two that don't use
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                        Depo-Hughes-James-05-06-09
  22   it that I don't know of here, but it's a very




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   1   common way that states do this.
   2   BY MR. BREEN:
   3        Q.   All right.    Fair enough.

   4             Now, when a state pays based upon
   5   estimated acquisition cost, does it pay any

   6   different dispensing fee than it would pay if it

   7   was paying based upon a MAC or based upon the
   8   Federal Upper Limit?

   9        A.   It's my understanding that when they pay

  10   based upon the MAC or the FUL, that they pay the

  11   same dispensing fee.
  12        Q.   Okay.    So whenever a state makes a

  13   reimbursement election through its formula between

  14   MAC, FUL, and EAC, it will pay the same dispensing

  15   fee even if the EAC is less than the MAC or the
  16   FUL; correct?

  17        A.   Yes.

  18        Q.   So if dispensing fees are so directly
  19   related to ingredient cost reimbursement, as you

  20   seem to believe in your opinion, why is that the
  21   case?
  22             Why aren't they different depending upon




                                                             497



   1   which price point a state reimburses on?

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   2        A.   Well, two things: First of all, MACs
   3   are negotiated generally.    And so that the
   4   ingredient cost component of a MAC price is in my

   5   opinion a statement by the state, by the agency
   6   and the providers, that here's the lowest

   7   ingredient cost that we can accept commensurate
   8   with the dispensing fee that is available.
   9             FUL, on the other hand, is itself based

  10   on a hundred fifty percent of the lowest AWP.    So
  11   a hundred fifty percent -- I'm sorry.    It's not a

  12   hundred fifty percent of the lowest AWP.    Anyway -

  13   -
  14        Q.   Maybe I can refresh your recollection.

  15             Is it a hundred fifty percent of the

  16   lowest published price.

  17        A.   Thank you.   A hundred fifty percent of
  18   the lowest published price.

  19             And so the point is that there's not the

  20   divergence, generally it's my understanding that

  21   there's not the divergence between those
  22   quantities to the same extent there's a divergence



                                                              498



   1   between EAC as it's done through scaled AWP and
   2   Dr. Duggan's calculation.
   3             Dr. Duggan's alternative EAC is
   4   substantially lower than the existing EAC and also

   5   in my opinion is substantially lower than the
   6   MACs, well, there's no FULs for these drugs, but

   7   substantially lower than the MACs for states that

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   8   have MACs.
   9        Q.    All right.    When you say Dr. Duggan's
  10   EAC is substantially lower than the existing EAC,

  11   are you saying he's using a different EAC formula
  12   --

  13        A.    No, sir.
  14        Q.    -- or are you saying he's getting to a
  15   different EAC result?

  16        A.    No, sir.
  17              I understand that Dr. Duggan applies,

  18   whatever the scaled AWP formula in a particular

  19   state is, he applies that to his alternative AWP.
  20              But because his alternative AWP is

  21   substantially below the existing AWPs that he uses

  22   in the calculations, that leads to a substantially




                                                             499


   1   lower EAC.

   2        Q.    But you understand that Dr. Duggan did

   3   not use a different EAC formula; correct?
   4        A.    If we're talking about the scaled AWP
   5   formula, I agree with you that he did not use a

   6   different scaled AWP formula than whatever was

   7   relevant in that particular state at that
   8   particular time.
   9        Q.    And some states rather than using a
  10   scaled AWP formula they use a WAC plus formula;

  11   correct?
  12        A.    Yes.

  13        Q.    And where that was the case, Dr. Duggan

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  14   emulated that; right?
  15        A.   That's correct.
  16        Q.   You don't have any criticism of how he

  17   did that aspect of his model?
  18        A.   No.

  19        Q.   Okay.    So then is it your understanding
  20   that all Dr. Duggan did was recalculate the
  21   existing EAC formulas based upon the assumption

  22   that Abbott had reported a lower price?



                                                             500



   1        A.   Yes.    He calculated an alternative EAC
   2   calculation based on the idea that Abbott would

   3   have reported his version of average selling price

   4   rather than the price that they did report to the

   5   compendium.

   6        Q.   Now, do you know that the definition of
   7   EAC, as used by the federal regulations, as

   8   required by the federal regulations, defines it as

   9   being the state's best estimate of acquisition
  10   cost based upon the prices that are quote
  11   "generally and currently paid" end quote in the

  12   marketplace?

  13        A.   If you represent that to me as true,
  14   that sounds like the language I'm familiar with.
  15   But unlike you I don't have it memorized, but I'll
  16   take your representation.

  17        Q.   Okay.    But you will agree with me it
  18   doesn't say based upon the prices that are a

  19   thousand percent higher than the prices generally

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                      Depo-Hughes-James-05-06-09
  20   and currently paid in the marketplace?
  21              MR. BERLIN:    Objection, form.
  22              THE WITNESS:    It doesn't say anything




                                                                501


   1   like that.   I agree with you.

   2   BY MR. BREEN:

   3        Q.    And it doesn't say based upon the prices
   4   that are five thousand percent higher than those
   5   generally and currently paid in the marketplace.

   6   It doesn't say that either; does it?

   7              MR. BERLIN:    Same objection.
   8              THE WITNESS:    I agree with you.   It does

   9   not say that.

  10   BY MR. BREEN:

  11        Q.    So you understand that all Dr. Duggan

  12   did was take the prices that the relator and the
  13   government will assert at trial would have been

  14   reported but for Abbott's false statements and

  15   then ran those prices through the formula.      You
  16   understand that; right?
  17        A.    I mean I guess I understand that's the

  18   government's allegation, yes.

  19        Q.    And that the government, and that those
  20   are the prices that Duggan uses in his formula;
  21   correct?
  22        A.    I'm sorry.    Which prices, what prices




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   1   are we talking about?

   2        Q.   Prices the government contends would
   3   have been reported but for the false statements.
   4        A.   Well, again, just let me be clear.    I

   5   accept for the purposes of my report the
   6   government's allegations as true.    But I don't
   7   have any opinion as to whether the prices reported

   8   by Abbott were fraudulent or anything else.    The

   9   prices reported by Abbott were the prices reported
  10   by Abbott.
  11        Q.   Right.

  12        A.   But I agree with your characterization

  13   of the government's allegations.
  14        Q.   Okay.    So just so that everybody

  15   understands what you're saying and in your

  16   opinion, you think as an economist that when

  17   there's a lawsuit about false prices being given

  18   to the government, somehow the government has got
  19   to recreate its reimbursement world to look like

  20   the world that would have existed had false prices

  21   not been reported?
  22             MR. BERLIN:    Objection, form.




                                                             503


   1             THE WITNESS:    When the government wants

   2   to have companies report prices to the compendia
   3   like those that Dr. Duggan has calculated, it is

   4   my opinion that the government needs to make
   5   adjustments to its reimbursement policy so that
   6   providers will still wish to participate and still
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                       Depo-Hughes-James-05-06-09
   7   find it remunerative to participate in the

   8   Medicare and Medicaid programs.
   9   BY MR. BREEN:
  10        Q.   And you think that the drug company that

  11   reports the false prices should get some kind of
  12   offset against its damages based upon this theory
  13   of yours; correct?

  14             MR. BERLIN:    Objection, form.

  15             THE WITNESS:    Well, again, Dr. Duggan's
  16   difference calculation is the difference in what
  17   the government paid and what the government would

  18   have paid had the government -- let me try that

  19   again.
  20             Dr. Duggan's difference calculation is

  21   supposed to be the difference between what the

  22   government actually paid and what the government




                                                             504


   1   would have paid had Abbott reported to the

   2   compendia the prices that he, Dr. Duggan, claims

   3   should have been reported.
   4   BY MR. BREEN:

   5        Q.   All right.
   6        A.   I'm sorry.    My answer isn't finished,
   7   but with all that movement I really lost my train

   8   of thought.
   9        Q.   I apologize.

  10        A.   It's okay.
  11             THE WITNESS:    Could you read back his
  12   question and just let me take another crack at the
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                     Depo-Hughes-James-05-06-09
  13   answer.

  14                  (The record was read back as
  15   requested.)
  16             THE WITNESS:   So just taking my

  17   disagreement with Dr. Duggan is he says he's
  18   calculating a difference between what the
  19   government actually paid and what the government

  20   would have paid.   And my area of disagreement is

  21   that simply lowering the actual world EAC to Dr.
  22   Duggan's but-for EAC is not a full description of



                                                             505



   1   the difference in government expenditures between

   2   the actual world and the but-for world because
   3   with unchanged dispensing fees providers would

   4   find Dr. Duggan's ingredient cost plus those

   5   dispensing fees to be unremunerative, and

   6   therefore, would stop providing services to
   7   Medicare and Medicaid recipients, an opinion

   8   that's supported by all of these reports and

   9   deposition testimony from state and federal
  10   officials that I have been talking about

  11   repeatedly.
  12             So it's not a matter of giving Abbott a
  13   credit, but rather it is being true to what Dr.

  14   Duggan says that the damages are going to be the
  15   difference between what the government paid for

  16   this prescription in the actual world versus what
  17   the government paid for this prescription in the
  18   but-for world and that what the government paid is
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  19   the combination of both ingredient cost as well as

  20   dispensing or administration fees.
  21        Q.   All right.    But you would agree though
  22   that the way Dr. Duggan does it assumes that the




                                                             506



   1   state would have paid the claim exactly as it did
   2   pay the claim based upon the exact formula it used

   3   when it paid the claim; correct?

   4             MR. BERLIN:    Objection, form.
   5             THE WITNESS:    I'm sorry.   You're going

   6   to have to read that one back to me.

   7                   (The record was read back as

   8   requested.)
   9             THE WITNESS:    Okay.   If I understand

  10   your question correctly, Dr. Duggan assumes that

  11   the state paid the claim using his new version of

  12   the EAC, I'm sorry, his new version of the AWP
  13   according to the same formula that they used to

  14   calculate the EAC in the actual world and the same

  15   dispensing fee that they used in the actual world.
  16   BY MR. BREEN:

  17        Q.   Correct.   Is that correct?
  18        A.   Then yes, if that's what you said, then
  19   I'm going to agree with you.

  20        Q.   And what you're saying is if he's going
  21   to do this damages model, he should have used the

  22   dispensing fees and the formulas that were used




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   1   when the claim was actually paid, he should have

   2   figured out what would have happened in the
   3   alternative world if all claims were paid based

   4   upon lower AWPs?
   5        A.   I actually am not taking any issue with
   6   the EAC formula.

   7             So if EAC in a state was AWP minus
   8   fifteen percent in the actual world and he uses

   9   AWP minus fifteen percent in the but-for world, I

  10   have rendered no opinion or any objection to that.
  11             But his but-for AWP minus fifteen

  12   percent let's say in a state is in my opinion

  13   inadequate to be remunerative to the provider.

  14   And, again, that's based on all of the testimony
  15   from the state officials, all the testimony from

  16   the federal officials, the Myers & Stauffer

  17   reports that repeat in state after state after

  18   state that when looking at reimbursements states
  19   need to look not just at ingredient cost in

  20   isolation but need to look at the combination of

  21   ingredient cost plus dispensing fee.
  22             So it is my opinion that if you do what




                                                             508


   1   Dr. Duggan does and states change nothing but the

   2   AWP that they use, that that's an unrealistic but-
   3   for world because for these drugs and others

   4   perhaps that reimbursement will not be

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                          Depo-Hughes-James-05-06-09
   5   remunerative.
   6               MR. BREEN:    Are you done with that
   7   answer?

   8               THE WITNESS:    Yes, I am.
   9               MR. BREEN:    We're out of tape.    Let's

  10   take a break.
  11               THE WITNESS:    Okay.
  12               THE VIDEOGRAPHER:    Going off the record

  13   at 2:32 p.m.
  14                      (A recess was taken.)

  15               THE VIDEOGRAPHER:    Beginning of

  16   Videotape No. 4.      We're back on the record at 2:57
  17   p.m.

  18   BY MR. BREEN:

  19          Q.   All right.    Just to finish up where we

  20   left off before we move on to the next area, I
  21   just want to make sure the record is real clear on

  22   this.




                                                                509


   1               I understand you but this is important.
   2   When Duggan calculated damages, he ran the

   3   formulas that were in existence in the states at

   4   the time the claims were paid; correct?
   5          A.   Yes.    He assumed that nothing of the
   6   reimbursement system in a state would change,
   7   which is what I objected to, yes.

   8          Q.   I understand that.
   9          A.   Okay.

  10          Q.   Your position is if reimbursements would

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                      Depo-Hughes-James-05-06-09
  11   have been based upon the estimated acquisition
  12   cost resulting from these lower AWPs, they would
  13   have had to pay a higher dispensing fee?

  14        A.   Yes.
  15        Q.   Got that.

  16             But going back to the formulas that were
  17   in place at the time that the claims were paid,
  18   are you aware of any formula that automatically

  19   adjusted the dispensing fee based upon a reduction
  20   in the ingredient cost calculation?

  21        A.   There are states that had dispensing

  22   fees that weren't fixed, that there would be one



                                                             510



   1   dispensing fee up to a certain amount, another

   2   dispensing fee after that.   I'm aware that such

   3   things existed.
   4        Q.   But in terms of the, and I don't want to

   5   use the term "materiality" because that's a legal

   6   term and not an economics term.
   7        A.   Okay.
   8        Q.   But in terms of whether or not there's

   9   significant error in your opinion in Duggan's

  10   methodology, would I be correct in saying that
  11   there does not appear to be a significant error in
  12   connection with the application of any formula
  13   based upon what should have been a formulaic

  14   adjustment of the dispensing fee?
  15        A.   As I understand the formulas that Dr.

  16   Duggan used as were outlined for the states that

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                      Depo-Hughes-James-05-06-09
  17   he did the actual calculations in, those formulas
  18   did indeed adjust dispensing fees in ways that
  19   were consistent with the state regulations plan at

  20   that time.
  21        Q.   Okay.   Now, let's now move to the part

  22   of your opinion where you diverge from Dr.



                                                             511



   1   Duggan's opinion, which is the, as you describe
   2   it, his assumption that the reimbursement system

   3   would not have changed based upon dispensing fee

   4   amounts, which is the assumption you take greatest
   5   issue with; correct?

   6        A.   I'm not sure that's exactly stated, I'm

   7   not sure that's exactly stated right, but I think

   8   you're on the right track.

   9        Q.   All right.
  10        A.   I understand Dr. Duggan's assumption is

  11   that ingredient costs would be reduced in line

  12   with his but-for AWP calculation which would
  13   reduce the EAC calculation, which would reduce the
  14   ingredient cost reimbursement.

  15             And he is assuming, as he has

  16   calculated, that in states where the ingredient
  17   cost reimbursements in total could be reduced by
  18   eighty or ninety percent with no change in
  19   dispensing fees, that he's assuming that access

  20   to, that the viability and the willingness of
  21   Medicaid providers to remain in the system and the

  22   access by Medicaid patients to the services

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   1   provided by those pharmacies would not be

   2   affected.
   3               And I find that, again, based on all of
   4   the testimony and reports that I've talked about

   5   numerous times over the past two days, I find that

   6   assumption to be at odds with what the state and
   7   federal officials believed was the relationship
   8   between ingredient cost and dispensing fees.

   9        Q.     But in taking issue with that

  10   assumption, are you not assuming that Duggan's
  11   model would reduce reimbursement across the board

  12   for all drugs?

  13        A.     What I'm saying is I understand Dr.

  14   Duggan from his rebuttal report is saying that

  15   well, this is just whatever it is, forty-four NDCs
  16   out of 25,000.

  17               I don't think it's forty-four NDCs out

  18   of 25,000 for the following reason:    These are
  19   home infusion pharmacies, they're not stocking
  20   25,000 NDCs, they're not involved with 25,000

  21   NDCs.   I don't have an exact count, but my guess

  22   would be that for the home infusion pharmacy with



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   1   all the chemo and other infusion drugs that they
   2   do, we might be talking about two, three, four
   3   hundred NDCs that are dealt with through such
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                        Depo-Hughes-James-05-06-09
   4   pharmacies.

   5             But yet some of the products, three of
   6   the four products that are at issue here, saline,
   7   water, and dextrose, are things that are used in

   8   great volume every single day by these home
   9   infusion pharmacies.
  10             So that if you were to reduce the

  11   ingredient cost reimbursements like Dr. Duggan

  12   does on these products, which the home infusion
  13   pharmacies are using numerous units every single
  14   day, that they would not find it remunerative to

  15   participate in the Medicaid program because one of

  16   the, three of the NDCs that they use day in day
  17   out have had the ingredient cost reimbursement

  18   reduced by eighty, ninety, percent.    That's going

  19   to be a big chunk of the revenue for these types

  20   of facilities.

  21             And so, yes, they are going to go
  22   screaming to the Medicaid agencies and they're




                                                             514


   1   going to go screaming to their state legislators,

   2   just like everybody else that has faced these
   3   situations.   And it's not going to be the case
   4   that the Medicaid agency is going to be able to

   5   just say oh, yeah, dispensing fees will stay the
   6   same even if we reduce ingredient cost by some

   7   ninety percent.
   8             The other thing is that it just strikes
   9   me as being incredibly unrealistic to say that oh,
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                        Depo-Hughes-James-05-06-09
  10   well, this is just forty-four out of 25,000 NDCs.

  11              I mean this action that brings us
  12   together here today is just one of several Dr.
  13   Duggan has testified in and Dr. Duggan has found

  14   differences, as I understand it, on hundreds of
  15   NDCs beyond the ones that are at issue in this
  16   case.

  17              Dr. Hartman has found difference on

  18   hundreds of NDCs in the cases that he's testified
  19   in.   And there's litigation across the country,
  20   probably dozens of cases at the state and federal

  21   levels, that all have in effect the basic element

  22   of Dr. Duggan's but-for world is that yes,




                                                             515


   1   reimbursements, the AWP basis of reimbursement

   2   would be reduced to something resembling average

   3   selling price.
   4              I mean that's certainly what Dr. Hartman

   5   did in the cases that I was familiar with.

   6              So this litigation taken as a whole is
   7   in my opinion indeed talking about a wholesale

   8   change in the way that AWP is reported, the way
   9   that the providers are going to be reimbursed for
  10   drugs generally.

  11              So, again, I don't agree that this is
  12   just forty-four out of 25,000 NDCs because this is

  13   nationwide litigation involving almost all of the
  14   drug companies that I'm aware of and the products
  15   that they sell.
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                       Depo-Hughes-James-05-06-09
  16          Q.   So then are you considering your

  17   knowledge of these other cases and the existence
  18   of these other cases to inform your opinion about
  19   the necessity of including an increased ingredient

  20   cost factor in any damages formula?
  21          A.   Okay.   Two things:   Small scale and
  22   large scale.    The small scale is that these are




                                                               516



   1   home infusion pharmacies, they deal with not
   2   25,000 NDCs, they deal with a handful, more than a

   3   handful of NDCs.     But it's in the let's say the

   4   hundreds rather than in the thousands because of

   5   the relatively limited services that they provide.
   6               These are products, saline, dextrose,

   7   and water, that they use every single day.      These

   8   are home infusion pharmacies.      This isn't Rite-

   9   Aid, this isn't Walgreens.
  10               So if they're taking a loss on their

  11   prescription pharmacy products, they're not

  12   selling cosmetics, toiletries, beer, and chips at
  13   a profit which allows them to make up for that

  14   loss the way Walgreens does.
  15               The home infusion pharmacies, as I
  16   understand it, and you can correct me if I'm

  17   wrong, this is what they do.      They provide home
  18   infusion services, chemotherapy or whatever other

  19   types of therapy has to be administered in this
  20   way.
  21               So on the small scale for a product that
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  22   is so important to their only business, it is my




                                                             517



   1   opinion that the home infusion pharmacies, were
   2   the reimbursements to be lowered to the levels
   3   that Dr. Duggan is talking about, would be running

   4   screaming to the state Medicaid agencies and would
   5   be running screaming to the state legislature

   6   saying we cannot survive on this combination of

   7   lower ingredient cost and fixed unchanging
   8   dispensing fees because as we saw in, as I saw in

   9   Connecticut, the testimony from the Connecticut

  10   Director of, whatever the office was, I believe he

  11   was the Director of Medicaid services, is they had
  12   tried on more than one occasion to institute

  13   relatively minor, compared to Dr. Duggan's

  14   reductions, relatively minor reductions in

  15   ingredient costs.
  16             And those attempts were met full force

  17   with oncologists and other providers coming to

  18   Medicaid, showing how that they couldn't, that
  19   these were not remunerative and they could not

  20   continue to participate in the program.
  21   Testifying before the state legislature, doing TV,
  22   newspaper interviews, doing everything that they




                                                             518



   1   could to bring to the public and to bring

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                      Depo-Hughes-James-05-06-09
   2   political pressure that this was not going to be
   3   remunerative reimbursements, such that in all of
   4   the cases that I can remember at this point with

   5   Connecticut and all of the cases that the state
   6   Medicaid agency backed off and said okay, we won't

   7   be reducing these reimbursements in the way that
   8   we thought.
   9             Based on that, given the similarity in

  10   those drugs that were at issue in that case and
  11   the drugs that are at issue in this case, I would

  12   assume that if you try to do what Dr. Duggan is

  13   proposing the home infusion pharmacies would have
  14   a very similar reaction and the attempt to hold

  15   the dispensing fees constant would in fact not be

  16   successful.

  17             On a larger scale, tens, numerous,
  18   practically every pharmaceutical manufacturer I

  19   know of is involved in some sort of AWP

  20   litigation.   Numerous states are involved in AWP

  21   litigation.   Relators like Ven-a-Care involved in
  22   AWP litigation.



                                                             519



   1             Not on forty-four out of 25,000 NDCs but
   2   on hundreds and hundreds of NDCs, all with the
   3   same basic but-for world that we're going to
   4   change AWP from what's currently reported by

   5   pharmaceutical companies to the compendia, we're
   6   going to change that AWP to something related to

   7   some measure of average selling price.    The

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                      Depo-Hughes-James-05-06-09
   8   details are unimportant, but basically the same
   9   sort of thing that Dr. Duggan has proposed.
  10             So, yes, on the large scale because of

  11   this isn't just Abbott and these forty-four NDCs
  12   but this is nationwide litigation involving

  13   numerous pharmaceutical companies and hundreds, if
  14   not thousands, of NDCs that yes, what we're
  15   talking about here is a wholesale change in the

  16   way that AWP is reported to the compendia and a
  17   wholesale change in the way that ingredient costs

  18   are reimbursed to providers.

  19        Q.   Do you understand that the -- well,
  20   first off, as we proceed on this maybe it would

  21   help if we, as you just did in your answer, if I

  22   accept your sort of border or the distinction you




                                                             520


   1   make between the bigger picture, the bigger

   2   market, and the home infusion market.

   3        A.   Okay.
   4        Q.   Because as I understand it, I think the
   5   rationale for your opinion is the same for both,

   6   but one, the home infusion market is a bit more

   7   specific --
   8        A.   Yes.
   9        Q.   -- with a more limited basket of drugs.
  10   And the same forces would apply and the same

  11   interests would apply, except that one would go to
  12   the whole market and the other would go to home

  13   infusion; correct?

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                       Depo-Hughes-James-05-06-09
  14        A.    Yes, basically. But these units of
  15   saline, dextrose, and water, I mean these are
  16   things, as I understand it, are used in large

  17   volume by the home infusion pharmacies.
  18        Q.    That's what I'm saying.    That's the

  19   smaller market, more specific market directly at
  20   issue in this case --
  21        A.    Right.

  22        Q.    -- and then we've got the bigger



                                                               521



   1   picture.
   2        A.    Uh-huh.

   3        Q.    All right.    Let's go to the big picture

   4   first.

   5              Do you understand that the Ven-a-Care

   6   and United States allegations are such that the
   7   spread that we're talking about is not the entire

   8   spread between a WAC and an average wholesale

   9   price, that we're talking about inflated spreads
  10   relating from what we allege are inflated
  11   representations of average wholesale price?

  12        A.    I'm sorry.    I didn't think the spread at

  13   issue here was between WAC and AWP.     I thought it
  14   was between --
  15        Q.    It's not.    I want to make sure you
  16   understand that.

  17        A.    Okay.    Then I think we're on the same
  18   page.

  19        Q.    In other words, that the allegations

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                      Depo-Hughes-James-05-06-09
  20   that we've made in this case are that the
  21   representations that resulted in the average
  22   wholesale price reports cause it to be far greater




                                                              522


   1   than a twenty or twenty-five percent range from

   2   WAC.

   3               Do you understand that?
   4          A.   Yes, I do.
   5          Q.   And that when, for example, the Medicare

   6   Modernization Act of 2003 -- which is another one

   7   of the legislative endeavors that you look to for
   8   guidance; correct?

   9          A.   Yes.

  10          Q.   When it modified the Part B

  11   pharmaceutical reimbursement to ASP plus six

  12   percent, it was applying it to all drugs that were
  13   reimbursed under Part B with certain exceptions;

  14   correct?

  15          A.   Yes.
  16          Q.   Now, do you understand that an ASP plus
  17   six percent is going to reduce reimbursement even

  18   within that twenty percent range that we're not

  19   even talking about here?
  20          A.   To the extent that I follow you, yes,
  21   sure.
  22          Q.   ASP plus six percent would be something




                                                              523


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   1   less than ninety-five percent of AWP if AWP is

   2   twenty percent above a WAC; right?
   3        A.   Okay.
   4        Q.   So this new world that we're moving

   5   towards through the various legislative endeavors
   6   seeks to remove the profit on spread to pharmacies
   7   and other providers that would be within that

   8   range that we're not even alleging is at issue

   9   here.
  10             Do you understand that?
  11             MR. BERLIN:    Objection, form.

  12             THE WITNESS:    I understand that it's

  13   different, but they're seeking to remove profit
  14   off of spread whether the spread is $100 or the

  15   spread is $20 or the spread is $10.    They're

  16   seeking to remove the profit that providers can

  17   make off of the difference between AWP and ASP.

  18             So I think we're saying the same thing.
  19   BY MR. BREEN:

  20        Q.   Okay.   My point is that you seem to

  21   assume that if Dr. Duggan's model, which is only
  22   applied to that portion of the spread that we




                                                             524


   1   allege is based upon these false representations

   2   and not the other part of the spread, but you seem
   3   to assume that Dr. Duggan's model encompasses the

   4   whole thing, the entire spread including the
   5   twenty percent range for all drugs everywhere, and
   6   that seems to be your assumption.    Is it?
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   7        A.    You're going to have to try to explain

   8   your characterization of my assumption to me again
   9   because I have to apologize but I'm not really
  10   following what you're claiming that I'm assuming.

  11        Q.    Let's take a branded drug.      Take a drug
  12   known as Biaxin.
  13        A.    Okay.

  14        Q.    Manufactured by Abbott Laboratories.

  15              These are not actual numbers, but let's
  16   just assume that the average wholesale price is
  17   fifty bucks and the WAC is forty bucks.       All

  18   right?

  19        A.    Uh-huh.
  20        Q.    And the average reimbursement is forty-

  21   five bucks by Medicaid for ingredient cost.

  22        A.    By Medicaid?




                                                                525


   1        Q.    Medicaid.

   2        A.    Okay.

   3        Q.    For ingredient cost.      All right.
   4              And let's assume that an ASP times a

   5   hundred six percent type model were applied to it
   6   instead.
   7              If that were the case and if ASP was

   8   something close to the WAC, the reimbursement
   9   would be $42.40; right?

  10        A.    Okay.
  11        Q.    As opposed to the $45.
  12        A.    Okay.
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                        Depo-Hughes-James-05-06-09
  13        Q.   So for every prescription of Biaxin, the

  14   government is going to save about $2.60 based upon
  15   this new world.
  16        A.   Correct.

  17        Q.   Do you understand that that $2.60 we're
  18   not even contending is fraud.    We're contending is
  19   just part of the reimbursement system.

  20             And if the government tightens up its

  21   reimbursement formulas and pulls that out, then
  22   those will be savings to the program that might in



                                                              526



   1   fact be used to fund additional dispensing fees.

   2             You understand that?
   3        A.   Okay.

   4        Q.   What our case is directed at are the

   5   reimbursement spreads that are far outside of any

   6   twenty or twenty-five percent range.
   7        A.   Yes.    But they're not always outside a

   8   $20 range.

   9        Q.   Well, that may or may not be the case.
  10             I just want to make sure you understand

  11   that we're talking about reimbursement spreads
  12   that are outside this twenty to twenty-five
  13   percent range from WAC.    I just want to make sure

  14   you understand that.
  15        A.   No.    That's no problem.

  16        Q.   And had you conducted any kind of a
  17   study, be it a formal study or a thought about it
  18   with your feet up on the table, as you testified
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                       Depo-Hughes-James-05-06-09
  19   yesterday you do and a lot of people do, have you

  20   done anything to try to figure out what kind of
  21   savings would inure to the federal government in
  22   one of your but-for alternative worlds, such as a




                                                               527



   1   hundred six percent of ASP, what kind of global
   2   aggregate savings might inure to the federal

   3   government?

   4        A.    I have not done such analysis, and it
   5   would have no particular affect on my opinion.

   6              MR. BERLIN:    Let me just say he said his

   7   feet were up, not on the table, in case his wife

   8   reads the transcript.
   9              MR. BREEN:    Okay.   Well, I'll stipulate

  10   to that.

  11              THE WITNESS:    No way my wife's reading

  12   the transcript.
  13   BY MR. BREEN:

  14        Q.    Anyway, but you're saying it wouldn't

  15   affect your opinion?
  16        A.    Correct.   It would have no bearing on my

  17   opinion.
  18        Q.    But if the necessary savings to fund
  19   these increased dispensing fees that are in your

  20   but-for world would all come from the portions of
  21   the spread that we're not even contending are

  22   fraudulent, why would you think that Abbott would




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   1   get an offset against the portion of the spread

   2   that is fraudulent?
   3             MR. BERLIN:    Objection, form.

   4             THE WITNESS:    Well, again, I don't have
   5   any opinion on the issue of fraud.    If you say
   6   it's fraudulent, it's fraudulent.

   7             But, again, I'm just following Dr.
   8   Duggan that the measure of damages is the

   9   different between what the government actually

  10   paid and what the government would have paid.      And
  11   I'm simply saying that in my opinion he's leaving

  12   out a portion of what I believe the government

  13   would have had to pay with these lower AWPs that

  14   Dr. Duggan has calculated and substituted, they
  15   would have to pay more in addition to that in

  16   order to keep people, keep providers, in the

  17   Medicare and Medicaid programs.

  18             So I'm not talking about cutting anybody
  19   committing fraud a break.    I'm coming at it from

  20   the other angle is I think that it's clear from

  21   the record that changes in the dispensing fees
  22   with these kinds of Draconian reductions in AWP




                                                                529


   1   would be absolutely necessary to keep people in

   2   the program.
   3   BY MR. BREEN:

   4        Q.   And I'm saying assuming you're correct,

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                      Depo-Hughes-James-05-06-09
   5   then you've got to, you would have to agree with
   6   me that there's going to be savings program-wide
   7   from all the drugs where Medicaid is reimbursing

   8   currently for ingredient cost above a hundred six
   9   percent of ASP; correct?

  10        A.   I'm sorry.    Just say that again.
  11        Q.   You would agree with me that there would
  12   be savings in this but-for world program-wide on

  13   any drug where Medicaid is currently reimbursing
  14   more than a hundred six percent of ASP for

  15   ingredient cost.

  16             MR. BERLIN:    Objection, form.
  17             THE WITNESS:    Okay.   If they're

  18   currently paying more than a hundred six percent

  19   of ASP for ingredient cost, then there would be

  20   savings on ingredient cost, yes.
  21   BY MR. BREEN:

  22        Q.   What I'm saying is how do you know




                                                             530


   1   there's not going to be sufficient savings
   2   program-wide just from reducing the reimbursement

   3   on pharmaceutical products in general sufficient

   4   to fund increased ingredient cost without taking a
   5   contribution to that increased ingredient cost
   6   from the portion that we're suing for in this case
   7   and contending is the portion of the spread

   8   created by fraud?
   9        A.   You're going to have to read that back

  10   because I think you said ingredient cost and you

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                      Depo-Hughes-James-05-06-09
  11   might have meant dispensing fees.
  12        Q.   I'll restate the question.
  13        A.   Okay.

  14        Q.   Let me work on this one because this is
  15   not an easy question.    You can help me.

  16        A.   Okay.
  17        Q.   All right.    How do you know that in the
  18   but-for world where Medicaid reimburses across the

  19   board for all drugs at a hundred six percent of
  20   ASP that there's not going to be sufficient

  21   savings in the ingredient cost for the normal

  22   range of twenty to twenty-five percent sufficient



                                                             531



   1   to fund the increased dispensing fees, from

   2   savings in that range alone, how do you know

   3   there's not going to be enough savings there so
   4   that you wouldn't even have to take the money from

   5   that portion of the spread that's outside the

   6   twenty or twenty-five percent range which we
   7   contend results from fraud?
   8             MR. BERLIN:    Objection, form.

   9             THE WITNESS:    We're looking at it a

  10   different way in the sense that I am not seeing
  11   the connection between whatever the savings is
  12   that you propose from these other drugs and my
  13   contention that if on these drugs at issue here,

  14   if you don't raise the dispensing fees after
  15   lowering the AWP the way Dr. Duggan proposes, that

  16   you're just not going to have people who are going

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                      Depo-Hughes-James-05-06-09
  17   to, you're not going to have providers who are
  18   going to participate in Medicare and Medicaid.
  19               It's not a matter of what the government

  20   is saving.    It's a matter of whether the
  21   reimbursement is remunerative to the provider or

  22   not.    That's what I've been focusing on.



                                                               532



   1   BY MR. BREEN:
   2          Q.   All right.   Well, let's say this another

   3   way then.

   4          A.   Okay.
   5          Q.   Assume that you're going to have to

   6   increase the dispensing fees over and above

   7   wherever they are to maintain access to care.

   8               Why does it follow that that calculation

   9   has to be made to reduce Dr. Duggan's difference,
  10   because what you're doing is you're funding that

  11   now out of the money that the government contends

  12   Abbott should repay, when if you have a new world,
  13   a hundred six percent of ASP, you're going to have
  14   savings coming from all kinds of places, most of

  15   which are from reimbursements the government does

  16   not even contend have any inflated reimbursement
  17   in it.
  18          A.   But I don't see how those savings in the
  19   other areas do anything to keep home infusion

  20   pharmacies in the system if you hold your
  21   dispensing fees constant.

  22          Q.   Well, I'm not assuming you're holding

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                                                             533


   1   them constant.

   2             What I'm saying is let's just assume
   3   that the government saves a billion dollars a year
   4   by going to ASP times a hundred six percent and

   5   that billion dollars, it saves a billion dollars

   6   on the drugs where there's no inflated spread
   7   right now.
   8        A.   Okay.

   9        Q.   Let's just assume that a billion dollars

  10   is enough to cover all the increased dispensing
  11   fees, including for IV pharmacy.

  12        A.   Okay.    What do you mean by cover the

  13   increased dispensing fees?

  14        Q.   Fund the difference, fund the

  15   differential.
  16        A.   Okay.

  17        Q.   So let's assume that.

  18             And that the government still has a
  19   problem with drug companies reporting prices that
  20   result in this extra layer of spread, which we

  21   contend is a fraud.

  22             Why would you offset the fraud damages



                                                             534



   1   when you're going to have savings program-wide
   2   anyway and you're going to have sufficient funds
   3   to fund any increase in dispensing fees that you
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                        Depo-Hughes-James-05-06-09
   4   might necessarily need?

   5              MR. BERLIN:    Objection, form.
   6              THE WITNESS:    Okay.   Dr. Duggan stated
   7   that his measure of damages is the difference

   8   between what the government actually paid and what
   9   the government would pay if Abbott had reported
  10   what he says that they, what he proposes that they

  11   should have reported as a version of average

  12   selling price.
  13              So if we're doing a damage analysis and
  14   we take the measure of damage as the difference

  15   between what the government did pay and what the

  16   government would have paid to reimburse pharmacies
  17   under Medicare and Medicaid for these drugs, then

  18   my contention is what you, my contention is

  19   twofold.

  20              When you do a damage analysis, it is

  21   incumbent upon an economist to come up with a
  22   vision of the but-for world that's grounded in




                                                              535


   1   theory and grounded in evidence that would mimic

   2   the world that would exist had Abbott reported to
   3   the government, excuse me, to the compendia the
   4   different prices that Dr. Duggan says that they

   5   should have.
   6              His assumption, not assumption, his

   7   contention is that these ingredient costs could be
   8   reduced and everybody would still stay within the
   9   program.
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                        Depo-Hughes-James-05-06-09
  10             So his measure of damages is saying,

  11   well, the government actually reimbursed this, the
  12   government's but-for reimbursement would have been
  13   that, and all I'm looking at is ingredient cost

  14   because I assume that the dispensing fees don't
  15   change.
  16             My objection has always been that when

  17   you do a damage analysis in economics, you've got

  18   to make a reasonable attempt to create, to look at
  19   a but-for world, to look at a valid vision of the
  20   but-for world.

  21             And my contention is the difference

  22   between what the government actually paid and what




                                                             536


   1   the government would have paid has got to take

   2   into account what I believe, based on everything

   3   that I've looked at and everything that I've
   4   testified to over the past two days, you've got to

   5   look at, that you've got to add to what the

   6   government would have spent in the but-for world
   7   and increase in dispensing fees.

   8             Now, your example of the MMA and the
   9   hundred six percent of ASP, it bears, whatever the
  10   savings is under the MMA, whatever the savings

  11   would be under the MMA, I think it's important to
  12   remember that, as I recall, the MMA specifically

  13   directs a review, specifically directs a review of
  14   dispensing fees to make sure that they're adequate
  15   and to alter them when they're not.
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  16               And the examples in my exhibits, which I

  17   know that we disagree about the validity of those,
  18   but the examples in there was supposed to in my
  19   mind illustrate the fact that when that review,

  20   when those surveys were done of what the actual
  21   dispensing fees were for these drugs, I'm sorry,
  22   administration fees, the administration fees had




                                                              537



   1   to rise.
   2               As that's what's happened under the MMA,

   3   it's my opinion that Dr. Duggan failed in his duty

   4   to find a valid vision of the but-for world but

   5   not taking that into account.
   6   BY MR. BREEN:

   7        Q.     But had he taken that into account,

   8   would you agree with me he would also have to take

   9   into account the program-wide savings from the
  10   changes in the formulas if any of those would have

  11   occurred?

  12        A.     No.   I mean I don't see why that's the
  13   case.

  14        Q.     So your but-for world would be a hundred
  15   six percent of ASP but you wouldn't consider how
  16   much the government would save at a hundred six

  17   percent of ASP?
  18        A.     But, again, I'm talking about what Dr.

  19   Duggan is doing, which is just looking at the
  20   drugs that he looked at.
  21        Q.     Well, no, you're not. Because you're
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                     Depo-Hughes-James-05-06-09
  22   talking about a hundred six percent of ASP, which




                                                             538



   1   Dr. Duggan didn't look at.    You're bringing that
   2   into the discussion.
   3             So if you're going to bring that into

   4   the discussion, then you don't you also have to
   5   bring into the discussion the savings the

   6   government would benefit from program-wide if they

   7   go to a hundred six percent of ASP?
   8        A.   Not if we're looking at, as Dr. Duggan

   9   proposes and as I am, the few places I'm agreeing

  10   with him, if we're looking at the difference

  11   between what the government paid for these drugs
  12   in the actual world and what the government paid

  13   for these drugs in the but-for world.

  14             That's what Dr. Duggan did, and that's

  15   what I'm commenting on and what I'm criticizing.
  16   And I don't see any reason to bring in possible

  17   savings from the MMA and other areas.

  18        Q.   One of your areas of expertise is law
  19   and economics; correct?

  20        A.   Yes, sir.
  21        Q.   And you explained very well yesterday
  22   the two I guess fields or subfields.




                                                             539



   1             One has to do with just studying our

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   2   economies and whether laws improve as they become
   3   more economically efficient due to experience;
   4   correct?

   5        A.     Correct.
   6        Q.     The common law contract is probably one

   7   of the best examples of that.
   8        A.     Yes.    That's one of the ones that you
   9   use as an example when you teach the class, yes.

  10        Q.     And there's nothing unnoble or illegal
  11   about breaching our contracts in this country as

  12   long as we pay the consequences; correct?

  13        A.     Never really thought about it that way,
  14   but, yeah, as long as you pay the consequences.

  15        Q.     Isn't that one of the theories of

  16   contract damages, that if I'm in a contract, if I

  17   have a contract with Mr. Berlin here that I'm
  18   going to bring him his lunch for five bucks, all

  19   right, and somebody else offers me $10 to bring

  20   him lunch.    And if I don't bring Mr. Berlin lunch

  21   and he has to send somebody else down to get it,
  22   it's going to cost him six, I can make an economic



                                                             540



   1   analysis.    I'll pay him the $6 damages, he's
   2   whole, and I'll make an extra four bucks from
   3   somebody else who wants me to go get them their
   4   lunch; right?

   5        A.     Sure.
   6        Q.     So economically I'm more efficient now;

   7   right?

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   8        A.   Yes, the breach was sufficient.
   9        Q.   And Mr. Berlin has been made whole.
  10        A.   Okay.

  11        Q.   Is that the kind of thing that the one
  12   field of law and economics would study, that type

  13   of concept?
  14        A.   Yes, yes.
  15        Q.   Now let's go to the other side of law

  16   and economics.
  17             Doesn't law and economics study from a

  18   macro-economic perspective and a micro-economic

  19   perspective how our laws act as barriers to what
  20   otherwise would be expected behavior based upon

  21   economic incentives?

  22        A.   I know what you're saying.    I don't know




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   1   that I would put it quite that way.    I would put

   2   it a little bit differently, and you may or may

   3   not agree that it's the same.
   4             But markets, especially free markets,
   5   with their prices and, I'm sorry, in free markets

   6   prices are information.    Well, actually in

   7   monopolized markets prices are also information,
   8   and those prices create incentives and changes in
   9   prices change incentives.
  10             Another big incentive creator in our

  11   society is the law, that the law by promoting
  12   certain behavior, constraining other behavior,

  13   creates incentives.    And economists, law and

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  14   economics economists, tend to apply this analysis
  15   of how changes in price affect people's incentives
  16   apply the same analysis to the law, how changes in

  17   law would also change people's incentives.
  18             So that's my restating to you what I

  19   think, I kind of gather we're on the same page.
  20        Q.   I think we're saying the same thing, but
  21   let me give you an example.

  22        A.   Okay.



                                                             542



   1        Q.   Let's say that Mr. Berlin and I are the
   2   only two lawyers in Podunk, okay.    Every time

   3   there's a lawsuit, he's got one side and I've got

   4   the other, no matter what it is.    He's charging

   5   two hundred bucks an hour and I'm charging a

   6   hundred seventy-five bucks an hour.
   7             And then the guy comes to me, the first

   8   guy that wants, and he says look, Berlin's going

   9   to do it for a hundred seventy-five, will you go
  10   down to a hundred fifty.   Then the next thing they
  11   go to him and go Breen will do it for a hundred

  12   fifty, will you do it for a hundred twenty-five.

  13             So isn't the most economically efficient
  14   thing for us to do, logical incentive, is me and
  15   him to sit down and say look, let's just have an
  16   agreement, I won't go under two hundred and you

  17   don't either?   I mean that would be economically
  18   logical; right?

  19        A.   It wouldn't be legal.

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  20        Q.    I'm not talking law. I'm talking
  21   economics.
  22              There's nothing in economics that says




                                                              543


   1   we can't do that; is there?

   2        A.    Well, except in economics we do tend to

   3   have people follow the law.
   4              But let's just put it differently.   I
   5   would agree with you, you would certainly have the

   6   incentive to do that, yes.

   7        Q.    Okay.   There would be a normal economic
   8   incentive for us to sit down and do the logical

   9   thing, which is to fix prices; right?

  10        A.    Okay.

  11        Q.    Now, as you correctly said, we would be

  12   the former two lawyers in Podunk because we'd both
  13   be in the slam if we did that, okay.

  14        A.    Okay.

  15        Q.    We would be jailhouse lawyers.   What a
  16   thought.
  17              What law are you aware of that would

  18   stop us from doing the rational economic thing and

  19   that is agree that lawyers in Podunk will charge
  20   no less than two hundred bucks an hour?
  21        A.    The Sherman Act.
  22        Q.    Sherman Antitrust Act.   Do you know when




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                        Depo-Hughes-James-05-06-09
   1   that was passed?

   2        A.   1898.
   3        Q.   1898, okay.
   4             Prior to 1898, price fixing and

   5   monopolies were normal, relatively normal economic
   6   conduct; correct?
   7        A.   Yes.

   8        Q.   All right.    Now, prior to 1898, would

   9   the economists have said there's anything wrong,
  10   would the economists have advised the business
  11   against monopoly saying there's something wrong

  12   with it economically?

  13        A.   Well, prior to 1898, I don't know that
  14   we really had people that were called economists.

  15   They were social philosophers at the time.

  16             But would economists have said there was

  17   anything wrong with that kind of price fixing?

  18             Well, let me put you in the realm of
  19   what I can comment on, that if you took an

  20   economist like me from the twenty-first century

  21   and went back to 1870 and somebody said well,
  22   we're going to fix prices, my advice to them would




                                                                545


   1   be that that's not a socially acceptable activity.

   2   It's privately rational for the two of you, but it
   3   is going to cause harm to the rest of society.      So

   4   it's something that you should not be doing.
   5        Q.   So today in our modern world is there
   6   some standard in economics or method or rule that
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   7   indicates the economist is supposed to tell

   8   business consulting clients, for example, what
   9   socially economically proper conduct would be?
  10             MR. BERLIN:    Objection, form.

  11             THE WITNESS:    I don't work in that realm
  12   of management consulting.
  13             I would like to think that there is, but

  14   my guess more often, my guess is more likely that

  15   it's, that such advice is couched in terms of, as
  16   you say, you're all going to wind up in the
  17   slammer if you do that.    But I don't know

  18   specifically what management consulting economists

  19   might say in such a situation.
  20                   (Deposition Exhibit Hughes 012 was

  21   marked for identification.)

  22   BY MR. BREEN:




                                                              546


   1        Q.   All right.    Could you look at Exhibit 4,

   2   Exhibit 12 actually, which is, here we go again,

   3   which is your Exhibit 4 from your report.
   4   (Document tendered to the witness.)

   5        A.   Okay.
   6        Q.   These are the charts that you were
   7   looking at with Mr. Lavine yesterday; right?

   8        A.   Correct.
   9        Q.   I've got a yellow sticky on one of them,

  10   and I've put it on Mr. Berlin's also, or we did.
  11             MR. BERLIN:    Thank you.
  12   BY MR. BREEN:
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  13        Q.   And that's the one for vancomycin, one

  14   gram vial.   Do you see that?
  15        A.   Yes.
  16        Q.   Now, look at the 1995 timeframe there.

  17        A.   Okay.
  18        Q.   I'll ask, when you did this chart were
  19   you aware in late March of '95 Abbott reported a

  20   price that resulted in an AWP being published at

  21   $17.81 for that drug?
  22        A.   No.    I'm not aware of that specifically.



                                                               547



   1        Q.   And then in May of that year, it

   2   increased its report to $32.95, which resulted in
   3   an AWP of $39.13.

   4             Did you know that?

   5        A.   I knew that there was some fluctuation

   6   in the price in that timeframe.
   7        Q.   And then later in May, that same month,

   8   it raised its price reports to cause an AWP of

   9   $62.86.
  10             Did you know that?

  11             MR. BERLIN:    Objection, form.
  12             THE WITNESS:    In general terms, yes.
  13   BY MR. BREEN:

  14        Q.   And then by 2001 it raised the AWP all
  15   the way up to $76.42.

  16             Did you know that?
  17        A.   Again, in general terms, yes.
  18             MR. BERLIN:    I'm sorry.   Same objection.
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  19   BY MR. BREEN:

  20        Q.    But do you know that during that period
  21   of time its actual price fell from around twelve
  22   bucks to IV pharmacies, small ones like Ven-a-




                                                             548



   1   Care, all the way down to about four bucks?
   2              MR. BERLIN:    Objection, form.

   3              THE WITNESS:    Again, I understand that

   4   the price did fall in that period, the selling
   5   price did fall in that period.

   6   BY MR. BREEN:

   7        Q.    And your opinion is that all those price

   8   fluctuations are explained by the Consumer Price
   9   Index; right?

  10        A.    Well, again, what I did in this graph is

  11   I took the price announcements, the annual price

  12   announcements, that Abbott gave for direct price
  13   and assumed that that was the direct price that

  14   held throughout the period until the next direct

  15   price announcement.
  16        Q.    So your assumption would be wrong for

  17   1995 if the prices I gave you are correct?
  18        A.    If the information that you gave me was
  19   correct, it's not reflected in this graph,

  20   correct.
  21        Q.    As a matter of fact, the graph doesn't

  22   reflect the price at all.     It just reflects the




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   1   price in relationship to the Consumer Price Index;

   2   correct?
   3              MR. BERLIN:    Objection, form.

   4              THE WITNESS:    Yes.   It's a price index.
   5   So that it's in effect the cumulative percentage
   6   change in the price from 1991, yes.

   7   BY MR. BREEN:
   8        Q.    Do you think it's socially economically

   9   proper for a drug company to report an average

  10   wholesale price of $76.42 when it's selling the
  11   drug for four bucks and report that its price goes

  12   up every year when in fact in truth the price goes

  13   down every year?

  14              MR. BERLIN:    Objection, form.
  15              THE WITNESS:    I don't have an opinion

  16   regarding this drug because, again, I haven't

  17   examined this or taken any opinion on whether

  18   Abbott's announced prices were appropriate,
  19   competitive, anti-competitive, or fraudulent

  20   because I'm accepting the allegations in the

  21   complaint as being true.
  22   BY MR. BREEN:




                                                               550


   1        Q.    Well, I'm trying to understand what this

   2   whole Consumer Price Index chart means then.
   3              How is it relevant to your opinions?

   4        A.    Just that exactly what is stated in the

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   5   report that the Abbott price announcements for
   6   these products were annual and tended to increase
   7   in line with the CPI for medical care.

   8          Q.   Well, why would Abbott increase its
   9   price for a drug every year, its reported price

  10   for a drug every year, when in fact its actual
  11   price is dropping?
  12               MR. BERLIN:    Objection, form.

  13               THE WITNESS:    I am not privy to what
  14   Abbott's pricing strategies are, so I could not

  15   tell you.

  16   BY MR. BREEN:
  17          Q.   I mean in normal economics, isn't a

  18   company better off publishing a lower price than a

  19   higher price?

  20          A.   I don't think it's unusual for companies
  21   to raise list price and then to increase discounts

  22   from the list price.      I don't find that unusual at




                                                                551


   1   all.
   2          Q.   You did some expert work in the

   3   automobile retail side of things; didn't you?

   4          A.   Yes.
   5          Q.   How many sticker prices on automobiles
   6   have you ever had experience with that were more
   7   than ten times the actual selling price of the

   8   vehicle to the consumer?
   9               MR. BERLIN:    Objection, form.

  10               THE WITNESS:    Number of automobile

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                      Depo-Hughes-James-05-06-09
  11   stickers that the sticker price was ten times the
  12   actual selling price to the --
  13   BY MR. BREEN:

  14        Q.     To the consumer, ten times.
  15               MR. BERLIN:    Same objection.

  16               THE WITNESS:    Ten times, I have not seen
  17   any like that.
  18   BY MR. BREEN:

  19        Q.     Five times?
  20               MR. BERLIN:    Same objection.

  21               THE WITNESS:    Not that I can think of.

  22   BY MR. BREEN:



                                                                  552



   1        Q.     Now, getting back to your charts, they

   2   all show this huge drop-off in 2001.

   3               Do you see that?
   4        A.     Yes.

   5        Q.     What's that about?

   6               MR. BERLIN:    Objection to form.
   7               MR. BREEN:    What's wrong with that
   8   question?

   9               MR. BERLIN:    What's up with that?

  10               MR. BREEN:    That wasn't my question.    I
  11   said "What's that about," What is that about.        And
  12   that is a good question.
  13               MR. BERLIN:    I wish you would just ask

  14   "What's up with that."
  15               You can answer that if you can.     Go

  16   ahead.

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  17             THE WITNESS: Again, I'm not privy to
  18   Abbott pricing strategy, and so I don't know
  19   exactly why that happened.

  20   BY MR. BREEN:
  21        Q.   But you know what happened, don't you,

  22   because somebody had to have told you by now.      So



                                                               553



   1   what do you know about it?
   2             MR. BERLIN:    Objection, form.

   3             THE WITNESS:    Abbott chose to adjust its

   4   prices is the extent of what I know, that Abbott
   5   made a choice to adjust its prices.

   6   BY MR. BREEN:

   7        Q.   When did you first find out about this

   8   huge drop-off in Abbott prices on the drugs at

   9   issue in this case?
  10             MR. BERLIN:    Objection, form.

  11             THE WITNESS:    I don't know exactly, but

  12   I would say relatively early on.
  13   BY MR. BREEN:
  14        Q.   Did you know it before you graphed it

  15   out, or did somebody come and tell you?

  16        A.   I had seen graphs like this, well, I had
  17   seen the pricelist, so I don't think, no, nobody
  18   ever came and told me.    So I guess I must have
  19   come across it on my own.    I don't remember

  20   specifically.
  21        Q.   Did you ask anybody, well, what

  22   happened, how did your prices drop so

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                                                               554


   1   precipitously all of a sudden?

   2             MR. BERLIN:     Objection, form.
   3             THE WITNESS:     Well, the only one I would
   4   have had to ask is counsel, and they're not a good

   5   source, I mean they're not my source for

   6   information.
   7             So I just, I seem to remember something
   8   from the Sellers deposition that he said they made

   9   a decision to bring direct prices more in line

  10   with selling prices, if I'm recalling his
  11   testimony correctly.

  12   BY MR. BREEN:

  13        Q.   Is it your testimony that you did not

  14   have a discussion about this with counsel?

  15        A.   No, not really, no.
  16        Q.   Okay.   So --

  17        A.   Because I mean it doesn't affect my

  18   opinion in the sense that Dr. Duggan is going to
  19   do the same thing with the AWP that results from
  20   these direct, from the lower direct prices that he

  21   did with the higher direct prices.

  22             So the criticism of, all of the



                                                               555



   1   criticisms that I made of Dr. Duggan's work is not
   2   affected by whether there's a sudden drop in the
   3   direct price reported by Abbott.
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   4         Q.   Do you know Professor Louis Rossiter?

   5         A.   I know the name, yes.
   6         Q.   Do you know he's another expert for
   7   Abbott in this case?

   8         A.   If you tell me he is, then I'll take
   9   your word for it, but I don't know him.
  10         Q.   Professor Louis Rossiter is another

  11   expert for Abbott in this case.

  12         A.   Okay.
  13         Q.   And he's a well-known economist; isn't
  14   he?

  15         A.   Yes, I would say so.

  16         Q.   Used to be the Secretary of Health &
  17   Human Resources for the State of Virginia; wasn't

  18   he?

  19         A.   Not to my knowledge, but I'll take your

  20   representation.

  21         Q.   Used to be the Secretary of Health &
  22   Human Resources for the State of Virginia in 2001.




                                                              556


   1   Did you know that?

   2         A.   Well, since I didn't know that he had
   3   the position --
   4         Q.   Fair enough.   Take my representation, in

   5   2001.
   6         A.   Okay.

   7         Q.   And, according to Professor Rossiter,
   8   this big price drop that occurred with the Abbott
   9   drugs, brought the reported AWPs down within the
                               Page 210
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                       Depo-Hughes-James-05-06-09
  10   range of the Duggan alternative prices.

  11             Do you disagree with that?
  12        A.   I don't know what Dr. Rossiter has
  13   testified to.

  14        Q.   All right.    Let me ask the question:
  15   Isn't it true that Abbott's price reductions
  16   resulted in the reported average wholesale prices

  17   coming down to within a range that was close to

  18   the Duggan alternative price that he got to when
  19   he added the twenty-five percent on to the average
  20   contract price?

  21             MR. BERLIN:    Objection, form.

  22             THE WITNESS:    I mean without looking at




                                                             557


   1   it, if you represent it that way I'll take it.

   2   But I don't have any specific knowledge that

   3   that's true.
   4   BY MR. BREEN:

   5        Q.   Well, if you hold up this chart, they

   6   sure had to get a lot closer, didn't they, if they
   7   dropped off that much in that timeframe?

   8        A.   Sure.    But that wasn't your question.
   9             I don't know how close is close.    Did
  10   they get closer?    I'll agree with you on that.

  11        Q.   Okay.    So what do you think it did to
  12   the EAC calculations were based on Abbott's

  13   average wholesale prices for the drugs at issue in
  14   this case when Abbott lowered its price reports?
  15        A.   The EAC calculations would have been
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                       Depo-Hughes-James-05-06-09
  16   reduced.

  17        Q.    And please tell us how many states
  18   increased dispensing fees for the drugs in
  19   question as a result of that.

  20        A.    Specifically as a result of the change
  21   for Abbott, I'm not aware of any.
  22        Q.    How many pharmacies or physicians left




                                                              558



   1   the Medicaid program or ran out of business
   2   because of that?

   3        A.    I don't know of any.

   4        Q.    How many major competitors does Abbott

   5   have for its liter bag saline solution and what
   6   have you, for its fluids?

   7        A.    A handful, you know.

   8        Q.    How about two, Baxter and McGall Braun?

   9   Does that sound about right?
  10        A.    Are you telling me there's nobody else

  11   that makes those things?

  12        Q.    I'm asking if that sounds right.
  13              MR. BERLIN:    Objection, form.

  14              THE WITNESS:    It doesn't sound right to
  15   me, no.
  16   BY MR. BREEN:

  17        Q.    Okay.   Who else makes them?
  18        A.    Others.   I don't have the names

  19   memorized.
  20        Q.    Did you know that Baxter and McGall
  21   Braun did?
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  22        A.     I knew that Baxter did, yes.




                                                             559



   1        Q.     Now, do you know whether or not the
   2   government, the United States, would have pursued
   3   a false claims case against Abbott if it would

   4   have reported prices that were generally
   5   consistent with the prices that moved down to in

   6   the 2000, 2001 timeframe?

   7               MR. BERLIN:    Objection, form.
   8               THE WITNESS:    I have no idea what the

   9   intent of the U.S. government would have been in

  10   that regard.

  11   BY MR. BREEN:
  12        Q.     So what happened in the infusion

  13   pharmacy market -- well, strike that.

  14               When Abbott reduced its prices, price

  15   reports, as reflected on your charts here, there's
  16   a big drop-off --

  17        A.     Uh-huh.

  18        Q.     -- do you know that after Abbott did
  19   that, it sold its Hospital Products Division or

  20   spun it off and became a company known as Hospira?
  21               MR. BERLIN:    Objection, form.
  22               MR. BREEN:    What's wrong with that




                                                             560



   1   question?

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                      Depo-Hughes-James-05-06-09
   2             MR. BERLIN: You make it sound like the
   3   two were related and you said after which has no
   4   temporal context.

   5             MR. BREEN:    It is temporal.   It happened
   6   after.

   7             MR. BERLIN:    Did you know that after the
   8   birth of Christ they built the Golden Gate bridge?
   9             I mean having it in the same sentence

  10   sounds like there's a causal connection.
  11             MR. BREEN:    All right.   I'm going to fix

  12   this question.

  13   BY MR. BREEN:
  14        Q.   Do you know that Abbott reported lower

  15   prices in the 2000, 2001 timeframe, question mark?

  16        A.   Yes.

  17        Q.   Do you know that Abbott spun off its
  18   Hospital Products Division at some point after

  19   2001, question mark?

  20        A.   Yes.

  21             It's my understanding that they sold the
  22   Hospital Products Division, as I stated in my



                                                               561



   1   report, in mid 2004.
   2        Q.   And do you know that Hospira lowered the
   3   reported prices even more?
   4        A.   I was not aware of that.     That's beyond

   5   the timeframe for this work.
   6        Q.   All right.    Are you aware of anybody,

   7   any provider, that has left the Medicaid provider

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                      Depo-Hughes-James-05-06-09
   8   realm since 2001?
   9        A.     I don't know specifically anyone, no.
  10        Q.     Do you know generally?

  11        A.     I don't know generally one way or the
  12   other.

  13        Q.     Do you know of any studies that show
  14   that providers are leaving the Medicaid program
  15   since 2001?

  16        A.     I am not aware of any such studies, no.
  17        Q.     Now, do you know who the brand

  18   manufacturer, the innovator of vancomycin was?

  19        A.     I believe it was Abbott.
  20        Q.     How about Eli Lilly?

  21        A.     Oh, right.    I'm sorry.   I'm thinking of

  22   a different drug.




                                                                562


   1               Eli Lilly was the innovator.      That's

   2   right.    I'm sorry.

   3        Q.     Are you thinking perhaps erythromycin?
   4        A.     Correct.
   5        Q.     Abbott was the branded innovator.

   6        A.     Was the branded innovator, yes.

   7        Q.     As an economist, how much should, in
   8   your but-for world, how much should the states
   9   have increased their dispensing fees for the drugs
  10   in question when Abbott reduced its price reports

  11   in the 2000, 2001 timeframe?
  12               MR. BERLIN:    Objection, form.

  13               THE WITNESS:    I've not done calculation

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                      Depo-Hughes-James-05-06-09
  14   or the surveys or anything that would need to be
  15   done to ascertain that.     So I don't know.
  16   BY MR. BREEN:

  17        Q.    But it's your opinion they should have;
  18   right?

  19        A.    It's my opinion that pharmacies would
  20   have found the reimbursements in line with Dr.
  21   Duggan's reimbursements to be unremunerative.

  22        Q.    My question is how much should they have



                                                              563



   1   increased their dispensing fee for the Abbott
   2   drugs when Abbott reported lower prices in the

   3   2000, 2001 timeframe, according to your opinion?

   4              MR. BERLIN:    Same objection.

   5              THE WITNESS:    Again, I don't have a

   6   number.   I have not done the calculation.
   7              But we have seen what the administration

   8   fees were increased by under the MMA, which was a

   9   substantial amount.
  10   BY MR. BREEN:
  11        Q.    Well, let's talk about Medicaid now.

  12              You've already said that you're aware

  13   that the states were already increasing
  14   administration fees.     You just don't know when or
  15   where or who.
  16              So do you even know if it was necessary

  17   to increase them any more in the post-2000
  18   timeframe in connection with the Abbott drugs?

  19        A.    Well, again, under Medicaid and under

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  20   the DRA, states were supposed to review them and
  21   states did undertake the review, Texas undertook a
  22   review that here's what we need to do if the DRA




                                                             564


   1   goes through.

   2              The DRA didn't end up being implemented

   3   as yet, but yet the states were undergoing
   4   precisely those reviews and at least in the case
   5   of Texas were making such determinations.

   6        Q.    Okay.   Well, when it came to IV

   7   pharmacy, how many states that had already
   8   increased their dispensing fees conduct a review

   9   and said we have to increase them more?

  10        A.    I don't know the answer to that.

  11        Q.    So let me get this straight.   Let's

  12   assume that the dispensing fees for a particular
  13   state are adequate, according to your whatever you

  14   would decide would be adequate, we'll make you the

  15   Zarr, the Medicaid Zarr, and dispensing fees are
  16   adequate at a certain point in time.
  17              Abbott decides though that they're going

  18   to increase their price reports a thousand

  19   percent.   So that their AWP is a thousand percent
  20   higher than the actual selling price generally and
  21   currently paid in the marketplace for the drug.
  22        A.    A thousand percent, but it may be $2 or




                                                             565


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                        Depo-Hughes-James-05-06-09
   1   $3 that we're actually talking about.

   2        Q.    Well, maybe it's $2 or $3, but when you
   3   do infusion pharmacy how many, don't you have to
   4   use these bags of solutions every time you give a

   5   prescription?
   6        A.    It's my understanding it's close to that
   7   at least, yes.

   8        Q.    So it's $2 to $3 on the bag and then

   9   whatever it is on the actual drug that goes in the
  10   prescription; correct?
  11              MR. BERLIN:    Objection, form.

  12              THE WITNESS:    The drug that goes in the

  13   prescription?    I'm not sure what --
  14   BY MR. BREEN:

  15        Q.    Let's say it's vancomycin.

  16        A.    Okay.

  17        Q.    Let's say that the inflated

  18   reimbursement is $10 on the bag of fluids and $100
  19   on the vancomycin.

  20              MR. BERLIN:    Objection, form.

  21   BY MR. BREEN:
  22        Q.    Every time the vancomycin is




                                                              566


   1   administered, you need another bag of fluids;

   2   correct?
   3        A.    Correct.

   4        Q.    Anyway, so let's say that Abbott decides
   5   to report higher prices that results in a higher
   6   AWP one year, and then the next year it decides
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   7   no, we're going to lower them, we're going to

   8   report prices that are consistent with our market.
   9               Is it your testimony that that, those
  10   two decisions by Abbott to raise it and then lower

  11   it again, will somehow cause the Medicaid programs
  12   to have to pay a higher dispensing fee?
  13        A.     I'm not addressing the raising and then

  14   lowering, but I was addressing the lowering to

  15   levels commensurate with what Dr. Duggan has
  16   proposed.
  17        Q.     Well, when you say lowering the levels

  18   commensurate with what Dr. Duggan has proposed, is

  19   it your opinion that Dr. Duggan's proposal is not
  20   consistent with the regulation that required

  21   estimation of acquisition cost based upon prices

  22   generally and currently paid in the marketplace?




                                                             567


   1        A.     I haven't reached an opinion on that.

   2               But I am saying that the total

   3   reimbursement is being reduced to a level that
   4   threatens the access by Medicaid patients to

   5   healthcare services to approximately the same
   6   degree that those services are available to
   7   nonMedicaid patients.

   8        Q.     That's your opinion?
   9        A.     Yes.

  10        Q.     But you don't have one scintilla of
  11   quantitative evidence that you've actually
  12   developed yourself or reviewed that somebody else
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  13   did relating to the drugs at issue in this case

  14   that supports that opinion; do you?
  15             MR. BERLIN:    Objection, form.
  16             THE WITNESS:    Again, I disagree.

  17             For example, the Myers & Stauffer
  18   reports speak to the inadequacy at existing levels
  19   of EAC in the dispensing fees for pills and

  20   tablets and then go on to say that this problem is

  21   going to be worse for infusion drugs, which are
  22   the drugs like the drugs that are at issue in this



                                                             568



   1   case, and in those situations even at current

   2   levels of EAC the dispensing fees are even more
   3   inadequate than they are for pills and tablets.

   4   BY MR. BREEN:

   5        Q.   Okay.   So for the vancomycin again on

   6   Exhibit 4, your Exhibit 4, Deposition Exhibit 12,
   7   forgetting the twenty percent range between an

   8   actual WAC and an average wholesale price,

   9   forgetting that range, how much are the states
  10   going to have to increase dispensing fees on

  11   vancomycin, Abbott's vancomycin, as a result of
  12   Abbott reporting prices that are closer to market
  13   based upon the studies you have reviewed?

  14        A.   There was not numbers given in the
  15   studies that I reviewed.

  16        Q.   Okay.   So my question then is if you're
  17   going to criticize Dr. Duggan's claim-by-claim
  18   drug-by-drug NDC-by-NDC specific damages model,
                               Page 220
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  19   then can you point to any specific quantitative

  20   evidence that an economist would utilize to
  21   determine how much in your alternate world the
  22   Medicaid programs are going to, according to you,




                                                             569



   1   increasing dispensing fees on vancomycin based
   2   upon Abbott's reporting lower prices?

   3        A.   Again, to come to the opinions that I

   4   came to in my report, I relied on the testimony
   5   and the evidence in the reports that the people

   6   who know the state Medicaid systems better than I

   7   do, better than Dr. Duggan does, better than you

   8   do, the people who are actually having to make the
   9   rules day in and day out, had stated that if you

  10   have drastic reductions, or even not drastic

  11   reductions, if you had significant substantial

  12   reductions in ingredient cost, you will also have
  13   to worry about what's happening on the dispensing

  14   fee side, lest you have problems with access.

  15             And your expert, Dr. Schondelmeyer, says
  16   exactly the same thing in his California report.

  17   That reductions in the ingredient cost, modest
  18   though they were compared to Dr. Duggan's
  19   reduction in ingredient costs, the reductions in

  20   ingredient costs in California were going to
  21   require increases in dispensing fees, or else, I

  22   believe in Dr. Schondelmeyer's words, you were




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   1   going to have problems with access to the Medi-Cal

   2   system.
   3        Q.   Did you actually read Dr.

   4   Schondelmeyer's report in that California case?
   5        A.   I believe I did, but --
   6        Q.   Wasn't he talking about the proposed ten

   7   percent across the board reduction for all drugs?
   8        A.   He was talking about a reduction for all

   9   drugs, yes.

  10        Q.   Including branded drugs?
  11        A.   Yes.

  12        Q.   Didn't he really say that if you're

  13   going to take ten percent away from the

  14   reimbursement for branded drugs, you're going to
  15   wind up putting the pharmacist in a position where

  16   he's not going to be able to, he's going to be

  17   substantially in the red for the branded drugs

  18   because he doesn't have that much margin on them?
  19        A.   If you reduce ingredient cost, yes,

  20   you're going to put the pharmacist into the red.

  21        Q.   And wasn't he talking about the
  22   approximately eighty percent of the dollars that




                                                             571


   1   are spent by Medicaid on branded drugs?

   2        A.   Well, he was talking about all drugs.
   3   And, yes, eighty percent of the dollars are spent

   4   on branded drugs.

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                        Depo-Hughes-James-05-06-09
   5        Q.     And wasn't the problem that because
   6   eighty percent of the dollars are spent on branded
   7   drugs, if you take the pharmacist's, ten percent

   8   away from the pharmacist, then he's going to wind
   9   up not having enough money to even pay for the

  10   branded drugs and be substantially in the red?
  11        A.     Yes, sure.
  12        Q.     And didn't he say that if you apply that

  13   to pharmacies that are treating a large proportion
  14   of the poor, heavy Medicaid pharmacies, rural

  15   pharmacies, inner-city pharmacies, that you may

  16   put them out of business because if you take away
  17   ten percent of their ingredient cost on the

  18   expensive brands, they may not have enough money

  19   to stay in business?

  20        A.     Yes.    That's what he's saying.
  21               But, again, the general point and the

  22   general point of my criticism is, as I say exactly




                                                              572


   1   in my report, you cannot deal with ingredient cost
   2   and dispensing fees as two separate things.

   3               You have to deal with them together to

   4   make sure that reimbursements are remunerative to
   5   the provider or else you're going to have access
   6   problems.
   7        Q.     Okay.    Now, I understand that's your

   8   point, but let's get back to the case that we're
   9   here on and the drugs that we're here on and the

  10   conduct that we're here on under the False Claims

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  11   Act.
  12               You come to the conclusion that you've
  13   got to look at all the different factors that

  14   would occur in this alternate world if
  15   reimbursement was based upon lower reported

  16   prices.
  17               What area of economics tells you to do
  18   it that way?

  19          A.   As I said several times over the past
  20   couple of days, as in the paper by Dr. Blair that

  21   I cite to in my report, is that when you're

  22   constructing a but-for world you need to construct



                                                              573



   1   a but-for world that has a theoretical and

   2   evidentiary basis that mimics as closely as

   3   practicable the world that would exist absent the
   4   alleged wrongful behavior.

   5               Specifically, damages in antitrust

   6   matters can be considered speculative if all that
   7   you change is just the price.
   8               If all that you change is just the price

   9   and you don't take into account any benefits that

  10   might have been conferred on the injured party to
  11   offset the, in offset of the harm that was done to
  12   the injured party, then those damages, according
  13   to Dr. Blair, would be considered speculative.

  14               So when one does damages analysis, it's
  15   not enough to just change the price and say

  16   everything else stays the same because prices give

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                      Depo-Hughes-James-05-06-09
  17   incentives, and people change their behavior when
  18   prices change.
  19              So based on that, I am saying about Dr.

  20   Duggan's report is that you can't just change the
  21   price and nothing else, that you have to look at

  22   and try to quantify the other changes that are



                                                             574



   1   likely to occur in the but-for world that you're
   2   proposing.

   3        Q.    So my old contract example where Mr.

   4   Berlin says he'll give me five bucks if I go and
   5   get him lunch and I don't do it, it'll cost him

   6   six bucks to go get his lunch, what are his

   7   damages?

   8        A.    He's given you five bucks and he's had

   9   to pay six.   So he's been damaged by the
  10   difference.

  11        Q.    But what if the lunch he wanted me to go

  12   get turns out to have salmonella and he went
  13   someplace else to get his lunch, do I now get to
  14   offset the salmonella that he otherwise would have

  15   had had I gotten his lunch?

  16        A.    I have no idea what this hypothetical
  17   has to do with my opinion, and I actually don't
  18   have an opinion about your hypothetical.
  19        Q.    All right.   What if a retired person

  20   gets her Social Security check every month and
  21   uses $50 to buy lottery tickets and they always

  22   lose.   But one month as soon as they cash it, they

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   1   get robbed.

   2               Would their damage include the fifty
   3   bucks they usually use to buy lottery tickets that
   4   they normally lose --

   5               MR. BERLIN:    Objection, form -- I'm

   6   sorry.
   7   BY MR. BREEN:
   8          Q.   -- in your but-for world or your concept

   9   of speculative antitrust damages?

  10               MR. BERLIN:    Objection, form.
  11               THE WITNESS:    If somebody -- well, first

  12   of all, being robbed is criminal.      So I'm not

  13   quite sure where we're going with this.

  14               But if somebody is robbed of $100, they

  15   in restitution would expect $100 back.
  16   BY MR. BREEN:

  17          Q.   Even if they would have spent fifty

  18   bucks, they would have blown the fifty bucks
  19   anyway?
  20               MR. BERLIN:    Objection, form.

  21               THE WITNESS:    I don't see any reason why

  22   not.



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   1   BY MR. BREEN:
   2          Q.   Okay.   Now, Professor Blair's article
   3   was, as you said, on speculative antitrust
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   4   damages; right?

   5        A.    Correct.
   6        Q.    What is the standard for antitrust
   7   damages?

   8        A.    According to Professor Blair, the
   9   standard is that the but-for world has to have a
  10   basis in both theory and evidence that the

  11   proposed but-for world is in fact accurate.

  12        Q.    And that's based upon what standard?
  13        A.    Well, again, you need to have a
  14   theoretical and evidentiary basis for your but-for

  15   world.

  16              Let's just take it from there.    In my
  17   opinion Dr. Duggan has certainly no evidentiary

  18   basis for his but-for world.    He's just saying I'm

  19   going to lower AWP and nothing else.

  20        Q.    Right now I'm talking about Dr. Blair

  21   and not Dr. Duggan.
  22        A.    Well, I'm talking about Dr. Duggan and




                                                              577


   1   I'm talking about my opinion.

   2              And my opinion is that the but-for world
   3   that I'm proposing has both a theoretical basis
   4   that if you don't pay people enough to cover their

   5   costs, they're not going to stay in business and
   6   they're not going to stay in the program.

   7              That's a theoretical economic basis that
   8   people who aren't making any money in the business
   9   aren't going to participate in the business
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  10   anymore.

  11              And I also have an evidentiary basis
  12   because there are numerous state Medicaid
  13   officials, there are numerous federal Medicare and

  14   Medicaid officials, there are numerous reports
  15   conducted by the government, there are numerous
  16   reports commissioned by the government, all of

  17   which point to my conclusion that a but-for world

  18   with a Draconian ninety percent reduction in
  19   ingredient cost would have to not in my opinion
  20   but in the people of people who have given

  21   evidence in this matter is that there would have

  22   to be an adjustment to dispensing fees.




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   1              So my but-for world follows along with

   2   what Dr. Blair is saying, that you need a

   3   theoretical and evidentiary basis.
   4              Dr. Duggan provides no basis for his

   5   but-for world whatsoever.   But he simply assumes,

   6   without any evidence that I am aware of that he's
   7   ever tried to put forward, that dispensing fees

   8   and access and affordability and all of that other
   9   stuff will stay exactly the same.    And that's what
  10   my criticism is.

  11        Q.    I realize you don't want to talk about,
  12   you're talking about your opinion, not Dr.

  13   Blair's, but my question was about Dr. Blair.     So
  14   let's go back to that since you're relying on him.
  15              You're relying on Dr. Blair's learned
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  16   treatise; correct?

  17          A.   Correct.
  18          Q.   And he applied his damage, his damage
  19   opinion or his damage studies to antitrust cases;

  20   correct?
  21          A.   Correct.
  22          Q.   Have you ever been an expert in an




                                                                579



   1   antitrust case?      I think you said you have.
   2          A.   Yes.

   3          Q.   Are you advised of the standards in an

   4   antitrust case for what are legal damages and what

   5   are not legal damages?
   6          A.   In the case I was involved in, it didn't

   7   come up, if you will.

   8          Q.   It didn't come up.

   9               MR. BREEN:    All right.   We've got one
  10   minute left on the tape.      Why don't we take a

  11   break and I'll try to move to another area.

  12               THE VIDEOGRAPHER:    Going off the record
  13   at 4:14 p.m.

  14                      (A recess was taken.)
  15               THE VIDEOGRAPHER:    Beginning of
  16   Videotape No. 5.      We're back on the record at 4:28

  17   p.m.
  18   BY MR. BREEN:

  19          Q.   Just to close out the last topic we were
  20   on.
  21               Professor Blair's paper was directed at
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  22   antitrust damages; correct?




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   1          A.   Correct.
   2          Q.   Did the lawyers in this case or anybody
   3   else suggest to you that the antitrust measure of

   4   damages is applicable to the civil False Claims
   5   Act?

   6          A.   No.

   7          Q.   Did you ever ask anybody what the
   8   measure of damages should be as far as the matters

   9   at issue in a false claims case?

  10          A.   No, I mean I didn't ask, I did not ask

  11   anybody, and nobody relayed that to me.
  12          Q.   So if for some reason the but-for

  13   analysis is determined by the court not to be

  14   pertinent to a False Claims Act measure of

  15   damages, do you have any other criticisms of
  16   Professor Duggan's but-for analysis?

  17               MR. BERLIN:    Objection, form.

  18               THE WITNESS:    Well, it seems to me if
  19   the court decides that but-for analysis isn't

  20   proper in a False Claims Act, then that would
  21   close the issue.
  22   BY MR. BREEN:




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   1          Q.   Now, but your but-for methodology where

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                      Depo-Hughes-James-05-06-09
   2   you, correct me if I'm wrong, but you're basically
   3   assuming that a measure of damages on a claim-by-
   4   claim basis under the False Claims Act necessarily

   5   needs to be considered in light of potential
   6   changes in the program's method of payment that

   7   might occur if that particular measure were
   8   applied program-wide?
   9        A.     Well, again, I'm basically taking the

  10   thrust of my analysis in the same way that Dr.
  11   Duggan states his, that he's calculating damages

  12   as a difference to what the government paid with

  13   the actual world AWPs and what they would have
  14   paid with the but-for AWPs that he calculates.

  15               Again, it's simply been my contention

  16   all along that that difference in government

  17   expenditure is not reducible to simply the change
  18   in the price, the change in the AWP that he

  19   proposes.

  20               That such changes, according to the

  21   testimony and the reports and the other
  22   information that I have cited numerous times over



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   1   the past couple of days, suggests that there would
   2   be other changes that would take place in
   3   reimbursements, particularly dispensing fees, that
   4   would reduce the difference between what the

   5   government paid in the actual world and what the
   6   government would have paid in the but-for world.

   7   And he doesn't take that into account.

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   8        Q.    I'm just trying to understand what this
   9   would have looked like if he would have taken it
  10   into account as you say he should have.

  11              If I understand your testimony, we're in
  12   agreement that there was no existent formulaic

  13   basis in the actual claims adjudications that he
  14   emulated to make this dispensing fee adjustment;
  15   correct?

  16        A.    Basically, yes.    But I mean there were
  17   dispensing fees that did change depending on what

  18   the ingredient cost was.

  19        Q.    Okay.
  20        A.    But aside from that, yes.

  21        Q.    So then if Professor Duggan were to have

  22   done what you say he should have done, would he




                                                             583


   1   have taken the work that he did up to this point

   2   and then looked at the but-for world where

   3   dispensing fees were different and then calculated
   4   some kind of an adjustment against his difference,
   5   his total difference that he's already calculated?

   6        A.    Well, not quite.

   7              I would imagine that in his formulas, as
   8   were laid out in his original report, that where
   9   he has differences equal to the minimum of this,
  10   that, and the other thing and then plus a

  11   dispensing fee if the basis is an EAC, MAC, or a
  12   FUL, that in there that formula would have been

  13   changed to take into account a different

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  14   dispensing fee, and then the program I presume
  15   could have proceeded apace.
  16        Q.     I want to be real clear about this

  17   because if the False Claims Act requires us to do
  18   a claim-by-claim analysis and show how the claim

  19   was paid and how the false statement that we
  20   allege made a difference internally in the claim
  21   that was paid, assume that's our first obligation,

  22   okay.



                                                                 584



   1               Are you saying that Professor Duggan
   2   should have changed the formula that the states

   3   were using when they adjudicated these claims and

   4   then changed the dispensing fee in the claim-by-

   5   claim analysis?

   6        A.     Yes.
   7        Q.     In other words, he should have not used

   8   the formula the states were using for actual

   9   adjudications but he should have written some
  10   different formula and not shown the court and the
  11   jury what the formula would have looked like that

  12   the state was actually using.       Is that what you're

  13   saying?
  14               MR. BERLIN:    Objection, form.
  15               THE WITNESS:    No.   I don't think so.
  16               The adjudication formula would still be

  17   the same.    Minimum of EAC, MAC, FULs, of course
  18   there's no FULs here, usual and customary.       With

  19   the exception of usual and customary, EAC, MAC,

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  20   FUL, plus a dispensing fee. All right.
  21             Just like he changed the AWP, have him
  22   change the dispensing fee as well to take into




                                                             585


   1   account the fact that he in some states says that

   2   he can reduce ingredient cost by ninety percent

   3   with no effect on anything.
   4   BY MR. BREEN:
   5        Q.   All right.   So you're saying then that

   6   he should have done the exact calculation he did,

   7   but he should have where he applied the dispensing
   8   fee that in fact the state applied, let's say

   9   $5.50 for argument purposes --

  10        A.   Okay.

  11        Q.   -- that he should have changed that and

  12   said it was something more?
  13        A.   He could have gone to the evidence

  14   that's available in this case about what

  15   dispensing fees should have been or what some
  16   states thought dispensing fees would need to be in
  17   certain circumstances and he could have made an

  18   estimate of what would have been a remunerative

  19   dispensing fee when the pharmacy is no longer
  20   making any margin whatsoever on the, not making
  21   any margin whatsoever on the ingredient cost
  22   anymore, to go and ask people like Ven-a-Care what




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   1   does it cost you to administer these things, go to

   2   the studies that talked about dispensing fees and
   3   how they did not match up with the actual cost of
   4   dispensing pharmaceuticals.

   5        Q.   Should he assume that the only
   6   dispensing fees that were going to change would
   7   have been for these drugs or should he assume that

   8   the dispensing fees were going to change for all

   9   drugs in Medicaid?
  10        A.   Well, since he's examining these drugs
  11   for the purposes of this study, he would have only

  12   had to look at what the dispensing fees would have

  13   done for these drugs.
  14        Q.   But is it reasonable to assume that the

  15   Medicaid program would only change dispensing fees

  16   for these drugs as opposed to all drugs?

  17        A.   Well, again, when states are directed to

  18   look at the adequacy of their dispensing fees,
  19   it's certainly my understanding that the states

  20   are free to look at dispensing fees separately for

  21   infusion drugs versus pills versus tablets.   I
  22   mean they're just supposed to review the adequacy




                                                             587


   1   of dispensing fees.

   2             Having a constant dispensing fee across
   3   pills, tablets, liquids, inhalers, infusion drugs,

   4   is less of an issue, and lots of state
   5   representatives testified that they kept
   6   dispensing fees artificially low because they knew
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   7   that providers were gaining a margin on ingredient

   8   cost and they were trying to take that back.    All
   9   right.
  10             So whether it was the same or whether it

  11   was different for the different kinds of drugs was
  12   less important because the margin that was keeping
  13   the providers in the program was coming on

  14   ingredient costs.

  15             Okay.   Now, that's pretty much gone.    In
  16   Dr. Duggan's but-for world, the margins on
  17   ingredient costs are let's say all but eliminated.

  18             And then states are directed to go out

  19   and say are your dispensing fees adequate.   And
  20   now that there's no margin on ingredient costs

  21   left by which to cushion the blow, if you will, it

  22   stands to reason it would be perfectly possible




                                                               588


   1   and perfectly permissible for states to look at,

   2   as they're directed, what it's actually costing

   3   pharmacies to fill these prescriptions, and it's
   4   perfectly reasonable to think that they would come

   5   up with, that they could come up, with a
   6   dispensing fee that may be the same across all
   7   drugs or it may differ for counting pills and

   8   tablets as opposed to compounding, mixing, and
   9   administering an infusion drug.

  10        Q.   Do you know Professor Helms?
  11        A.   No.
  12        Q.   Another one of the experts in this case
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  13   for Abbott.

  14        A.    Never heard of him until this moment.
  15        Q.    Dr. Helms actually.
  16              Used to be the Assistant Secretary of

  17   Health & Human Services back in the late '80s
  18   under Ronald Reagan.
  19        A.    Okay.

  20        Q.    Would you agree with him if he said that

  21   it was too speculative for an economist to
  22   determine what a dispensing fee would be, what an



                                                             589



   1   adequate dispensing fee would be?

   2        A.    The record is replete with studies that
   3   go state by state and say what adequate dispensing

   4   fees would be.

   5              They've done surveys under the MMA that

   6   give us what the government considers adequate
   7   dispensing fees to administration fees to be.

   8              So I would have to not agree with him

   9   because I think people actually do it.
  10        Q.    Okay.   Getting back to my question

  11   though which I don't think you ever answered.
  12        A.    No.   Your question was would I agree
  13   with his statement that it was too speculative to

  14   come up with a dispensing fee.
  15        Q.    That wasn't the question you didn't

  16   answer.   The one before that you didn't answer, so
  17   I'm going to ask it again.
  18              As far as Professor Duggan's methodology
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  19   goes, would it have made any difference to you if

  20   it had said the normal dispensing fee in Florida
  21   is $5 and I think it would have been $10 under
  22   this but-for world and put the calculation in each




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   1   claim, that's one way.
   2               Or the other way would be do exactly

   3   what he did and then figure out the number of

   4   claims and figure out a differential per claim for
   5   dispensing fee and apply it there and then just

   6   offset the two totals.

   7          A.   Sitting here as the way that you've

   8   explained it, it doesn't sound to me like those
   9   are different calculations.

  10          Q.   It would be presented in two different

  11   ways; correct?

  12          A.   Right, uh-huh.
  13          Q.   Did you try to do that?

  14          A.   No.

  15          Q.   Are you capable of doing that?
  16          A.   I'm capable of multiplying and adding,

  17   yes.
  18          Q.   Did you have sufficient information
  19   provided to you in this record to come to an

  20   opinion as to what a reasonable differential in
  21   dispensing fees would have been?

  22          A.   I had not come to any conclusion about




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   1   what a reasonable differential in dispensing fees

   2   would be.
   3               But since Dr. Duggan is so fond of

   4   talking about standard practice in economics, a
   5   standard practice in economics is something called
   6   sensitivity analysis.

   7               So you can give the reader an idea, say
   8   I don't know what states might have done for

   9   dispensing fees exactly, but it's my opinion that

  10   the dispensing fees would have had to go up.
  11               So let's take from the record, from

  12   reports by Myers & Stauffer, which Dr. Duggan has

  13   relied upon, let's take from changes that have

  14   actually taken place in states, let's take, I know
  15   you don't like this, but let's take the changes in

  16   administration fees that have happened under the

  17   MMA, and let's take a couple of different ones of

  18   these and figure out what the difference is and
  19   see what that offset would be and say that I

  20   understand the general principle that dispensing

  21   fees would have to rise if the ingredient costs
  22   were reduced, here's two or three different bases




                                                             592


   1   for adjusting those fees and here's how those

   2   adjustments would affect my calculation, here's
   3   one, here's the second one, here's the third one.

   4               Just so that people can say if the

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   5   dispensing fee differential is $5, well, does that
   6   make a huge difference or a little difference in
   7   the calculation.   If the dispensing fee

   8   differential is $75, does that make a big
   9   difference or a little difference in the

  10   dispensing fee.
  11             But to fail to acknowledge at all that
  12   dispensing fees, according to practically

  13   everybody who testified about it in the state
  14   Medicaid agencies says that they would, that

  15   Congress and the DRA and the MMA said that they

  16   would, to just say that no, no, no, everything's
  17   fine, the dispensing fee doesn't have to change,

  18   strikes me as an illogical and unrealistic vision

  19   of the but-for world.

  20             And that it's still possible within a
  21   damages analysis to say well, look, here's how my

  22   differences, here's how my difference calculation




                                                             593


   1   is sensitive to changes in the dispensing fees,
   2   and let's look at some numbers and see whether it

   3   amounts to a hill of beans or whether it's a

   4   significant, does it cut it in half, does it cut
   5   it by ten percent, does it cut it by five percent,
   6   what's the number.
   7             But agreeing with the point that had he

   8   looked at the evidence, had he looked at the
   9   testimony, he may well have come to the conclusion

  10   that well, to assume that dispensing fees are

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  11   going to remain unchanged doesn't seem
  12   particularly realistic given the record in the
  13   case.   So how am I going to take this into

  14   account?   Sensitivity analysis is done all the
  15   time in economics and could have been done here.

  16        Q.    Now, when you say, this whole answer
  17   though is based upon the assumption that you're
  18   right that the dispensing fee issue is pertinent

  19   to a damages calculation under the False Claims
  20   Act; correct?

  21        A.    It's my belief that it is pertinent.

  22        Q.    Well, you don't even know what the



                                                             594



   1   damages standard is under the False Claims Act so

   2   how do you know it's pertinent?

   3              MR. BERLIN:    Objection, form.
   4              THE WITNESS:    Okay.   It's pertinent,

   5   again, because, as I said before, Dr. Duggan

   6   calculates the difference between government
   7   expenditures in the actual world and in the but-
   8   for world.   And I'm taking that same approach but

   9   saying that his but-for world is inadequate for

  10   the reasons that we've just been over.
  11   BY MR. BREEN:
  12        Q.    The MMA 2003 Title 3, which added the
  13   different payments you've been testifying to, do

  14   you know that the title is called "Combating
  15   Waste, Fraud, and Abuse."

  16              Do you know that?

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  17        A.   No.
  18        Q.   Did you know that particular statute
  19   emanated after hearings before the House Commerce

  20   & Energy Committee that were held in September of
  21   2001?

  22             MR. BERLIN:    Objection, form.



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   1             THE WITNESS:    I don't have any specific
   2   knowledge of that.

   3   BY MR. BREEN:

   4        Q.   Do you know that then HCFA administrator
   5   Tom Scully testified at those hearings?

   6        A.   It wouldn't surprise me that he would.

   7        Q.   Did you know that a General Accounting

   8   Office study of administrative costs for Part B

   9   drugs, some of which we have at issue in this
  10   case, was presented at that hearing?

  11        A.   I have no specific knowledge --

  12        Q.   Do you know --
  13        A.   -- of what was presented at the hearing.
  14             MR. BERLIN:    Let him finish his answer,

  15   please.

  16   BY MR. BREEN:
  17        Q.   Did you know that the General Accounting
  18   Office and HCFA, maybe it was CMS by then, made a
  19   determination of how much they felt the

  20   administration costs would go up or should go up
  21   for IV pharmaceuticals?

  22        A.   No specific knowledge of what anybody

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   1   testified to at those hearings.

   2        Q.   Do you have any idea what the proportion
   3   was compared with the inflated reimbursement being
   4   paid due to inflated average wholesale prices?

   5             MR. BERLIN:    Objection, form.

   6             THE WITNESS:    I have not looked at those
   7   numbers, no.
   8   BY MR. BREEN:

   9        Q.   Okay.    Would it surprise you if they

  10   were about ten to one?
  11             MR. BERLIN:    Same objection.

  12             THE WITNESS:    I don't know one way or

  13   the other.

  14   BY MR. BREEN:

  15        Q.   All right.    Now, this analysis,
  16   sensitivity analysis, figuring out a calculated

  17   estimated increase in dispensing fees that you say

  18   Dr. Duggan should have done, my question for you,
  19   sir, is could you have done it?     As an expert for
  20   Abbott, were you capable of doing it?

  21        A.   Yes.    I believe I am.

  22        Q.   Did you make a decision not to do it?



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   1        A.   I was not instructed to do any such
   2   calculation.
   3        Q.   Had Abbott or its counsel instructed you
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   4   to do so, could you have?

   5        A.   Yes.    I believe I could have.
   6        Q.   Do you know if the Huron Group was asked
   7   to make that kind of calculation?

   8        A.   I'm sorry.    Do I know whether they were
   9   asked?
  10        Q.   Yes.

  11        A.   I do not know whether they were asked.

  12        Q.   And you worked with who at Huron Group
  13   primarily?
  14        A.   Chris Rohn.

  15        Q.   And he's the one that did these graphs

  16   for you that are in Exhibit 12 of your deposition,
  17   4 of your report?

  18        A.   I told Chris to do the graphs.      Who

  19   actually did the graphs, I couldn't tell you.

  20        Q.   And if these graphs didn't reflect the

  21   fluctuations in Abbott's vancomycin for the one
  22   gram vial in 1995 that we were talking about, who




                                                             598


   1   would I ask to have that explained to me?

   2        A.   Well, those graphs do reflect what they
   3   are held out to be.    And that is the changes in
   4   the annual announced direct prices that, the

   5   changes that Abbott announced each year.      And
   6   that's what it says in my report that they

   7   present, and that's consistent with what's on the
   8   graph.
   9        Q.   Now, with respect to your, again, the
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                         Depo-Hughes-James-05-06-09
  10   fact that you were not asked to calculate an

  11   estimated increase in dispensing fees due to the
  12   assumed adjustment of reimbursements based upon
  13   the Duggan model, if you had been asked to do that

  14   about how much time would it have taken you to do
  15   it?
  16         A.    I have no idea.

  17         Q.    Did anybody ever, just in brainstorming,

  18   talk to you about the possibility of maybe being
  19   asked to do something like that?
  20         A.    No.

  21         Q.    Did you ever suggest to them that as an

  22   economist if they wanted a full and complete and




                                                               599


   1   truthful explication of damages, that it would be

   2   a good idea for you to try to do something like

   3   that?
   4               MR. BERLIN:    Objection, form.

   5               THE WITNESS:    Could you read that

   6   question back, please.
   7               MR. BREEN:    Please read it back.

   8                     (The record was read back as
   9   requested.)
  10               THE WITNESS:    Well, no.   There was no

  11   conversation like that.      It's a fairly convoluted
  12   question.

  13   BY MR. BREEN:
  14         Q.    Let me ask it this way:     Did you ever
  15   ask Abbott or their lawyers, its lawyers, whether
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                     Depo-Hughes-James-05-06-09
  16   they wanted you to help them get to a truthful and

  17   accurate estimation of damages in this case?
  18        A.   I never asked them that because the, as
  19   I say in the first paragraph of my report, is that

  20   I was hired to comment on the adequacy and
  21   validity of the methods and the conclusions of Dr.
  22   Duggan.




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   1        Q.   Okay.   Now, one of the other, couple of
   2   the other areas that you critique Dr. Duggan on

   3   has to do with his assumptions regarding Abbott's

   4   AWPs and his assumption that they were in fact

   5   used in the arrays for the carriers that he
   6   actually had the array information for; correct?

   7        A.   Try that again.

   8        Q.   You critique Dr. Duggan because he

   9   assumed the carriers that he had information for,
  10   the Medicare carriers, that he assumes that the

  11   AWPs they were using were actually Abbott's AWPs?

  12        A.   Well, if you look at the spreadsheets
  13   created by Myers & Stauffer, the quote unquote

  14   actual arrays for which they had information,
  15   again, assuming on my part, as I have through this
  16   entire two days, that Myers & Stauffer took the

  17   information from the carriers and transcribed it
  18   accurately into those arrays, the NDC and the

  19   identification of the drug for the arrays that he
  20   got from the government who got them from the
  21   carriers, that information was in there.
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                      Depo-Hughes-James-05-06-09
  22              So I don't think that was the criticism




                                                             601



   1   that I was making.
   2        Q.    All right.   So you have no criticism
   3   with Dr. Duggan assuming it was an Abbott AWP in

   4   the array when he actually got information or one
   5   of his helpers got that information from the

   6   carrier?

   7        A.    Well, as I understand the Myers &
   8   Stauffer arrays, that the information that those

   9   NDCs that are contained in that array are indeed

  10   the Abbott NDCs that are listed in the array, that

  11   I am assuming that that information came directly
  12   from the carrier.    And I don't have any reason to

  13   think that it was inaccurate.

  14        Q.    So other than the portion that he

  15   extrapolates to in the Medicare damages
  16   calculations, do you have any criticism with his

  17   assumptions that an Abbott AWP was used in the

  18   array?
  19        A.    Okay.   When he gets an array from the

  20   government and that array contains one or more
  21   Abbott AWPs, that I am comfortable to presume
  22   that, yes, indeed that was in fact an Abbott AWP.




                                                             602



   1        Q.    All right.   But when he extrapolates to

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                      Depo-Hughes-James-05-06-09
   2   other carriers and assume that they would have
   3   used Abbott AWPs in generally the same frequency
   4   as the ones that he actually had information on,

   5   that's where you have a criticism?
   6        A.   What I have a criticism on is him

   7   looking in the claims data and saying oh, here's a
   8   reimbursement of $10.16, Abbott has an AWP of
   9   $10.16; therefore, this must be an Abbott product

  10   and Abbott must be in this array.
  11        Q.   And did you look at the information that

  12   he provided through counsel to you, including his

  13   Red Book analyses and Red Book documentation, to
  14   determine whether or not the Red Book was

  15   reflecting Abbott at that price and only Abbott at

  16   that price at that time?

  17        A.   He did not mention in his report that he
  18   had done any such checking.   And I did not review

  19   Red Book data from him that concluded in any way

  20   that this was an Abbott price and only an Abbott

  21   price, that it was not possible for it to be
  22   another price.



                                                             603



   1        Q.   Did you study the list of materials on
   2   the source log that was provided with respect to
   3   Dr. Duggan?
   4        A.   I looked at the supporting documents

   5   that I felt I needed to look at.
   6        Q.   Did you look at the forty-five Red Book

   7   excerpts that he had on that log?

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                      Depo-Hughes-James-05-06-09
   8        A.   I did not.
   9        Q.   Why not?
  10        A.   I didn't.

  11        Q.   Okay.   Did you look at anything else on
  12   that log to see if it provided a basis for the

  13   information since he was referring to those items?
  14        A.   Dr. Duggan claims in his report that
  15   this must be an Abbott AWP.

  16             Again, I understand from his rebuttal
  17   report that he claims that he checked to make sure

  18   that they were Abbott AWPs.

  19             Again, it's still unclear to me exactly
  20   what he did check because there are things that

  21   appear in the arrays by error, there are things

  22   that appear wrong dosage, wrong size, wrong




                                                             604


   1   product, that I don't know, did he just check the

   2   matching the, the products that are the same size

   3   and dose as the NDC he was looking at or did he
   4   look at other things that may have crept into the
   5   array that might have had those prices since we

   6   know that the arrays were constructed at times

   7   with error.
   8        Q.   In the Medicaid side where you criticize
   9   his use of the nine state, as you call it, nine
  10   state sample to extrapolate to the remaining

  11   states, what proportion of the total Medicaid
  12   claims dollars for these drugs were encompassed by

  13   those nine states?

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  14        A.   I believe he says something like seventy
  15   percent for the ten states.
  16        Q.   For the ten states.

  17        A.   Right.
  18        Q.   Okay.    So in a normal sampling scenario

  19   where you basically have a situation where you
  20   take the largest participants in terms of the
  21   quantity of things you're trying to evaluate and

  22   you get up to seventy percent, are you saying



                                                              605



   1   that's not a sufficient sample size to extrapolate
   2   the remaining thirty percent?

   3        A.   I'm saying it's not been demonstrated

   4   that it's a sufficient sample size.

   5             I mean suppose you have as your

   6   population of interest a room full of individuals
   7   and you want to look at their salaries?    So you

   8   take the seventy highest paid people and then say

   9   okay, I'm going to take the average of that and
  10   extrapolate to the other people.    Well, that may
  11   or may not work.

  12             If you take seventy men and then try to

  13   extrapolate to thirty women, that may not work
  14   very well for you, all right.    Precisely because
  15   there's no effort to say that the seventy percent
  16   that I'm using as the basis of my extrapolation in

  17   fact mimics the thirty percent that I'm
  18   extrapolating to.

  19             Let's take it differently.    I'm from the

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                      Depo-Hughes-James-05-06-09
  20   State of Maine, we're in the state of Illinois.
  21   Illinois is one of his exemplar states.     Is the
  22   Medicaid reimbursement system in Maine identical




                                                                606


   1   to that in Illinois?     Is it close to that in

   2   Illinois?

   3               Is it reasonable that if you figure out
   4   what his difference calculation is in the state of
   5   Illinois, that that's going to apply, that's going

   6   to give you an accurate estimate of the difference

   7   within the state of Maine?     I don't know.   But the
   8   point is neither does Dr. Duggan and it's my

   9   opinion that it's his burden to bear.

  10        Q.     All right.   Now, getting back to this

  11   issue of whether seventy percent is a big enough

  12   sample size in your opinion under these
  13   circumstances.

  14               Didn't Dr. Duggan use more than one

  15   methodology in his initial report and specifically
  16   chose the methodology that resulted in the lower
  17   number?

  18        A.     Dr. Duggan always claims that he is

  19   being conservative in his estimates.     Although I
  20   did take issue with that on a number of, in a
  21   number of places.
  22        Q.     So you only recall seeing one




                                                                607


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                       Depo-Hughes-James-05-06-09
   1   methodology tried in the first report for

   2   Medicaid?
   3          A.   That's not what I said.
   4               I was agreeing with you that, yes, he

   5   claimed to be conservative, and that he says where
   6   there were two places, two choices that he could
   7   make, he chose the one always with smaller

   8   damages.

   9               I took issue with that on a number of
  10   occasions.    But I agree with you that it's Dr.
  11   Duggan's belief that he was always conservative.

  12          Q.   Now, from all the things that you've

  13   listed that could have been used to test his
  14   sample, the seventy percent sample or whatever it

  15   was, it sounded to me like all those things were

  16   available in the materials that Dr. Duggan had

  17   available to him; weren't they?

  18          A.   I suppose so.
  19          Q.   The Myers & Stauffer surveys were in

  20   there; right?

  21          A.   Oh, oh, the things that I've been
  22   citing, yes.    They were all available.




                                                               608


   1          Q.   They were all available.   They were made

   2   available to you; right?
   3          A.   That's correct.

   4          Q.   And you're a competent economist.   You
   5   could have tested this if you wanted to; couldn't
   6   you?
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                       Depo-Hughes-James-05-06-09
   7         A.   I wasn't directed to do that.

   8         Q.   That's not my question.
   9              Could you have done it if you wanted to?
  10         A.   I could have done it if I was directed

  11   to.
  12         Q.   Okay.   In other words, so your
  13   independence only goes so far?     You only do things

  14   exactly as you're directed to; is that it?

  15              MR. BERLIN:    Objection, form.
  16              THE WITNESS:    I perform the assignments
  17   that I'm asked to do.     And if I'm not asked to do

  18   an assignment, you know, I'm under a

  19   confidentiality order like everybody else in this
  20   case.   So I'm not free to just take the data and

  21   go do what I want with it.

  22   BY MR. BREEN:




                                                               609


   1         Q.   Well, Doctor, what about the

   2   confidentiality order stopped you from examining

   3   any of the materials we provided to you in
   4   connection with Dr. Duggan's opinions?

   5         A.   I'm not free, I'm not directed to do,
   6   I'm not free to just go, as I understand the
   7   Protective Order, I'm not free to go about just

   8   willie-nillie doing analyses.
   9         Q.   So it's your testimony to the court and

  10   the jury that you believe that you were not
  11   allowed to do any testing of Dr. Duggan's
  12   conclusions by the court order; is that it?
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                        Depo-Hughes-James-05-06-09
  13        A.   No.

  14             MR. BERLIN:    Objection, form.
  15             THE WITNESS:    No.   That's not my
  16   testimony.

  17             What I'm saying is that I am not, that
  18   I'm retained to perform certain analyses, I'm
  19   retained to do those analyses that I'm directed to

  20   do, just like Dr. Duggan is retained to do the

  21   analyses that he's directed to do by the U.S.
  22   government.   And I do not feel free by the terms



                                                             610



   1   of my retention letter to just go off and do an

   2   analysis on my own.
   3   BY MR. BREEN:

   4        Q.   So assume this was not a court case,

   5   okay, assume it was you being asked to criticize a

   6   colleague like Professor Duggan, who, by the way,
   7   like yourself has a good reputation; doesn't he?

   8        A.   I'm not aware of Dr. Duggan's

   9   reputation, but I have absolutely no reason to
  10   think he doesn't have a good one.

  11        Q.   Okay.    I guess you never heard of him
  12   before this case?
  13        A.   I had not come across his name before

  14   this case, no.
  15        Q.   So --

  16        A.   He probably never heard of me either.
  17        Q.   Interesting.    Okay.
  18             MR. BERLIN:    It's pretty much time to
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                       Depo-Hughes-James-05-06-09
  19   wrap up.

  20              MR. BREEN:    I'm going to ask a few more
  21   questions and try to wrap it up.
  22   BY MR. BREEN:




                                                               611



   1        Q.    If this wasn't a court case and if a
   2   colleague prepared the kind of analysis that Dr.

   3   Duggan did, and you had a blank check, free time,

   4   spend all the time you want to on it, and says
   5   critique it, are you saying that you wouldn't have

   6   taken the information and done a little

   7   sensitivity analysis to figure out if the seventy

   8   percent sample size was right or not?
   9              MR. BERLIN:    Objection, form.

  10              THE WITNESS:    Well, in my, let's look at

  11   how things work in my day job.

  12              So I, like Dr. Duggan, am asked by
  13   academic journals to do exactly that, to take the

  14   paper that's been written, the analysis that's

  15   been done by a colleague, and evaluate that
  16   analysis, and then give a recommendation to the

  17   editor of the journal whether or not this paper
  18   should be published as written, should be revised
  19   and resubmitted for further review, or should be

  20   rejected outright.
  21              It is not the practice in the profession

  22   of economics, and I know of no instances where it




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                                                             612


   1   has happened that in the course of such a peer

   2   review that the referee would contact the author,
   3   take the author's data, do a different analysis of

   4   it as part of a critique, and then hand it back
   5   and say here's what you should have done.
   6               But what would happen in my day job is

   7   exactly what's happened here is you read the
   8   report, you evaluate the methodology that was

   9   used, you form an opinion about the adequacy of

  10   the methodology that was used, and then you report
  11   back to the editor and very often provide

  12   suggestions or provide as part of the critique is

  13   that here is how I think this analysis is lacking

  14   and here's how I think this analysis needs to be
  15   changed before this analysis would be acceptable

  16   to this academic journal.

  17               So, no, in my day job, in my profession

  18   as an economist, it would not be standard
  19   practice.    It would, in fact, be considered quite

  20   unusual that if I were approached by a colleague

  21   like Dr. Duggan and he says hey, have a look at
  22   this and I go uhn-uhn, give me your data, I'll get




                                                             613


   1   back to you in a couple of weeks.

   2               That would be, quite honestly, I think
   3   that would be considered a real, I don't know if

   4   it's a breach of professional ethics, but it would

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                      Depo-Hughes-James-05-06-09
   5   be considered a faux pas.
   6   BY MR. BREEN:
   7         Q.   All right.   So let's go back to the

   8   litigation scenario then.
   9              If you're hired by a company that wants

  10   you to truthfully examine a damages estimate and
  11   they want you to take the quantitative information
  12   that's available on all the information that's

  13   available and use your best efforts as an
  14   economist to help them get to the truth, would you

  15   then use your skills to try to evaluate whether

  16   the seventy percent sample was adequate under the
  17   circumstances?

  18         A.   Well, again, I am doing here exactly

  19   what I would do in my other professional life as a

  20   professional economist is you offer your
  21   criticisms.   I would say in that situation exactly

  22   like I'm saying here is that what basis do you




                                                             614


   1   have to think that the sample of nine states that
   2   you're using is in fact representative of the

   3   other thirty-nine states that you're extrapolating

   4   to.
   5              Then that would go back to the author,
   6   and the author may come back and say here, here,
   7   I've done this, this, that, and the other thing,

   8   and here's why I believe it to be representative.
   9              Then it would be up to me as a journal

  10   referee to say oh, okay, I get it, I agree with

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                      Depo-Hughes-James-05-06-09
  11   him, that's adequate, or no, I don't think that's
  12   adequate for whatever the following reasons would
  13   be.

  14              So I viewed my job, and nobody ever
  15   disabused me from it, that my task here was

  16   restricted to the same sorts of things that I do
  17   in my regular professional life when critiquing
  18   the work of a colleague is to look at the methods

  19   that he used, look at how he performed his
  20   analysis, looking at the assumptions underlying

  21   his analysis, looking at the steps that he took,

  22   the steps that he didn't take, looking at the



                                                             615



   1   realism of what he's done, and then passing a

   2   judgment and writing that up and handing it in,

   3   which is in effect what I've done here.
   4         Q.   Back to the seventy percent sample.

   5              Now that Dr. Duggan has done more

   6   testing and more explanation in his rebuttal
   7   report I guess is what we call it here, did that
   8   provide at least some more insight as to the

   9   appropriateness of the seventy percent sample?

  10         A.   Well, as I pointed out here over the
  11   past couple of days, the rebuttal report did
  12   provide some more insight, but it also raised some
  13   other questions because it wasn't always clear

  14   from exactly what he, it wasn't clear from what he
  15   was saying in the rebuttal report exactly what he

  16   was doing.

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                        Depo-Hughes-James-05-06-09
  17               It just wasn't, it wasn't clear to me
  18   that take, for example, the checking of the AWPs,
  19   like he says oh, I checked to make sure it was

  20   right.    Again, what did you check, how extensively
  21   did you check?    That wasn't clear.

  22               And there were other instances like



                                                              616



   1   that.
   2        Q.     Can you tell the court today within a

   3   reasonable degree of certainty in your profession

   4   that Dr. Duggan's quantitative estimation, taking
   5   away the dispensing fee issue for a moment, but

   6   just his quantitative estimation of the Medicaid

   7   damages is materially in error?

   8        A.     Well, as is replete in my report is yes,

   9   I do believe it is materially in error.
  10        Q.     When you say material, can you quantify

  11   that?

  12        A.     I have not made any attempt to quantify
  13   that.
  14               But yet he has made assumptions that

  15   have no basis, he's made claims of

  16   representativeness that he does nothing to
  17   support, and so on and so forth, as I list in
  18   forty-seven pages in my report, leads me to
  19   believe that his estimates are inaccurate and

  20   unreliable.
  21               In fact, in his rebuttal report where he

  22   is attempting to address some of these concerns

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                                                              617


   1   where he instead of doing an extrapolation, he

   2   goes to the data, the claims data for the other
   3   thirty-eight states, he comes and says well, look,
   4   if I did it using the claims data it's actually

   5   substantially higher estimate of difference than I

   6   got from the extrapolation, which in my mind
   7   supports my contention that his original
   8   methodology was in fact inaccurate and unreliable

   9   because when he did it using the actual data he

  10   claims he got a substantially different number.
  11        Q.   Yet you've done absolutely no

  12   quantitative work yourself to try to determine if

  13   those numbers are materially wrong, trying to

  14   determine how to quantify that?

  15             MR. BERLIN:    Objection, form.
  16             THE WITNESS:    Again, I've done here what

  17   economists do when critiquing the work of

  18   colleagues, is that I look at his methods, I look
  19   at his procedures, I look at the assumptions, I
  20   look at the basis of his assumptions, I look at

  21   the reasonableness of his assumptions, I look at

  22   what he is substantiating, what he's not



                                                              618



   1   substantiating, and I come to a conclusion as to
   2   whether I believe that his estimates are accurate
   3   and reliable or not accurate and reliable.    And
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                       Depo-Hughes-James-05-06-09
   4   that's what I've done here.

   5             MR. BERLIN:    Are we all done?
   6             MR. BREEN:    All right.    I think we're
   7   out of time.

   8             Obviously we don't waive the right to
   9   continue this deposition.    We're going to evaluate
  10   whether we need to, and we'll get back to you or

  11   not.

  12             MR. BERLIN:    Okay.
  13             THE VIDEOGRAPHER:      Going off the record
  14   at 5:10 p.m.    This concludes the May 6, 2009

  15   deposition of James Hughes.

  16                    (Said deposition was so adjourned
  17   at 5:10 p.m.)

  18

  19

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  21
  22




                                                               619


   1                    SIGNATURE OF THE WITNESS

   2
   3
   4

   5
   6

   7
   8                              __________________________
   9                                   JAMES W. HUGHES
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                     Depo-Hughes-James-05-06-09
  10   Subscribed and sworn to and before me

  11   this ________ day of ___________________, 20____.
  12
  13

  14   ___________________________________
  15            Notary Public
  16

  17

  18
  19
  20

  21

  22




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   1   STATE OF ILLINOIS )

   2                     )   SS:

   3   COUNTY OF C O O K )
   4             I, Donna M. Kazaitis, CRR, CLR, RPR, CSR

   5   No. 084-003145, do hereby certify:

   6        That the foregoing deposition of JAMES HUGHES
   7   was taken before me at the time and place therein

   8   set forth, at which time the witness was put under
   9   oath by me;
  10        That the testimony of the witness and all

  11   objections made at the time of the examination
  12   were recorded stenographically by me, were

  13   thereafter transcribed under my direction and
  14   supervision and that the foregoing is a true
  15   record of same.
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                     Depo-Hughes-James-05-06-09
  16        I further certify that I am neither counsel

  17   for nor related to any party to said action, nor
  18   in any way interested in the outcome thereof.
  19        IN WITNESS WHEREOF, I have subscribed my name

  20   this 13th day of May, 2009.
  21          _____________________________________
  22          DONNA M. KAZAITIS, CSR No. 084-003145




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